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                              Amended Complaint

       Pro se Plaintiff Zachariah Mills (“Mills”), for his Complaint against
Defendant American University (“AU” or “University”) and various parties
listed in Part IV, alleges as follows:

     Part I.   INTRODUCTION

1.    Zachariah (Zach) Mills life could be considered as a natural experiment

      of sorts that can answer the following question: if, one day, a white

      American were to wake up as a Black American, how would they fare

      in the face of racial harassment and discrimination in 21st century

      America?

2.    Consider this hypothetical situation: a person is raised by their white

      mother, in a single-parent home located in a predominately white

      middle-class neighborhood. All of the person s childhood friends were

       white people from the same neighborhood. They live the first 27 years



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     of their life within white mainstream America. They are socially,

     culturally, and linguistically indistinguishable from the white middle-

     class Americans they know.

3.   In this white American environment, this person benefits from some

     of the advantages that are often considered parts of white privilege .

     They never think that they have been discriminated against because of

     their race . This person has been at the receiving end of bigotry

     comments a handful of times, but these were one-off statements that

     happened in public places and were the product of youthful ignorance

     and limit-testing rather than the harmful actions of adults.

4.   They attend magnet schools throughout K-12 and earn a double-major,

     magna cum laude, from the tier-1 research university in their

     hometown. Their undergraduate mentor appraises them as someone

     possessing strong native intellect and a yeoman-like work ethic. Before

     they graduate from undergrad, their university selects them to take

     park in a highly selective year-long graduate school preparation

     program.

5.   A few months after successfully completing that rigorous preparation

     program and applying to several programs, they receive an offer for a

     prestigious position in an international relations doctoral program that

     is ranked in the top twenty nationally. They are promised a scholarship

     that covers four years of tuition a two-year research assistantship, and

     a two-year teaching assistantship (in a top-5 ranked undergraduate

     program), and a four-year stipend of roughly $25,000 per year.




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6.   Unbeknownst to the student, no Black male students has ever

     graduated from the program, and very few Black female students have.

7.   During their first year as a Ph.D. student, they earn an A- average in a

     very challenging and rigorous program. At the end of the first year,

     they successfully pass the international relations comprehensive

     examination, which tests for a student s ability to critically engage with

     theoretical material and whether the student has mastered the roughly

     10,000 pages of assigned and recommended international relations

     literature for first-year students. Upon passing the comprehensive

     exam, Ph.D. students are professionally qualified to teach international

     relations courses at the undergraduate level.

8.   During their second year as a Ph.D. student, they would come to find

     out what happens when a white person wakes up as a black person.

9.   It is less than 30 minutes into the first class-meeting of Policy Analysis.

     The professor is guiding the class through the syllabus. The professor

     suddenly singles them out as a hypothetical example of a student who

     does not turn in work on time. The professor stops, looks at them oddly

     for many seconds, and then begins his hypothetical example again, this

     time changing to a white student as an example.

10. As the semester goes on, the professor continues to make comments

     that sound like remarks about their race. One day, the professor

     questions them as to whether they are using their mother s

     hospitalization as an excuse for not turning in coursework on time. The

     professor regularly tells the program director that the student is lazy,

     incompetent, dishonest, truant, and a waste of the professor s time



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      since he does not believe that the student understands what a Ph.D.

      program entails.

11.   The professor then makes numerous errors that almost cause the

      student to fail the course, such as privately allowing all their non-

      black classmates to write an easier non-policy analysis final paper but

      not telling the student.

12. Some of the student s classmates tell them that the professor is holding

      them to a double standard, such as telling them that their policy

      analysis paper proposal is unscientific and instructing them to

      proposing another policy analysis paper when no one else is writing

      one.

13. In view of the professor s racial comments, the student cannot believe

      all the professor s errors are a simple coincidence. Studying under a

      biased harassing professor becomes more and more destressing and

      begins causing the student depression. They consult the program

      director as to whether the professor s behaviors were abnormal. She

      says they are   that a professor should not do or say those things. She

      refers them to the university s civil rights office. The student eventually

      files a racial discrimination complaint against the tenured professor.

14.   After one interview, the civil rights office suddenly stops all

      communication with the student, even after the student asks the

      President s office to get in touch with the civil rights office.

15. Then, out of the blue, the office gives the student a report that finds the

      professor did not violate the Discrimination Policy.




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16. In the report, the student s original allegations are misconstrued

    beyond recognition; the report misconstrued the school s own

    Discrimination Policy. Maybe the strangest conclusion is that the

    syllabus of the policy analysis course always allowed for non-policy

    final paper, so the professor did not need to tell the student anything.

17. It feels like a brazen cover-up, and only the student alone seem to care.

    The student asks the new program director to read the syllabus. The

    program director says the syllabus cannot be read to allow non-policy

    analysis paper. But, the director refuses to raise the issue with the civil

    rights office.

18. As an intelligent person, the student become offended that the civil

    rights office seems to assume the student would not notice a cover-up

    or challenge the office because the student relies on the school for

    funding and graduation.

19. For whatever reason     maybe because they were raised as a white

    American     the student has too much dignity and pride to accept the

    erroneous decision and to stand idly by while the school strips away

    their civil rights.

20. The President tries to convince them that every part of the

    investigation was conducted properly and that all procedures were

    followed. The school then tries to buy their silence with a membership

    on some sort of diversity and inclusion task force. When they refuse

    and demand an appeal, the university tells them that no appeal process

    exists and refuse to talk about the errors in the investigation.




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21. Their white upbringing and excellent education taught the student

    that their interpretation of social norms is as good as those of anyone

    else. They believe that America is, for the most part, a meritocracy

    where the best argument wins the day. They believe that their race

    does not limit what argument they can make. When the school refuses

    him a fair investigation and treatment, the student could not accept the

    reality and become depressed.

22. The student keeps studying while depressed; they keep presenting

    arguments and evidence to high-level white administrators that they

    believe demonstrate the investigation decision was wrong. They would

    not debate with the student about the errors; they question why it

    matters to the student so much, and tell the student to focus on

    academics instead. The more the student attempt to discuss the issue,

    the more the student is perceived as a race-baiter who did not know

    their place or when to shut their mouth.

23. The race-baiting accusation angers the student who faces a double

    injustice   his rights are violated, and when he asserts his rights, he is

    accused of perverting the law.

24. The student s white upbringing instilled in them a belief in the fairness

    and omnipotence of written laws in America. By extension, when the

    law is violated, anger is an ethical and moral reaction.

      He who is not angry, when there is just cause for anger, is immoral.
      Why? Because anger looks to the good of justice. And if you can live
      amid injustice without anger, you are immoral as well as unjust.
                               -Thomas Aquinas




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25. James Baldwin framed the pervasiveness of Black rage. To be a Negro

    in this country and to be relatively conscious, is to be in a rage almost

    all the time. Black Rage says, Blacks bent double by oppression have

    stored energy which will be released in the form of rage      black rage,

    apocalyptic and final.

26. When the student gets angry, they fall into a self-fulling prophecy. An

    angry Black person, according to the stereotype, is hyper-violent and

    necessarily a danger to the society. It therefore becomes acceptable to

    discipline them, and the school soon will.

27. The student wants to tell the students how painful it is to be

    discriminated against and then accused of race-baiting. The student

    tells the university administrators that they will present their case at a

    doctoral student meeting.

28. Another Black person raised by Black parents would have told the

    student how dangerous making the case publicly is, that the student

    cannot assume that the school will actually allow them to make a

    public case simply because the law and school rules allow it.

29. Another Black person would have a Black parent who gave them the

    talk about racial inequality and injustices in America, a discussion

    reminiscent of the birds and the bees talk about puberty. The talk

    engenders in Black adolescents a sense of pride in the Black race and

    in Black culture, while alerting them to the dangerous reality of living

    in a society with widespread racism:

      they will almost certainly be treated and judged differently than
      others, with no guarantee that their civil rights will be upheld;



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      they should always be polite to and comply with white people,
      especially those who are or hold a position of authority;
      they should always deescalate because, otherwise, the situation can
      spiral out of control where white people can rely on law enforcement
      but not Black people;
      they should not appear too confident because overconfident Black
      people are labelled uppity negro who do not know their place.

30. The next day, right before a student meeting, the school sends its police

    officers, to the student s off-campus home, where they have no

    jurisdiction. These officers enter their home without consent, search

    for incriminating evidence, and try to detain him there.

31. It is a show of force, and the message is clear   shut up, or else, the law

    and your constitutional rights be damned.

32. The student is soon diagnosed with PTSD, mood disorder, and a host of

    other disabilities that the school doctor says make it impossible for

    studying. The school would not give the student accommodations. The

    school wants the student to fail.

33. The student soon find out that the school they planned to protest is

    painting them as a Black Identity Extremist who poses a threat to

    faculty safety and campus safety, if not national security.

34. A Black person finally tells the student that, as a Black person, they

    cannot say things about racist people publicly in America. The student

    start to have a long-overdue identity crisis. In this society, do they have

    be a n-word who remember their place, or disciplined until they do?

    Must the student perform the house n-word routine, censor




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    themselves and hide the very real harms done to them, to have a

    possibility of success? What if they are not capable of that?

35. Perhaps because the student is raised white, they refuse to accept a

    relative deprivation of their rights that they had enjoyed since birth.

    The student rejects that false dichotomy of being only a n-word or

    white. Women do not accept sexual harassment as a condition to enter

    university and the workforce. Why would Black people need to give up

    their dignity to be attend school or participate in the workforce? Just

    because many Black people have learned over the generations that it is

    just safer to defer to white people, it does not mean that this servile

    mentality should continue to be (re)produced into the future. Black

    people should not be expected to participate in the (re)production of

     Black subjugation or white privilege.

36. The student goes public about the school s racism problem in an

    investigative report read across the country. It is a publicity

    catastrophe for the university.

37. After such audacity, the university doubles down on its efforts to

    getting rid of the student. Professors and administrators pretend to

    support the student to gain their trust, then manipulate the rules to

    damage the student where it matters the most. These people lie to the

    student about school policy, prevent them from getting

    accommodations, and pretend to investigate why the school officers

    invaded their home. They ask students under their control to spread

    rumors that the student is stupid, mentally ill, intimidating, and

    endangering everyone.



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38. The policy analysis professor threatens the student with a bogus

    defamation suit. The student believes in self-defense. They return the

    favor and then some. The school then hires consultants for a hit job

    masquerading as fair investigation. They conclude that the student

    harassed the professor with reverse racism.

39. The school then dismisses the student for being unable to perform like

    a normal student, while denying the student accommodation for the

    disabilities the school caused. The school says its investigations did not

    find that he experienced any discrimination.

40. The student is the fool that think they will fare differently. They asked

    themself, what if I do not bow down to falsehoods and corruption?

    What if I choose to be moral and ethical? What if I make a stand for my

    values? It is not that the student is self-less; rather, the student

    expected that an ascending society would reward moral and ethical

    choices.

41. Instead, reality teaches the student that the result of standing for

    moral and ethics in an immoral and unethical institution is unending

    harassment, indignity, injustice, and intimidation. They lose their

    degree, their career, become mired in debt and legal troubles. They fail

    to realize the true potential in themself and are now cut off from

    contributing to human knowledge and advancement.

42. The student went to the school to research how humanity can adapt to

    the unfolding climate crisis with dignity and equality. They leave with

    nothing but a story that shows America to be a fundamentally a racist

    society.



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43. As to others, the unethical professors and administrators are

    emboldened. They have confirmed their omnipotence and that the law

    cannot regulate their tactics. They feel safe repeating what they did to

    the student.

44. The graduates from the university, the leaders and decisions makers of

    tomorrow, have learned that standing for the public good against the

    strong is a fool s errand. If this society is doomed, and it is doomed

    without moral and ethics, then the only rational course of action is to

    loot for themselves whatever they could before the end comes.

  Part II.   Jurisdiction and Venue

45. This court has jurisdiction over this matter pursuant to 28 U.S.C.       1331

    because this suit asserts claims pursuant to the Civil Rights Act,

    American with Disabilities Act and the United States Constitution.

46. This court also has jurisdiction over this matter pursuant to 28 U.S.C.

    1331 because this suit is between citizens of different states and the

    amount in controversy exceeds $75,000.

47. This court has supplemental jurisdiction over Mills related claims

    asserted under the laws of Washington, D.C. pursuant to 28 U.S.C.

    1367.

48. Venue is proper in this district pursuant to 28 U.S.C.   1391 because

    Defendants reside in this district and because the events giving rise to

    the claims occurred in this district.




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 Part III.   Statement of Facts

             Chapter A. Fall 2017

49. Mills has an extraordinary undergraduate record. Mills transfers from

    a community college to University of Arizona. There, he graduates

    magna cum laude on double majors: anthropology and political science

    with an emphasis on international relations. Mills receives only A in

    his junior and senior year.

50. Because of Mills record, U of A selects Mills for its 1-year graduate

    school preparation program for minority students. Like the Department

    of Education s McNair Scholars Program, the U of A program is a

    diversity pipeline program that seeks to increase representation of

    historically underrepresented minority students in Ph.D. programs.

51. Historical minorities of the U.S. have been severely underrepresented

    in Ph.D. programs since their establishment. According to National

    Science Foundation, U.S. schools awarded 55,283 Ph.D. degrees in

    2020. 62% of total degrees are awarded to American students. 5.6% of

    the total degrees are awarded to black students, 20% of the 5.6% are

    awarded to foreign black students who hold temporary visas or

    unknown citizenships. Domestic Black students are awarded 4.4%,

    and Native Americans 0.18%, of the total degrees.




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52. In the international relations and international affairs fields of study,

     131 Ph.D. degrees are awarded in 2020. 20% are awarded to

     foreigners. Black American students are awarded 3.8% of total degree,

     or 5.6% of the degrees awarded to Americans; Asian American and

     Hispanic students 5.3% respectively of total degree, or 7.2% of

     American; Native American students 0.76%; white students 55.7%.

53. Minority students are disproportionally first-generation college

     students. Mills program tries to level the playing field by introducing

     minority students to the study of theory.

54. Theories, such as evolution, free market, and relativity, are a higher

     order of knowledge than known facts. A theory identifies which known

     facts are relevant. A theory explains how one fact caused another. By

     extension, a theory reveals where to look for the unknown. For

     example, scientists predicted Pluto s location before it was discovered

     in 1930s. A theory enables us to plan for the unknowable, such as the

     future and causation. Theories guides all research. A Ph.D. is a scholar

     who specializes in theoretical innovation.




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55. The importance of theory cannot be overstated. A nation that is

    ignorant of theory cannot lead the world. Theories of republican

    democracy, private property, and minimal government in the

    Federalist Papers gave birth to the United States.

56. In his letter of recommendation, Mills undergraduate mentor appraises

    that Mills has the native abilities for Ph.D. level learning. The mentor

    also praises Mills seriousness of purpose , yeoman-like work ethic ,

    and [determination] to fulfill all commitments during his

    undergraduate studies. The bottom line is that I see Zach as an

    intellectually gifted and capable person who should be seriously

    considered for Ph.D. candidacy, the mentor wrote.

57. American University s School of International Services (AU SIS) admits

    Mills as a Ph.D. student in 2017. According to an SIS professor familiar

    with Mills application, Mills prior academic records are of the same

    caliber as his cohort members and do not need affirmative action. All

    other students in the cohort have had one or more Master s degree.

    Almost all others are wealthier. The program director predicts that

    Mills would be the first person in his cohort to land a tenured-track

    professorship.

58. In his first year at SIS, Mills takes six mandatory Ph.D. level courses

    and averages above A-. He passes the qualifying comprehensive exam

    which tests for a student s aptitude in theoretical research. About one

    third of Ph.D. students fail and are dismissed.

                     Section 1.   SIS 808 Policy Analysis




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59. In the second year, Mills cohort enroll in SIS-808 Policy Analysis in the

    fall, which teaches how to write policy analysis papers. It is a highly

    specialized and sought-after skill.

60. In 808, the syllabus requires all students to write a policy analysis

    paper. Although the syllabus does not say so, the professor says that

    students paper topics must be approved by him first. Students are to

    submit an abstract, a literature review, theoretical contributions and

    other components of the final paper according to the schedule in the

    syllabus.

61. Mills proposal builds on his prior semester paper about climate-

    induced migration. His proposal says hundreds of millions of people

    will likely need to migrate before 2100, and government policy are

    necessary tools to ensure the humankind adapt in peace and with

    dignity. Mills wants to compare the climate migration policies of three

    countries: government-directed migration in China, government-

    incentivized migration in Louisiana, and self-initiated migration in

    Sahel, Africa. Mills chooses the three country-cases because climate

    migrations are happening there and because a wealth of information

    exists on the three cases.

62. The professor refuses to approve Mills proposal. The professor says

    that the prediction of massive immigration is hyperbolic, that

    comparing dissimilar country-cases is not a valid form of inquiry, and

    choosing cases based on data availability is laughable. The professor

    says Mills paper cannot be improved to an acceptable level. The

    professor asks Mills to start over.



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63. As a new entrant to the field, Mills accepts the professor s rationale.

                       Section 2.   Conduct of Inquiry

64. While Mills is revising his research design, he reads the Conduct of

    Inquiry. It is an introduction to philosophy of science within the field

    of international relations ( IR ). SIS curriculum does not include this

    content.

65. As background, the books observes that most IR scholars understand

    research methods, such as statistics and interview, but overlooks the

    more fundamental concept of methodologies, or why and how a

    research uses various methods.

66. The book s central criticism is that the neopositivist methodology

    dominates IR. It criticizes neopositivist scholars for drawing on the

    rhetorical power of science to discipline other methodologies.

    Moreover, the book criticizes IR scholars who state their research

    methods but leave their methodology unstated. The silence is not

    neutrality; rather, it comes from an assumption that their

    methodology s status as the real science is beyond reproach. The

    silence is also a convenient tactic to avoid uncomfortable debates.

67. To distinguish less popular methodologies from neopositivism, the

    book categorizes various IR methodologies according to their positions

    on two core philosophical wagers.




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68. The first wage is whether the researcher s mind is independent from

    the real world.

69. Researchers such as Renene Decartes believe mind-world dualism: that

    knowledge exists in our subjective mind, which is cut off from the

    objective world. They believe that the act of observation does not alter

    the world. By implication, we create knowledge when we compare our

    subjective and imperfect knowledge of the world to our observation of

    the objective world. This is commonly done through hypothesis testing.

70. Researcher such as Max Weber believe in mind-world monism: that the

    knowledge in our mind is a part of the world. They believe that, as our

    mind conceptualizes the world, the world also changes. For example,

    they would argue that the U.S. Constitution changed the real world by

    reconceptualizing the relationship between the government and the

    individual. Another example is Heisenberg s Uncertainty Principle in

    quantum mechanics: our measurement of a particle disturbs the

    particle, such that the more accurately we measure its position, its

    momentum escapes our measurement. For these researchers,

    hypothesis testing is nonsensical because the result of a test cannot be

    compared to the untested world that no longer exists. Instead, they

    believe, we create knowledge by

71. The second wager is whether researchers can have knowledge of in-

    principle unobservable objects such as causation, spirits, and dark

    matter.

72. Researchers such as David Hume and Immanuel Kant believe in

    phenomenalism: that we can only know what we can observe, and



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    nothing more. We know that when a string vibrates, a sound follows,

    but we cannot know why. What we can know is, after observing the

    same phenomenon many times, that whenever a string vibrates, a

    sound will follow in a way that is related to how the string vibrated. In

    phenomenalism, what we call causation is but repeated observations

    generating in us an instinctive prediction that A and B will happen

    together - a covariation.

73. Researchers such as Wendt believe in transfactualism: what we cannot

    observe are exercising control over the part of the world that we can

    observe.

74. A scientific argument s commitment on each wager is a position on

    philosophical ontology (in what ways researchers can create

    knowledge), and epistemology (what distinguishes science from

    opinion). Because a position on the two wagers is a matter of faith

    rather than empirics or rationality, it makes no sense to assert that one

    such position is better than another position.

75. The argument s position on ontology and epistemology is concomitant

    of why and how the argument employs various research methods to

    establish its claim of knowledge, or, in short, its methodology. Because

    no positions of ontology and epistemology is better than another, no

    methodology is better than another.

76. The book divides all IR methodologies into four camps according to

    their position on the two wagers. Each camp has its unique view on

    knowledge (what is knowledge and how do we evaluate a claim),




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    causation (what is causation and how do we explain causation) and

    multi-case comparison (why and how do we compare cases). Each

    camp therefore has its unique research design. By implication, it is

    impossible to evaluate the outcome of one methodology by the research

    design of another methodology.

77. Neopositivists combine mind-world dualism with phenomenalism.

78. Their view of knowledge decides their research design. Because our

    knowledge consists of unrefuted hypothesis, neopositivists propose

    hypothesis and design a procedure for testing hypothesis.

79. As to causation, they reject that an unobservable dispositional quality

    exists or impacts us. They believe that we can only derive general laws

    from our observations. For observations, natural scientists enviably

    can create control and experimental groups. As a proxy, neopositivist

    social scientists compare many naturally occurring cases to detect

    which covariations are determinant to the outcome and which ones can

    be safely ignored. Context of each case is subsumed under the general

    law.

80. Modern neopositivism uses several case comparison methods John

    Stuard Mills proposed. Method of Difference isolates and measures the

    effect of the factor we intend to observe. For example, we observe the

    effect of democracy by comparing ten countries that are extremely

    similar except one is democratic. Method of Agreement, instead,

    compares cases extremely dissimilar except in the quality of interest.

    Method of Concomitant Variation observes associated changes in two

    factors across multiple cases.



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81. Critical realists believe in mind-world dualism and transfactualism;

    that is, they believe that our observation does not change the world

    and that unobservable objects exercise control over the observable

    world. Therefore, they see neopositivists effort to derive a general law

    from covariation of many cases as futile, because the context of each

    case interferes with our observation of dispositional qualities. Instead,

    to generate knowledge, the critical realists engage in a dialecticism

    between knowledge and the real word. They engage in abductive

    inferences    from data of an observable historical case, propose a set of

    causal conjectures that produced the observed outcome. Each

    conjecture is an individual factor that are Insufficient and Non-

    redundant components of the set of conjectures that collectively is

    Unnecessary but Sufficient for bring about the observed outcome         an

    INUS model. To test the quality of the model, instead of laboratory

    testing, the model is applied to other observable cases. Such contrast

    between cases unearths the interaction among many identical factors

    in another context, which provides data for refining the model to better

    approximate the real world.

82. Discussion of Analyticism will be supplemented.

83. Discussion of Reflexivisity will be supplemented.

84. Suffice to say, the validity of the research design Mills proposed is a

    matter of unsettled difference of opinion. Mills proposal - to choose

    cases based on availability of data, to compare the policies of three

    dissimilar countries, to not use covariation analysis, and to propose a

    hypothesis during data analysis rather than before - is a methodology



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    of policy analysis well-accepted by many of academics. Of course, it is

    criticized by others, including the professor.

85. When a professor and a student have a difference of opinion, the

    professor should have every right to personally disagree     it is

    academic freedom. But in exchange for academic freedom, a professor

    has the responsibility to inform student that his view is but one view

    and point student to sources of alternative views. This is the ethical

    practice and customs in contemporary higher education, as

    summarized by the American Association of University Professors in

    their policy statements. For example, when Mills reviewed a

    classmate s work, even though Mills do not subscribe to the classmate s

    methodology, Mills nevertheless assumed its validity which allowed

    him to make constructive comments.

86. Yet, in their two meetings during the semester, the professor told Mills

    that his methodology and research design are indisputably invalid in

    the scientific community, that it cannot be improved to an acceptable

    academic level, and instructed Mills to propose another policy analysis

    paper.

87. Because Mills had not read Conduct of Inquiry, Mills could not

    recognize that the professor was leaving unstated his assumptions of

    methodology, ontology, and epistemology. Mills did not know that the

    professor s conclusive rejection was based on a difference of opinion.

                         Section 3.   Third Meeting

88. After the professor instructs Mills to start over, Mills cannot

    realistically finish the paper by the end of the semester. Consistent


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      with AU Graduate Academic Regulations regarding Incomplete, Mills

      requested to extend the paper deadline beyond the semester. The

      professor agreed and told Mills that he can submit the paper before he

      defends his prospectus, which is at least 18 months away.

89. Since Mills has at least 18 months, he deprioritizes the policy analysis

      paper and enjoys the winter break.

90. Once the spring semester begins, Mills meets with the professor. It is

      their third meeting about the paper. What follows are vignettes of the

      conversation.

                               --Actual Deadline--
91.      ZM:   The registrar just told me that I only have until this May to
               finish the final paper. You told me I have 18 months. I am
               shocked.

92.       P:   I did not know either. I would not be holding you to 3.5
               months. Unfortunately, the school is, and it is outside of my
               control. Workload wise, the paper is equivalent to adding
               one course to your spring scheduling - three courses plus a
               comprehensive exam. You better work hard in the next 3.5
               months then.

93.      ZM:   Registrar says I can finish the paper in the summer.

94.       P:   I am not under contract in the summer.
                          --Fairness to Other Students--
95.       P:   Remember, I am not OK if for you to just write the paper. I

               want you to go through the sequence in the syllabus        such

               as peer review, video summary         or it would not be fair to




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               other students. It would not be easy. Stating the obvious,

               you need to start.

96.      ZM:   My biggest hurdle is a research design. You did not like the

               ones I turned in last semester.

97.       P:   It is not about me not liking it. I do not think it will allow

               you to write a good paper. If I had approved it, you would

               base your whole paper on that. Why would it suddenly get

               better from there? That is why I rejected it. Let s come up

               with something else. It would not be fair if I tell you in April

               honestly, your paper is not coming together. That is also

               why I am asking you to send me each deliverable in the

               sequence. Once I approve a deliverable, then work on the

               next one. It is in your best interest. I do not want to be

               surprised by your deliverables, even if there is nothing

               inherently wrong about it.
                        --Non-Policy Analysis Paper--
98.       P:   Let s come up with another topic. Do you have a topic you

               are interested in?

99.      ZM:   I have a question before choosing a topic. I realized that

               other students were not writing policy analysis paper at all

               last semester. My biggest hurdle was identifying a policy to

               analyze. Nobody else did.

100.      P:   The same applies to you.

101.     ZM:   It would have really helped me if I notice the alternative a

               few months ago.



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102.    P:   You would know if you had hung in there. I mean, it's not

             that they knew, and you didn't. Uh, it's     it's, you know, it

             was a process. The more they got into their projects, the

             more I was finding myself in a situation that I said, what I'm

             reading here is good. It s not really a policy analysis paper.

             So, I had to make a decision how      how firmly am I holding

             them to the policy analysis focus? Even though what they

             are doing is actually good because it's going to help them

             and make it published, which is the thing that I wanted to

             do. And that s where I basically say just go.

103.   ZM:   I wish you would have told me that. You are so insistent that

             I follow the syllabus    you were just telling me that it would

             be unfair to other students if I do not go through every step

             they did. ¶91. But it looks like nobody else followed the

             syllabus.

104.    P:   Quite honestly, well, I did not know at the time when you

             made the decision. Nobody had anything written then.

105.   ZM:   I read other students papers. They are not policy analysis

             papers.

106.    P:   I would say that only one student s [John Doe, White Male]

             paper has a component of policy analysis.
                         --Are You Treating Me Fairly--
107.   ZM:   I get the sense that you do not like me and treats me

             unfairly.

108.    P:   Instead of worrying if I like you, you should focus on your

             paper.

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                                --New Proposal--
109.      ZM:   What if I write about climate migration in Louisiana? They

                have lost land the size of Delaware; they are investing $60

                billion in new oil infrastructure where it will be under water

                in 15 years. They have a policy of town relocation. There is a

                ton of current information. The Economist had an article. In

                D.C., I can probably interview members of Congress from

                there.

110.       P:   Practicality is not going to convince anyone. At your

                dissertation defense, if you say that you selected your cases

                for practical reasons, everyone is going to barf into their

                jacket.

111.            Also, I am not entirely comfortable with having a domestic

                focus. Is this the kind of paper you want in your portfolio as

                your first publication?

112.      ZM:   What if I go back to writing about China?

113.       P:   Yeah.

114.      ZM:   So, why don t you like that? You are telling me no, without

                explaining why. That s not helpful for coming up with ideas.

115.       P:   First, I have not said no.

116.      ZM:   But you are shaking your head in a negative way.

117.       P:   If your first paper is on Louisiana, yet your Ph.D. degree will

                be in IR. I am concerned that people will refuse to hire you

                because your first paper is on Louisiana. People will ask, are

                you committed to IR? Other students are writing on

                countries and interest that they will ultimately work in.

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             Well, except one student. She did not want to limit herself to

             one country, so we worked around that. In an interview, you

             want to build a narrative that is not necessarily truthful but

             a narrative that get smart people to hire you.

118.   ZM:   My research interest is climate change relocation. There are

             very few ongoing cases other than China, Louisiana, Tuvalu,

             Kiribati. Plus, if I have an IR Ph.D., are you telling me I can

             only work in IR? Not Anthropology, public policy, political

             science, development studies where a domestic focus is OK?

119.    P:   No. You can. You can do whatever you want to be in IR. I

             just do not want you to do something you will regret. Then

             again, you have not told me your rationale for choosing the

             four cases. A rationale based only on occurrence is not OK.

             Why would each of your countries be a case?

120.   ZM:   My rationale for studying China s case is that the migration

             is more government forced, compared to other country-

             cases.

121.    P:   I do not think it is a rationale. It sounds like a description of

             what s happening, without theorization. Well, ethnographers

             are under no pressure to explain why they're studying what

             they're studying, if they're studying it well. But then you are

             boxing yourself in, branding wise.

122.   ZM:   Maybe I am an anthropologist. I do not know what I will find

             before I begin. It is hard for me. I do not think that works




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             for me. I fully expect to find extraordinary results once I am

             on the ground.

123.    P:   This is probably where we part ways in terms of our

             epistemology. How about we bring another professor in your

             camp into this process? You would have to reach out to

             them because if I do, they may feel coerced.
                          --Conduct of Inquiry--
124.   ZM:   Have you ever read Patrick Jackson's book, Conduct of

             Inquiry? I am reading it now. It is quite interesting.

125.    P:   Yes, I did. It is rather difficult to say how it would resonate

             with you. I would not advise you to have him on your

             committee, unless you want to focus on IR.
             --Stand Your Ground If You Want To Graduate--
126.   ZM:   I will need to think about the topic even more then.

127.    P:   I think so. You said I was not really explaining why I

             rejected your topic. But, you did not really fight me for your

             topic. I am trying to show you how you can defend your

             prospectus. If I start poking holes in your paper in your

             prospectus defense, and you say, Yeah, you are right, I d

             fail you. If I am right, you are wrong. Then why should you

             graduate?

             I ve been on a committee. The student kept asking us how

             the dissertation can be improved. We wrote pages of

             feedbacks, which the student incorporated. After seven

             rounds, we just dismissed all of it. Being a Ph.D. is all about

             speaking authoritatively on an issue.


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128. Prior to this meeting, the professor has never told Mills that his

     pedagogical approach is to play the devil s advocate. When he assessed

     Mills proposal as unscientific, he presented his personal opinion as

     unquestionably true in the scientific community. He asked Mills to

     adopt his correct methodology and propose a new paper, instead of

     asking Mills to read why Mills methodology can be supported and then

     debate him.

129. The professor did not adopt the same approach with two white female

     students. They told Mills so. Like Mills , their paper proposal also

     employed a different methodology than that of the professor. The

     professor did not raise any objection to their methodology and

     approved their proposal without in-person discussion.

130. Mills found out that, of the papers the professor served as the first

     author, the most cited paper uses data availability as case selection

     rationale.

                     Section 4.   Too Many Coincidences

131. After the third meeting, Mills began to put everything that happened

     that semester together.

132. On the first day of the semester, the professor used Mills as an example

     of a student who does not turn in work on time and therefore cannot

     receive credit. Halfway through, the professor stopped himself for 15

     second and then seamlessly switched to using a white student as the

     example. Save for one East Asian foreign student, all Mills classmates

     are white. The students kept their poker faces, but it was an

     uncomfortable moment for everyone present.


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133. During the class break, the professor apologized to Mills alone for an

     appearance of racism: it could look like the professor was calling Mills

     a bad student due to the common anti-Black trope of Black people being

     lazy and unintelligent; because Mills is Black, the professor said he

     decided to switch to the white student. The professor said he does not

     want Mills to think that he thinks Black students are lazy. Mills assured

     the professor that he was not one to take offense at every perceived

     slight.

134. In a lecture about policymakers bias impacting policymaking, the

     professor revealed that he has biases that he tries to keep in check. The

     professor also said that he expected every student to have biases.

135. In a lecture, Mills refuted a classmate s point by reciting reading

     material from memory. The professor would not believe that Mills

     accurately represented the material until a white student gave the

     professor the material.

136. Early in the semester, Mills mother was hospitalized in Arizona. As her

     only child and the only member of the family with scientific training,

     Mills flew home to take care of her and make medical decisions. By

     then, she had lost 20% of weight and could not recognize who he was.

     Mills was upset that her doctor was about to put her on stomach tube

     even though she could not give valid consent. Mills looked up a meta-

     study. It shows that 50% of the patients with similar her conditions

     would die in 18 months. Mills stayed with her for two weeks until she

     stabilized.




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137. When Mills informed his professors that he was taking care of his

    hospitalized mother in Arizona, Mills other professors were very

    understanding. The professor, on the other hand, asked Mills for

    overdue assignments. Mills had told the professor that he could not

    bring his laptop into his mother s quarantine room and that he was

    staying in the hospital except while sleeping. When Mills did not

    respond to the professor s email about submitting assignments ASAP,

    he complained to the program director that Mills was absent, even

    though Mills attended every session via videoconferencing.

138. As soon as Mills flew back on 10/12 for the midterm, the professor

    wanted to know Mills progress on the paper. When Mills again

    explained that taking care of his mother in a hospital was interfering

    with writing the paper, the professor laughed in disbelief, that he is

    still using the same excuse. Being laughed at for a real family

    emergency felt unreal. Mills could not tell whether the professor was

    saying he invented the family emergency, or that a family emergency

    should not distract a Ph.D. student for so long.

139. When Mills later sprained his right index finger and could not type,

    Mills did not want the legitimacy of the injury questioned and did not

    mention it to the professor.

140. The professor told Mills to not worry about submitting paperwork to

    establish the family emergency. However, the professor announced in

    class that Mills as very much behind on his paper.

141. After returning, Mills first tried to make up the work he missed in

    Arizona. He summitted assignment 1      the abstract   21 days after the



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       original deadline. In the abstract, Mills proposed a paper based on the

       reflexivism methodology. According to Conduct of Inquiry, it is as

       legitimate as neopositivism. What follows are excerpts of Mills

       abstract and the professor s comment.

142.     ZM:    The paper examines the effects of state-led (Ningxia, China)

                and individual-driven (Sahel, Africa) climate induced

                migrations.

143.       P:   This part led me to believe that the paper will only describe

                two different processes of migration. You did not provide a

                rationale for choosing these country-cases.

144.     ZM:    The paper will deal with methodological considerations of

                how to categorize and define a phenomenon.

145.       P:   These are merely conceptual considerations . Why would

                your paper discuss these?

146.     ZM:    The paper will identify normative standards, qualities of

                interest, points of comparison, performance indicators of

                climate migration.




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147.       P:   You did not have specific definitions of them. You also did

                not identify theoretical literature .

148.     ZM:    The paper will be important because hundreds of million

                people will need to migrate because of climate change in this

                century; policy solutions are imperative to maintain

                international order and security and human dignity.

149.       P:   Your motivation is speculative and hyperbolic. Please delete

                these. A policy on climate migration is imperative to

                international order and security? Says who?

150.       P:   I do not think the idea you proposed is up to standard,

                analytically.

151. To discuss the negative feedback, and to catch up on the paper, Mills

       signed up for the professor s office hour.

152. Although the professor had a stated policy that each student can only

       sign up for one block of 20-minutes per day, Mills saw that three other

       students had signed up for two continuous blocks that semester, and

       many students did in prior semesters, and that the professor allowed

       it. Mills did the same.

153. Soon, the professor emailed the whole class that he cannot commit to

       two continuous blocks, and shortened Mills appointments.




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154. Their first meeting about the paper was on 10/25. The professor

    refuses to approve Mills proposal without giving much explanation.

    Mills also had a distinct sense that the professor did not want to

    discuss more. He said Mills research design, including the comparison

    of dissimilar country-cases, is not a valid form of scientific inquiry. ¶

    58. The professor asked Mills to start over because the abstract cannot

    be improved to an acceptable level. In the new proposal, the professor

    wanted to see a hypothesis and how he will test the hypothesis, with

    dependent variables and independent variable.

155. The professor almost convinced Mills that his proposal was

    unscientific. Mills had not read Conduct of Inquiry at the time. He did

    not have enough knowledge to understand that the professor was

    disagreeing with his methodology, or that adopting the professor s

    suggestions was equivalent to revamping the entire research design.

156. In assignment 2 and 3, methodology reflection and literature review,

    Mills tried to conform with what the professor demanded.

157. Instead of arguing that that the design of a climate migration policy

    must consider non-environmental drivers such as security and

    livelihood, Mills loaded the same argument into a testable hypothesis:

    that not including non-environmental drivers in a climate migration

    policy will create gap in the policy.

158. Instead of arguing that climate migration, environmental degradation,

    loss of livelihoods, rate of urbanization, and inequality are intrinsically

    interconnected, Mills named climate migration as dependent variable

    and the rest independent variable.



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159. Where the professor had not specifically instructed Mills to adopt

    neopositivism, Mills identified a theoretical significance in the

    difference between how 1) policymakers; 2) implementers; and 3)

    people affected by policy view international climate-induced migration

    policies. That is, Mills recognized that the knowledge represented in

    such policies were produced by upper-class well-educated Western

    people, who live in vastly different social conditions than people who

    implement or people who are affected by such policies do. Mills

    intended to research the role of the social conditions have on such

    policies, and, in turn, how such policies cause a change in social

    conditions of the three groups. Neopositivism denies that knowledge is

    a force in the real world, and would reject Mills research design.

160. Mills submitted assignment 2 (methodology) and 3 (literature review)

    one day after assignment s original due date. He had almost caught up

    with the class.

161. When they met on 10/30 for the second time about the paper, the

    professor rejected Mills proposal again.

162. The professor said that many of Mills arguments are flawed, such as a)

    transnational climate migration is mainly a problem of inequality and

    development and b) an effective policy that prevent transnational

    climate migration must consider non-environmental drivers.

163. On the other hand, the professor approved of components of Mills

    work on the side of neopositivism, such as a) Neumayer s use of

    multivariate regression analysis to demonstrate which non-




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     environmental drivers are important;      b) Piquet s inquiry into whether

     existing model of environmental variable truly capture climate change

     instead of variability of natural disaster; and whether aggregated data

     reflect individual level data .

164. Mills acknowledged the strength of ethnographic study in a non-

     neopositivist context, and set his goal to develop a more holistic theory

     of climate induced migration. The professor rejected both on the

     ground that Mills would not have time to do either in the remaining 5

     weeks in the semester.

165. In reality, had the professor allowed it, Mills could have done

     individual-level ethnographic study in five weeks. Instead of

     interviewing people himself, Mills could have analyzed their recorded

     statements in Internet videos and documentaries in five weeks. His

     policy analysis paper could have served as preliminary research that he

     can later expand into a prospectus or a dissertation. This approach is

     encouraged by SIS curriculum.

166. The professor instructed Mills to propose a new policy analysis paper.

     He instructed Mills to redo his literature review with 20 substantive

     sources in a week.

167. At this point, Mills felt insulted by the professor s accusation that he

     was using his family emergency as an excuse, or he invented a family

     emergency. Mills was uncomfortable with the professor completely




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     rejecting his research design as unscientific and could not even be

     fixed. Mills felt uncomfortable being in the same room as the professor.

168. Mills stopped going to the lectures. It was a calculated risk for Mills.

     Mills found the professor s lectures failed to teach him anything about

     writing the policy analysis paper. Deduction for absences was limited

     to 5% of final grade.

169. Two weeks later, it became clear to Mills that he could not possibly

     finish the paper by the end of the semester, given that family

     emergency had delayed his progress by a month, and that the professor

     kept asking him to start over. Designing new research is not as easy as

     switching to another brand of dog food.

170. Mills also learned that the professor had under-counted his attendance

     by 60%. Mills had to join two class sessions virtually from Arizona; the

     professor told Mills not to submit paperwork of the family emergency

     yet did not credit his attendance.

171. Before the third meeting with the professor, a classmate told Mills that

     the professor had let everyone else off the hook - the professor was

     accepting non-policy analysis paper for credit. Mills was surprised. The

     professor had twice rejected Mills proposal for a policy analysis paper.

     The professor had not mention anything about an easier alternative.

     When he heard of the alternative, Mills was still scratching his head for

     a new policy analysis paper that the professor would approve. [internal

     cite]

172. Mills has doubt that the professor did not know that all works under an

     Incomplete must be finished during the next semester. ¶ 87-90. The



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     professor has been at AU since 2009. At that time, and since 1980, the

     same rule applied. The professor would know if he ever supervised an

     Incomplete.

173. Regarding the easier alternative of non-policy analysis paper, Mills

     recalls that the professor did not volunteer the alternative. The

     professor only acknowledged that Mills could also do the alternative

     after Mills had said he heard it from other students. [internal cite]

174. Mills also recalls that, when confronted with question why he did not

     inform Mills months earlier, the professor first words were, you

     would know if you had hung in there . [internal cite] It sounded like

     the professor had taken as slights Mills absences from the November

     lectures and his request for Incomplete.

175. It is also dubious that the professor then immediately switched to an

     inconsistent story. The professor said, it's not that [other students]

     knew, and you didn't[;] rather, as he was reviewing other students

     work, he realized that they were good paper but not policy analysis

     papers. He then organically decided to accept these non-policy analysis

     papers.

176. First, this is exactly a situation of [other students] knew, and [Mills]

     didn't . It also strikes Mills as strange and unfair why the professor

     would allow a proposal of non-conforming paper in the first place.

177. As to when this organic change took place, the professor first said the

     change took place after he read parts of student papers. When Mills

     questioned whether that was fair to him, the professor said the change

     took place before anyone had anything written. [internal cite]



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178. When would this organic change have taken place? The professor

    would not say clearly. The two white female students proposal of a

    non-policy analysis paper was accepted at the end of September when

    Mills was traveling. [internal cite] If the change took place before

    10/30, their second meeting, why did the professor not tell him then? If

    it took place after 10/30, if the students had not written anything at

    that point and if the professor did not accept late work, according to

    the due dates in the syllabus, they would have lost 25% of their total

    grade. Yet, six out of eight passed.

179. Mills also recalls that, around 10/30, many students had written a

    substantial portion of their paper.

180. Regardless, after their 10/30 meeting, Mills was operating under the

    professor s instruction to propose another policy analysis paper, until

    the professor confirmed non-policy analysis paper was acceptable

    during their third meeting on 1/26.

181. Regardless of when the change took place, it seems uncharacteristic for

    the professor to not inform Mills of the biggest change to the syllabus.

    The professor had made a dozen of minute changes to the syllabus. The

    students did not read the 8-page syllabus a dozen times. The professor

    always either 1) wrote a separate email explaining the changes; 2) told

    the student the page number of the syllabus containing any changes;

    and/or 3) highlighted the changes. The professor would always email

    about a change even if every student was present.

182. Mills begins discussing his concerns about the professor with his

    classmates.



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183. Mills realizes that one of the research designs that he had proposed

    was similar to two white female students research design, in terms of

    a) methodology, b) methods, c) a case selection rationale based on

    occurrence and d) the inclusion of a domestic case.

184. The two white female students proposed exclusively using scholar

    Dvora Yanow s method of discourse analysis on two discourses on rural

    experience: one originating from rural people and the other originating

    from nationalists.

185. Mills also proposed to use Dvora Yanow s method of discourse analysis

    on two discourses on global climate migration policy: one originating

    from people affected by the policy and one originating from the policy s

    makers.

186. As a case selection rationale, the two white female students selected

    the U.S. and France because the phenomenon is occurring there.

187. Mills selected Louisiana, China and Sahel, Africa as country-cases for

    the same reason.

188. The professor problematized Mills selecting Louisiana and China. The

    professor problematized Mills using occurrence as a case selection

    rationale.

189. The professor did not problematize the two white students proposal at

    all. He approved their proposal without meeting them. They passed the

    class on time. They presented the paper at an academic conference and

    then publish the paper on a non-policy analysis journal.

190. By comparison, the professor rejected Mills proposal as unscientific.




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191. The professor also insisted on micro-managing Mills, such as redoing a

    literature review, without micro-managing other students of other

    ethnicity, sex or methodology.

192. A white classmate shares a rumor that the professor had casually

    mentioned to some classmates over lunch that his family members

    were members of the German Nazi party.

193. A white classmate tells Mills that a female faculty member accused the

    professor of sexual harassment, and, thereafter, the professor spread

    rumors that the female faculty member was mentally unstable because

    it was too difficult for her to obtain tenure, such that the female faculty

    member s famous mentor had to fly in to save her.

194. It becomes impossible for Mills to trust the professor is assessing Mills

    and his work on the merits. Natural selection frowns on organisms that

    do not perceive risk and adapt to the environment. For Black people,

    when evidence of racial bias accumulates and when the bias impacts

    their lives, it becomes unintelligent to not perceive a risk.

195. James Baldwin said the following about Black people s perceiving

    racism as a mortal risk on the Dick Cavett Show, aired on 5/16/69,

    available at https://youtu.be/hzH5IDnLaBA

      I left this country for one reason only. I didn t care where I went...I
      ended up on the streets of Paris with $40 in my pocket on the theory
      that nothing worse could happen to me there than what had already
      happened to me here. You talk about making it as a writer by
      yourself, you had to be able then to turn off all the antenna with
      which you live because once you turn your back on this society, you
      may die. You may die.
      It s very hard to sit at a typewriter and concentrate on that if you re
      afraid of the world around you. The years I lived in Paris did one
      thing for me. They released me from that particular social terror,

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      which was not the paranoia of my own mind, but a real social danger
      visible in the face of every cop, every boss, everybody.
      I don t know what most white people in this country feel, but I can
      only conclude what they feel from the state of their institutions. I
      don t know whether white Christians hate negros or not, but I know
      that there is a Christian church which is white and a Christian church
      which is Black. The most segregated hour in American life is high
      noon on Sunday. That says a great deal for me about a Christian
      nation. It means I can't afford to trust most white Christians and
      certainly cannot trust the Christian Church.
      I don't know whether the labor unions and their bosses really hate
      me. That doesn't matter. But I know I'm not in their unions. I don't
      know if the real estate lobby has anything against black people, but I
      know the real estate lobby is keeping me in the ghetto. I don't know if
      the board of education hates black people, but I know the textbooks
      they give my children to read, and the schools that we have to go to.
      This is the evidence! You want me to make an act of faith risking
      myself, my wife, my woman, my sister, my children on some idealism
      which you assure me exists in America which I have never seen.

196. Mills is in Baldwin s shoes. Mills could no longer take the professor s

     will for the deed.

197. It seems to Mills the most probable explanation for the apparent

     irregularities is that the professor had preconceived notions about

     Mills.

198. [internal cite 126-132] (singling Mills out as a hypothetical bad student;

     accusing Mills of using family emergency as an excuse)

199. When Mills made up lost time for family emergency and proposed a

     paper, the professor refused to meet him for more than 20 minutes at a

     time; [cite] he casted categorically more doubt on Mills work than he

     did similar work from the two white female students.

200. During their first two meetings, the professor knew but did not explain

     that his criticism was based on his personal opinion, as if Mills cannot


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    understand that a disagreement over methodology is a difference of

    opinion.

201. The professor did not find it necessary to inform Mills that he had

    accepted proposals for non-policy analysis paper. [cite] There are three

    plausible reasons. First, the professor perceived that Mills had not

    accorded him enough respect. Second, the professor did not believe

    Mills could finish the paper even with that reduction in difficulty.

    Third, the professor did not think Mills could have found out about the

    difference in treatment, just as he did not think Mills would realize he

    was telling contradicting stories about when the change took place.

    [cite]

202. Mills is particularly concerned that the professor seems comfortable

    letting his personal preferences override academic considerations, in

    overseeing a student s career. [cite] (the professor proudly recalling

    dismissing a student for an excessively subjective reason - that the

    student tried to incorporate the professor s criticism instead of

    rejecting and fighting the criticism, in an attempt to convince Mills that

    his covertly playing the devil s advocate was in Mills benefit   to build

    some sort of habit of confrontation that is required of Ph.D. students.)

             Chapter B. Botched Investigation

203. Since the fall 2017 semester, Mills gradually becomes depressed. The

    thought of having to keep interacting with, and evaluated by an

    apparently biased and disrespectful professor weighs heavily on Mills.

    Mills starts taking medications.




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204. In spring 2018, between depression, Mills cannot study much for his

    second comprehensive exam in May 2018. No student who passes the

    first comprehensive exam fails the second one. Mills fails.

205. Mills shares with the Program Director that he expected to fail because

    he disengaged with schoolwork. He recounts the paranoia about the

    professor. [Internal cite] singling him out; announcing he is biased

    twice; wrong Incomplete due date, withholding that non-policy

    analysis paper is acceptable.

206. Mills shares that seeing other professors giving a white female cohort

    member who also had a family emergency as much support and

    extension as she needed to finish her papers made him feel that his

    family emergency was somehow less legitimate. He says he is relieved

    that professors who graded his second comprehensive exam say they

    see great potential in him. However, he says he does not feel equipped

    to deal with all the bias events as the only domestic minority student in

    the program.

207. The Program Director says that the professor should not have said

    what he said. She says she will take over the professor s role in grading

    the unfinished paper. She sets up an appointment for Mills to speak

    with the Dean of Academic Affairs, who AU designates to resolve

    faculty discrimination cases.

208. Mills recounts his experience to the Dean. The Dean would

    acknowledge Mills have said something, but does not otherwise

    comment.




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209. Mills also shares his fear of retaliation, given the vivid and detailed

     rumor that the professor told his colleagues that the female professor

     was accusing him of sexual harassment because she was mentally

     unstable. [internal cite] The Dean would not say whether the school did

     anything to protect the professor, instead the Dean keeps repeating a

     boilerplate answer: that AU s policy prohibits retaliation.

210. The Dean finally asks Mills, whether Mills wants to formally file a

     complaint. If not, the Dean would not investigate.

211. Mills is bewildered. The Program Director and Mills has both reported

     the professor s discrimination to the Dean. AU Discrimination Policy

     says that AU will thoroughly investigate any report of discrimination,

     regardless of whether the subject requests an investigation. Even when

     the subject asks AU not to investigate, the Policy says AU may

     nevertheless investigate because a non-discriminatory campus is so

     paramount to AU.

212. The Dean s odd response gives Mills a sense of dread - that getting

     some justice and dignity is out of reach. Mills does not formally request

     an investigation at the meeting.

213. Mills ponders for seven weeks. He would never mess with someone s

     life, reputation, and livelihood haphazardly and vindictively. However,

     he realizes that he himself almost bought into the professor s view that

     he is a terrible student. Another student may too, unless the school

     establishes what happened.

214. After rethinking what happened chronologically, Mills is confident that

     the strange, repeated occurrences cannot simply be benign mistakes or



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    oversights, but something nefarious. Had he not realized that the

    professor is untrustworthy, he might still believe that his research is

    invalid, and rewrite it over and over until he fails the mandatory

    course and cannot graduate.

215. Mills decides to formally request an investigation.

216. When Mills informs the Dean, she has been promoted to Deputy

    Provost. She asks Mills to contact her successor instead. Also, the

    Program Director retires from the administrative position, and another

    Program Director succeeds her.

217. AU Discrimination Policy says that the Dean of Academic Affairs will

    conduct a thorough investigation. The Acting Dean asks Mills to

    interview with her teammate - the Faculty Relations Investigator.

218. At the end of the first interview, the Investigator promises to interview

    Mills again. The Investigator also promises to call Mills if any question

    emerges, but that the investigation will move forward whether Mills

    participates or not.

219. Mills waits for three weeks. The Investigator never contacts Mills to

    ask for the second interview, or more evidence, or ask any questions or

    clarification. Even though recalling trauma is exhausting and detracts

    from his study, he submits a detailed timeline and more evidence.

220. Mills incoming Program Director then tells Mills that the Dean told

    him that the investigation could not begin until Mills submit more

    evidence. Mills is perplexed. Why did the Investigator tell him that the

    investigation would begin whether or not he submits more evidence?

    Why does the Investigator not contact him if more evidence is



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    necessary? What would have happened if Mills never submit more

    evidence?

221. Mills writes to the Dean and the Investigator to demand transparency

    on these issues, not the least because AU Discrimination Policy

    designates the Dean to be available to answer student questions about

    the Policy. The Dean and the Investigator did not respond for three

    weeks.

222. Mills calls the President s office to check whether the Dean and the

    Investigator are avoiding him. Mills also wrote to Vice President for

    Campus Life and Inclusive Excellence, and Deputy Provost. They cannot

    get the Dean and the Investigator in touch with Mills either.

223. The Dean finally breaks radio silence after three weeks, although she

    acts as if she did not disappear. She informs Mills that the investigation

    is finished. Five days later, the Dean writes to Mills with a Report - that

    the professor did not violate AU discrimination policy.

   Section 1.   Unconscious Bias Explains Some Things, But Not Others

224. Dean Report (Ex. A) seems fishy to Mills. The Dean and the Investigator

    have avoided him for weeks. Its factual findings are full of obvious

    mistakes. The way the Report applied Discrimination Policy to the facts

    does not make sense. To top it off, the Report s interpretation of the

    Discrimination Policy does not comport with the Policy.

225. To begin with, the Report only credits Mills statement if there were

    witnesses. For example, the Report credits Mills report of two racial

    microaggressions in the classroom. First, when the professor singled

    Mills out as a hypothetical example of a bad student, the Report


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    concludes, the professor expressed unconscious bias      .once he became

    conscious of his unconscious bias, he apologized. Second, the Report

    finds that the professor had said that he has biases that he tries to

    keep in check in the classroom.

226. Unconscious bias is popularly understood as a person s biased thoughts

    that they were not immediately aware of. Absent truth serum, how did

    the Report find out what the professor was thinking when he singled

    Mills out? It did not come from Mills. Mills had reported that the

    professor only apologized to him about an appearance of bias. [cite]

    The professor did not tell Mills that he selected Mills as an example

    because he actually thought Mills was a bad student due to Mills being

    Black.

227. Nevertheless, the professor s apology felt cringeworthy, in hindsight.

    The professor first assumed that Mills was offended because Mills is

    Black; he then assumed that a white classmate would not be offended

    as the hypothetical example. It would be better had the professor

    avoided using real students as hypothetical examples all together.

    Second, the professor wanted to ensure Mills know that he is not a

    racist. He seemed more interested in not being perceived as racist than

    making Mills comfortable.

228. To Mills, the only logical explanation why the Report holds that the

    professor exhibited unconscious bias , is that the professor admitted

    to it during the investigation.




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229. However, the Report concludes that the two racial microaggressions

    were not adverse decision and were not severe enough to violate

    Discrimination Policy, especially because the professor apologized.

230. That a cringeworthy apology erases a violation does not sit right with

    Mills. Mills did not make much of the two racial microaggressions and

    the uncomfortable apology at first. However, when the professor

    disbelieved that his paper was delayed by his family emergency, and

    made strange errors about his grade, his research design and final

    paper, the microaggressions and subsequent events made Mills anxious

    that the professor has out-of-control racial bias. So much so, that Mills

    minimized face time with the professor. Mills could no longer trust or

    work with the professor whether or not the professor had apologized.

    Mills could not finish the course that semester, which delayed Mills

    academic progress by at least one year. This seems to fit AU s definition

    of discriminatory harassment, which does not depend on malic.

231. Although the Report finds the professor s unconscious bias about Black

    people caused the racial microaggressions, Report says other instances

    of the professor perceiving Mills as a bad student were unrelated to

    that unconscious bias.

232. The Report says it cannot corroborate the incident where the professor

    laughed and disbelieved Mills family emergency delayed writing the

    paper, which only Mills and the professor saw. Mills is livid. The

    professor had laughed about Mills integrity, competence, and diligence

    to his face. Now, the professor denies it ever happened, just because no

    one saw it. What about circumstantial evidence? Perhaps the professor



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    had told another professor that Mills was lying about his family

    emergency? The Report either did not find such evidence or does not

    find it relevant.

                        Section 2.   It is a Coincidence

233. The Report says, when the professor announced in class that Mills was

    behind everyone, the professor was accurate and it was OK. But,

    normally, a professor do not tell other students that a student is not

    performing well.

234. Regarding when the professor kept insisting in class that Mills was

    wrong about a topic until a white student interceded, the Report says it

    is a common mistake any professor would make. Mills was alleging a

    pattern that other students could have noticed. Although Mills

    requested the Investigator to interview the classmates, and although

    the Report says all requested witnesses were interviewed, several

    classmates tell Mills no one had contacted them.

235. Regarding when the professor gave Mills the wrong due date for the

    Incomplete, the Report says it is another common mistake any

    professor would make. It does not make sense that the professor did

    not know that Incomplete needs to be finished by the next semester,

    unless the professor had never been trained, or unless he had never

    granted Incompletes before. Yet, the Report does not discuss these

    explanations.

              Section 3.    No Harm, No Foul (After We Fix It)




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236. The Report says the professor did not intentionally discounted Mills

    virtual attendance. Rather, the professor transposed Mills attendance

    wrong. But, the Report does not say it reviewed the attendance record.

237. Report says the professor made a mistake on Mills participation grade.

    But, what mistake could the professor have made about a single

    subjective letter grade?

238. Report also notes that these grading mistakes have been fixed. But, can

    fixing the grade substitute finding a violation? That does not strike

    Mills as how disciplinary actions work. For an adverse decision

    discrimination, the AU Discrimination Policy does not say that

    reversing the adverse decision would absolve the wrongdoing.

                  Section 4.   Investigator Make Mistakes

239. The Report contains several factual and legal mistakes.

240. The Report finds that the professor s emails to Mills are consistently

    courteous and professional. This is a strange conclusion because Mills

    pointed out that a contrast: the professor was respectful in emails but

    rude in person.

241. The Report does not discuss the professor canceling Mills office hour

    appointments.

242. The Report also finds the rumor that the professor casually said his

    family has a Nazi history was false. Mills told the Investigator that it is

    a rumor. The Dean and the Investigator never asked Mills whom the

    rumor came from. Yet, the Report implies that Mills originated the

    rumor.




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243. Report says the professor could not have graded Mills with bias

    because the professor gave Mills at least the average grade for a Ph.D.

    class - B. What if Mills should have received an A?

244. With this many mistakes, it seems that the Dean and the Investigator

    were very incompetent. One mistake, however, strikes Mills as

    intentional.

    Section 5.     Non-Policy Analysis Paper Has Always Been Acceptable.

245. Regarding why the professor did not inform Mills that he accepted non-

    policy analysis paper, the Report writes

    [the Professor] clarified in class what the syllabus already indicated
    about the final paper (i.e. that it does not have to be a policy analysis).
    This was not a change to the syllabus and so an email updating the
    syllabus was not necessary.

246. Mills cannot believe his eyes. He immediately finds the syllabus. It

    reads: “All students produce article‐length manuscripts, each

    providing an analysis of a specific policy or set of policies.” It is

    impossible to interpret this sentence to mean a non-policy analysis

    paper is acceptable.

247. Moreover, the professor had told him an inconsistent story, which Mills

    could have shared with the Investigator and the Dean if they have

    asked Mills about the syllabus instead of dodging him.

248. A white female classmate tells Mills that the alternative of non-policy

    analysis is never reflected in the syllabus. Did the professor lie to the

    Dean?

249. Taking the Dean Report at its words, it says that when a syllabus

    changes, a professor should notify the students of the change in


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       writing. However, assuming the syllabus never changed but the

       professor had to clarify it in class, the professor did not need to do so

       in writing as well?

250. Mills is incensed. The professor withholding from him that non-policy

       analysis paper delayed his academic progress by a year and destroyed

       his trust in the professor. Now, the Report says that Mills should just

       read the syllabus again? Why would the Dean tell a Ph.D. student that

       he cannot read a syllabus?

           Section 6.   Wrong Interpretations of Discrimination Policy

251. Mills also notices that the Dean Report is not interpreting the

       Discrimination Policy correctly.

252. First, the Policy forbids discriminatory harassment: the actor s

       discriminatory conducts are subjectively offensive to the subject, and

       objectively offensive, and have materially changed the subject s

       educational condition, regardless of the actor s intention.

253.   While the Dean Report says it has adjudicated Mills complaint about

       discriminatory harassment, it does not apply this standard to evaluate

       the facts. Rather, other than racial microaggressions, the Report seems

       to excuse all of the professor s errors on the ground that he did not

       intend it.

254. Once is happenstance. Twice is coincidence. Three times is enemy

       action.

255. All of the Report s obvious errors remind Mills, why did the

       Investigator promise to follow up but then dodge him for three weeks?

       So that Mills cannot react to these obvious mistakes? Are the glaring


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    misinterpretations of Discrimination Policy merely negligent? Did the

    Dean fix the grades as a substitute for finding the violation?

                    Section 7.   A Cover-Up is an Insult.

256. Mills cannot cope with being lied to in such a glaring and official way.

257. Mills feels the Report ridicules and insults him. As an example, the

    Report says that, as a Ph.D. student, Mills cannot read a syllabus right;

    that after going to class for months and proposing several policy

    analysis paper topics, Mills persisted in a mistaken belief that the

    course did require a policy analysis paper, until the Dean read the

    syllabus.

258. It would have been easier to accept a cover-up if one does not know it

    is a cover-up. However, once one knows, accepting an obvious cover-up

    becomes moral objectionable and humiliating.

259. On one hand, if the Dean assumes that Mills lacks the intelligence to

    see through an obvious cover-up from the array of irregularities, that is

    downright insulting and indicative of a belief in scientific racism.

260. On the other hand, if the Dean assumes that Mills cannot afford to

    litigate even an obvious cover-up, that is intimidating and

    discriminatory, in part because the Dean hit the nail on the head. A

    civil rights suit costs $400,000. The national average Black family net

    worth is under $200,000. When he came to SIS, Mills and his family

    did not budget for a civil rights lawsuit as a part of essential

    educational expense. Mills mother is a retired public-school teacher;

    she cannot support him. Mills tuition comes from SIS; his living

    expense comes from student loans.


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261. Mills first instinct is to escape AU. Two hours after receiving the

     Report, Mills sends an email from his university account to his

     personal account. He backs up his hard work over the last two years -

     his reading notes, prospectus ideas and comprehensive exam

     preparations. He writes a note to himself: I hate the Unamerican

     University of White Supremacy.

262. Very soon, Mills faces the reality that he has to stay. He could transfer

     to another Ph.D. program if he is from a rich family like most students

     in the program. All Ph.D. programs only accept one year of transfer

     credit, so Mills would lose half of the two years of credits he has. But,

     he has almost reach the lifetime maximum for federal student loan. He

     sees no other choice but to continue at AU. On the same day, he returns

     to the school that is either incompetent or treat civil rights law as race

     management law. Everyone at the class can see how despondent and

     distracted he is.

                         Section 8.   Can’t Appeal This

263. Mills must stay, but he thinks that he can graduate while getting to the

     bottom of the botched investigation. His faith in justice, equal rights

     and free speech comes from his white upbringing. He has not forgotten

     that.

264. So, Mills requests a direct meeting with the President to discuss the

     cracker jack attempt at a cover-up. Mills notes the Dean Report is

     factually inaccurate in several instances, omits critical facts, confuses

     events, invents facts, includes a couple of complete lies about the

     investigation process, and exhibits deeply flawed logic in fact-finding.


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265. Here is the President s reply.

        [My secretary] shared your email inquiry with me and has kept me
        posted on your communications with her this summer. I am very
        sorry for the frustration and anxiety you experienced while your
        complaint was being investigated. In response to your note, I have
        confirmed that the university followed its normal processes in
        investigating and resolving your complaint and that the matter was
        fully investigated.
        I understand that you are frustrated, and as a University, I want us
        to continue to learn and grow. I have asked Seth Grossman, my
        Chief of Staff, and Fanta Aw, Vice President for Campus Life and
        Inclusive Excellence , to meet with you about your concerns
        regarding the handling of your complaint. They will reach out to
        you directly to find some time that might work for you.
        Thank you again for your note. I recognize that it has been a
        difficult year for you .
        SMB

266. Mills agrees to the meeting to discuss the handling of the botched

     investigation. A week later, the Chief of Staff clarifies for Mills that, the

     Diversity VP and he would not talk to Mills about remedying errors,

     because the Dean Report is final under AU policies. The topic would be

     limited to improving the investigation process going forward and AU

     racial climate generally.

267. The President teaches Mills the sociological term of emotional labor

     white workplaces require minorities to manage their feelings and

     expressions to stay. AU first conducts a cover-up so feeble that the

     Dean and the Investigator had to dodge Mills and bend rules. The




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    President then confirms that she has personally ensured that it is not a

    cover-up and invites him to contribute to AU s racial climate. The

    President does not even respect Mills enough to tell him honestly that

    the prerequisite to contributing to campus racial climate is to not talk

    about the cover-up. The school wants Mills to stop talking about the

    cover-up but would not even accord Mills the respect of telling him that

    it is a cover-up or offer him compensation for delaying his academic

    progress for years. As an IR paper says, partial hypocrisy can lend to

    building consensus, but complete hypocrisy is a demand for

    unconditional submission.

268. Here is a summary of Mills reply:

    What is there to improve at AU if nothing is wrong with my complaint
    investigation outcome?
    I now know that Black students only serve two purposes on campus --
    to create the illusion of diversity, and to serve as the punching bags of
    elitist and racist white people. Do you all realize that it would be
    cheaper for you to diversify the campus rather than try to cover up the
    rampant racism and pretend like everything is great?
    A primary research goal of the AU Anti-racist Center is the prevention
    of Black students from entering critical policy areas as a form of White
    Supremacy.
    Black students are scared. You are all no different than the white
    supremacist Dylann Roof, except that your weapon of systemic
    discrimination is much more sophisticated and dangerous to Black
    people. At least he did not hide the intentions of his actions.
    How do you wander around campus crying when racist incidents
    occur and pretend like you support Black students when you could care
    less about their well-being and long-term success? I am a person who
    deserves dignity. I deserve to have civil rights.
    I will expose the feeble cover up and its tacit support for white
    supremacist ideology for what it is. I will excel at my mission of



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    ensuring that all future and current Black students know what really
    goes on at unAU. I cannot wait to inform Black parents that their
    children are not safe at unAU and their children's interests are not
    represented by anyone on campus.
    I, as a Black man, do in fact have the capability of reading and
    understanding the law. I cannot wait to expose your systematic racism
    through a lawsuit -- I will discover at a minimum the last decade's
    worth of AU mishandling discrimination investigations, which creates a
    heightened risk of racial discrimination throughout the student body.
    See Doe 1 v. Baylor Univ., 240 F. Supp. 3d 646, No. 6:16-CV-173-RP,
    2017 WL 1628994 (W.D. Tex. May 1, 2017). I will prove that AU's
    deliberate indifference to my complaint of discriminatory harassment
    violates Title VI of the Civil Rights Act.
    As a lawyer, [President s Chief of Staff], you should know that AU is
    violating the Civil Rights Act. The same goes for [Deputy Provost], who
    has been covering up my complaint since the beginning. I question your
    and her ethics as officers of the court.
    If you're not part of the solution, you're part of the problem. [Deputy
    Provost, Dean of Academic Affairs, Investigator] are part of the racism
    problem at unAU. You [President s Chief of Staff, Vice President for
    Campus Life and Inclusive Excellence and] SMB (whoever this is) are
    part of the racism problem at unAU. You should feel deep deep shame
    in your actions.
    Unapologetically,
    Zach Mills (not your negro)
    Ph.D. student, School of International Service
    The Unamerican University
    The Only Black American in the SIS PhD Program
    The only visible historically oppressed American Minority in the SIS
    PhD program

269. No one, including the Dean of Academic Affairs, tried to explain Mills

    that the Dean Report was correct thereafter.

270. AU gives Mills no hint that the investigation generated a pile of

    evidence that contradicts with the Dean Report. Mills only find out

    about the other evidence when it was too late. See Chapter F, Section 1.


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              Chapter C. Fall 2018 ~ Summer 2019

                      Section 1.   It is Bigger Than Mills

271. Mills realizes that his experience is far from unique.

272. First, if the Dean of Academic Affairs interprets AU Discrimination

     Policy wrong in his case, presumably she does the same for all other

     cases.

273. After hearing about Mills story, other minority and white students

     share their story. Invariably, when a student experienced racism in the

     classroom or from peers, AU would discourage them from filing a

     complaint; those who do file a complaint get a cover-up. It explains

     that only 33% Black students feel welcomed at AU, according to its

     2017 Campus Climate Survey.

274. Mills witnesses several racist incidents himself.

275. As a part of the SIS Ph.D. admissions committee, Mills sees a white

     professor insisting on rejecting a Black female disabled applicant with

     distinguished academic record because she is not a good fit for some

     reasons. Nobody defends her, except Mills. Mills fights for his

     admission. Then, when she visits SIS, no student nor faculty shows up

     to welcome her except Mills. Everyone else happens to forget that day.

     Mills treats her to a dinner on behalf of SIS, as is customary for white

     admitted students touring SIS.

276. Soon after the investigation, Mills realizes that it is not such a

     confidential process as the Discrimination Policy promises. Faculty

     members not involved in the investigation somehow know of what

     happened. One day, he runs into a professor with whom he had a



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    friendly connection. She greets Mills and says You are very famous

    now. Yes, you are. Mills: According to who? She says, Me. Me. I will

    catch up with you again. She never contacts Mills again. Several other

    faculty members seem distant and reluctant when Mills approaches

    them about doing research together. Even before he filed the

    complaint, Mills had a distinct feeling during a meeting that his

    academic advisor perceived him as a lazy Black person, perhaps

    because the 808 professor said something.

277. One aspect of White Supremacy is the white is right discourse - the

    leap to cultural / racial explanations for non-existent problems of

    people of color. Mills overhears a watercooler conversation about an

    administrator s trip to Egypt. She problematizes the Egyptian family

    that hospitalized her giving their children traditional sweet tea, which

    made the children stay up till 1 AM. One comments the Egyptians are

    giving crack to their children. Another comments that early rising is

    the responsible behavior. They are liberals, but they do not discuss

    Americans are fatter, statistically, or some people do not want to sleep

    early. Mills concludes that, unless the historically dominant racial

    group gives up the myths of its racial supremacy, equality will not

    materialize.

278. Minority students nevertheless stay at AU and try to cope with

    institutional racism, because a degree makes the difference between a

    life in the middle-class or in poverty. A Black graduate writes in the

    student newspaper that he does not regret putting up with racism for

    the economic benefit he obtained; he says Black students just need to



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    know the deal they are signing up for. Mills does not know he signed

    up for trading his dignity for a degree.

279. Mills attends an AU NAACP student-only meeting about racism in AU

    classrooms and how AU allows it to thrive. Before it even begins, the

    event has to relocate from the assigned room because a professor who

    did not officially reserve the room insisted that they have priority. The

    students say that clubs of color are often so displaced.

280. Minority students share many racial incidents in classrooms:

       A professor said colonization was the best thing that happened to

       Africa because African rulers were doing the same thing; when a

       Black student said many academics oppose the view, the professor

       said the student did not have the academic statute to question their

       view and that the student was biased because they are Black.

       A professor read the N-word in reading material out because they

       had to.

       A professor called Muslims terrorists and solicited Black students

       opinion on criminal justice when they did not volunteer.

       A student asked a professor for referral to a minority professor for

       their thesis on mass incarceration; the professor joked that no

       minority professor studies mass incarceration at AU because they

       are all mass-incarcerated.

281. Students also share their disappointment in how AU respond to racism.

    They agree that the civil rights office s mailbox is blackhole. Black

    student leaders complain that AU President did not consult Black

    student group on her strategic plan for campus diversity. They are



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    perplexed why AU has invested in an Anti-Racism Center and

    broadcasted it as an achievement when Black students have not felt any

    impact.

282. Mills shares that a professor had declared that he is biased, accuse

    Mills of lying about family emergency and try to make Mills fail. Mills

    shared that AU covered it up by not giving him an opportunity to

    respond to faulty investigation and playing the definition game.

283. In the hope of mobilize other students to address AU institutional

    racism, Mills posts on AU Black Student Union s Facebook group:

      My name is Zach Mills and I'm a third year PhD student at AU in SIS.
      I've recently experienced some serious discrimination and
      harassment at AU from a biased professor and the administrators
      who actively took part in covering it up.
      Several mostly Black minority students, and a few white students,
      have reached out to me after hearing of my situation to inform me
      that discrimination within classrooms is rampant on American
      University's campus. I have come to believe that there is a systematic
      attempt underway to discourage minority students, especially Black
      Americans, from entering positions in critical foreign policy areas.
      The goal is to keep America's government as white as possible.
      I am no longer interested in getting justice solely for myself by
      holding the professor who discriminated against me responsible. I am
      now interested in ensuring that ALL of my fellow minority students
      get a fair chance at a great education untainted by the harassment of
      racist professors and staff.
      To that end, I am currently compiling a list of race-related
      discrimination incidents from both current and former students. I am
      most interested in incidents or episodes of racism and discrimination
      from professors and other university faculty/staff which targets Black
      students and other minority students. These incidents do not need to
      be overt examples of racism but rather anything you perceive as
      discriminatory to yourself or other minority students. The racism that
      goes on at AU is highly sophisticated and hard to pin down. If you
      suspect something is not right, it probably isn't. Please say
      something.

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        If you or anyone you know has experienced racism or discrimination
        at AU by anyone employed by the university, I ask you to reach out to
        me and share your story. Do not let white supremacists silence you no
        matter how long and hard they try. Your confidently is guaranteed if
        you talk with me, and I will not share specifics of any incidents unless
        I have your explicit permission.
        At a later date, I believe that between myself and several other
        former black PhD students, there is ample evidence to file a class
        action lawsuit against American University for systemic racism that
        specifically targets Black students. It would be great to add names to
        that lawsuit in the hopes of forcing AU to treat it's Black and other
        minority students with the respect we deserve.
        Zach Mills
                     Section 2.   The Program Director Cares

284. The new Program Director reads one of Mills posts. He invites Mills to

       a meeting to discuss his concern for Mills academic future. Over the

       next year, Mills and the Program Director discusses what happened to

       Mills and its continuing impact on him. What follows are vignettes of

       those conversations.

                           --Where Does Racism Hurt?--

285.      PD: Help me understand why one professor s action can cause so

               much distress.

286.     ZM: I have researched this question because I want to understand

               too. I will send you a few psychology papers on racial

               microaggressions distress on high functioning Black

               students.

287.      PD: I am not surprised.




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288.   ZM: I am only surprised that, given our good understanding of its

            mechanism and harm, that it still happens all the time.

289.   PD: Yes. But addressing it is very complicated, whether the actor

            is conscious or not. It is very hard for the U.S. to immediately

            evolve from a completely racist society to an ideally color-

            blind society.

290.   ZM: Only when no prejudice exists anymore. To be blind while it

            is going on is dangerous.

           --Why Not See a Therapists About Your Feelings?--

291.   PD: I would encourage you to get help from AU s medical and

            support services. I think they are free.

292.   ZM: I am getting counseling and medications from the services.

            They do help me cope. But, coping is not addressing the

            underlying issue - being treated as a second class citizen first

            by the professor and then by AU. It is just not right to require

            the person subjected to unacceptable behaviors to function as

            if nothing happened.

              --How Should Minorities React to Racism?--

293.   PD: I am sorry to hear that it is so stressful. When I first moved

            from Israel to the U.S., a professor picked on me because I

            could not speak English well. I thought to myself, if that

            professor has a problem with me, I should just work with

            professors who appreciate me. That helped me graduate.

294.   ZM: It is discouraging, right?




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295.   PD: I never thought of it as discrimination. I thought, I don t want

            to deal with you, and I ll work with professors that

            appreciate me.

296.   ZM: I understand. Many people told me to stop talking about it,

            which would only make the faculty think I am a

            troublemaker; the best thing I can do is to stay and succeed

            to prove that I am not a racist stereotype like the professor

            says.

            I feel differently, perhaps because I am the person in the

            situation. I do not believe they realize what they are

            suggesting. AU has cover-ed it up. To participate in hiding it

            is asking me to surrender my integrity. I want a Ph.D. but I

            not sure that I can respect myself if that is the condition.

            Besides me, what about all the other Black students that will

            go through the same thing? Judging from how AU handled my

            case, it is not unreasonable to think that there are other

            professors like him at AU.

297.   PD: AU is well aware of the lack of support for minority students.

            We made significant stride in recruiting minority students,

            but not in their retention or their perception of AU.

298.   ZM: AU minority students have complied lists of years of racist

            incidents in the classroom. The consensus is that racists

            incidents are omnipresent. Something is seriously wrong.

            You are right. It is not everyone. But the few bad professors




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            or students are destroying Black students ability to deal with

            life here. It is not OK.

299.   PD: If it is not intentional, then you need to change awareness.

300.   ZM: I just do not believe the professor is unaware. One remark

            can be, but not a course of conduct over six months.

                   --an Investigation ≠ a Conspiracy--

301.   PD: Regardless of what I think about the investigation or the

            professor s behavior, I cannot intervene in the investigation

            under AU rules.

302.   PD: I know you think nothing has been done. I have not spoken to

            the professor. But, I know from others that the investigation

            has been extremely humiliating for him. He probably will

            think twice before doing the same thing to a student because

            of color or anything else. I can assure you that I will make

            sure to report any instance of racism that I know.

303.        About your case, I do want to share my perspective from an

            institutional level. You think that AU is racist to the core. I

            think there are people within AU with good intentions but

            they are a part of a society that was stacked against black

            people for centuries. It is very difficult to change an

            institution.

304.   ZM: Haha. What about punctuated equilibrium?

305.   PD: From my perspective, the people who are investigating your

            case are trying to do the right thing. You are taking a lot of

            things as conspiracy against you.


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306.           Let me give you two examples. When you first raised a

               concern about the professor, we let the last Program Director

               took over grading from the professor so you did not have to

               interact with him.

307.           During the investigation, three weeks before your

               comprehensive exam, we noticed that you were not studying.

               You did not want an extension. You knew the program would

               have to dismiss you if you failed. We delayed it for 2 months

               for you.

308.           Yet, you think we were conspiring against you in both cases.

309.      ZM: I think it is suspicious that AU saw a necessity in delaying the

               exam so I would not fail, but AU did not think that the

               professor s conduct was severe enough for finding a

               violation.

310.           I also think it is suspicious that the Dean Report does not

               evaluate whether his racial microaggressions constituted

               discriminatory harassment, even though they fit the

               definition, and I stopped attending the class as a result.

311.           Instead, the Report only evaluated the case under adverse

               decision discrimination. Yet, the Report revises what it calls

               wrong grades so that there is no lasting adverse decision, and

               no violation of Discrimination Policy.

312.      PD: We did not make exceptions for you.

313.           An investigator saw that a student that was obviously hurt,

               intentionally or otherwise; the institution was trying to help



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            the student not fail a major academic milestone. It is not an

            admission that Discrimination Policy was violated.

314.        Even if the student is not hurt, when the student accuses a

            professor who will grade the student s paper, the institution

            has to first remove the grading responsibility.

315.        No one is denying that you were hurt. Based on the

            investigation and discussion with all sides, the people

            working on your case are not convinced beyond reasonable

            doubt that the professor was intentional.

316.   PD: You also think that the process being slow was an attempt to

            wait and defuse the situation. I do not think so. They

            interviewed a lot of people. A thorough investigation takes

            time.

317.   ZM: But I asked some of the witnesses I submitted. They said they

            were not interviewed, contrary to what the Report says.

            When I first reported it, the last Dean (now Deputy Provost)

            was quite dismissive of my complaint and my concern for

            retaliation. Then, they did not do a thing for about 2 months.

            The Discrimination Policy says the Dean s office should have

            investigated as soon as the former Program Director referred

            it. So, I do not think workload caused the delay.

318.   PD: It is not an excuse, but you need to remember the Deputy

            Provost is in charge of thousands of students and hundreds of

            faculty and staff; hiring and firing faculty. She is the captain

            of the ship; President is the representative. Deputy Provost is



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            also responsible for the direction of the institution, research,

            curriculum, etc.

                               --Is it Just Me?--

319.   ZM: I heard that almost no Black students has ever graduate from

            our Ph.D. program. That tells me that I am not the deciding

            factor here. Black students before me have fallen through the

            same crack. If we assume that Black students do not have

            inferior genes or culture, what else could have caused them

            to fail?

320.   PD: There is one black student who is more advanced than you,

            John Doe.

321.   ZM: I think he is African.

322.   PD: We are talking about whether our student body is diverse. It

            depends on how you define black. We have people of color.

323.   ZM: Yes, definitions are arbitrary. But, for historical justice

            reasons, I think it is important to distinguish people who

            come from Africa as foreigners, and descendants of slaves

            who lived in a system of oppression for three hundred years.

324.   PD: I agree completely. Nevertheless, when people discriminate,

            they discriminate based on skin color. If they discriminate

            against an African-American they would also discriminate

            against a Nigerian.

325.   ZM: I do not 100% agree.

            It would be fascinating to do a focus group of Black students

            who failed SIS before. Ask them: did you fail because you


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            were not interested or could not learn? Or because someone

            treated you in a way that discouraged you from studying? I

            do not think everyone is racist. It could be just one person

            doing it covertly, which would be hard to detect.

326.   PD: You d have to include the successful ones as well.

327.   ZM: Of course. Otherwise, the research would be biased.

328.   PD: Nevertheless, I cannot talk about individual students for

            privacy reasons. I can tell you that we are trying. Our goal is

            to recruit students who can pass the comprehensive exams.

            There are applicants who are not qualified to do so. We

            cannot admit them just because they are people of color,

            right?

329.   ZM: I am not saying you should.

330.   PD: I think if we include people from India and stuff like that,

            then our admissions numbers are reasonable. But, yes, in

            terms of domestic minority, the numbers are small and not

            representative.

331.   ZM: I believe, not having domestic minority is a form of injustice.

            It is also a disservice to students. For example, a Ph.D.

            student is a teaching assistant. An African student asked

            them whether the tribes in Africa are the same as tribes in

            the U.S. The teaching assistant said they did not know that

            there are tribes in the U.S. This deficit in world view hurts

            white students.




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332.   PD: From our program s point of view, admitting minority

            students is a risk. AU students used to be mostly from the

            upper-middle class. Minority students are more likely to fail

            the comprehensive exam because they are often first-

            generation student and of lower socio-economic status. The

            student body is more diverse now, but students from lower

            socio-economic classes do not have the same support system.

333.   ZM: I think there are other factors that contribute to minority

            students failing. For example, in my first semester here, no

            one wanted study with me until I made white friends.

            Research shows that this dynamic alone can have a huge

            impact on minority student success.

                         --Get Back To Work!--

334.   PD: I know you are considering withdrawing. Whether you are

            staying or leaving, you need to make the decision soon. I

            heard from faculty members that you have not been studying

            for weeks. Your comprehensive exam is in a few weeks.

335.        I see three options for you. First, withdraw. Second, resume

            studying and take the comprehensive exam as scheduled.

            Third, if you think what happened before is preventing you

            from studying, you can take a medical leave.

336.        I can tell you, to a Ph.D. admissions officer, withdrawing

            before the comprehensive exam will look better than failing

            and being dismissed. Failing raises questions.




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337.        If you continue not to study, I will have to conclude you are

            not making satisfactory academic progress under AU

            academic regulation, which will eventually result in

            dismissal.

338.   ZM: I do want a Ph.D. But, what the professor, the Dean and the

            President did makes me anxious and depressed. I cannot

            study like I used to. I first noticed the decline in the

            professor s class. It only became extremely bad after the Dean

            and the President decided to gaslight me as if I have the IQ of

            a 5-year-old.

339.        I feel humiliated since Dean Report makes it appear as if the

            professor did nothing wrong, which in turn makes it appear

            as if I was not being truthful.

340.        I have evidence that shows Dean Report is wrong. Students at

            the AU NAACP meeting agree that their complaints of

            discrimination, when they do make them in spite of fear of

            retaliation, never seem to be adequately addressed. This is a

            major problem that needs to be addressed because the Dean s

            office are unwilling or unable to.

341.        On top of that, not completing that policy analysis course on

            time has disrupted the program of study that SIS approved. I

            am now one year behind my cohort. I would have been a

            teaching assistant by now like them. I cannot stand hearing

            them going on about how exciting being a teaching assistant




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               is. It is all I have ever wanted. Being reminded why I cannot

               teach has been a daily punch to the gut.

342.           I am not randomly depressed; therapy or medicine will not

               cure the underlying cause - being treated like a second-class

               citizen. If that treatment does not depress me, it would

               actually mean there is something wrong with me.

343.      PD: Therapy will indeed not cure underlying conditions, but it

               may help you cope with it better, so that you can function

               and succeed despite everything.

                Section 3.   Only Write Down That You Are Sick

344. Mills needs to retake to second comprehensive exam that he failed. The

       Program Director has extended it once. [internal cite] He tells him that

       the retake must be within six months of the first attempt.

345. Five days before the scheduled retake, Mills writes to the Program

       Director to ask for an extension of two months. Here is a summary.

        I am reacting well after my psychiatrist changed my medications.
        Now that I am functional, I have read the Graduate Academic
        Regulations. One clause says that a student can request an exception
        to the six months limit based on a compelling rationale.
        I plan to argue that the investigation gaslighting me about the
        professor and the President gaslighting me about the investigation
        caused a prolonged mental inability to study. I could not study
        effectively for more than three or four weeks in the last six months. I
        did not write any practice essays or discuss with faculty about the
        comprehensive exam.

346. This is a summary of the Program Director s reply.

        I did not tell you about the exception because I did not think you have
        medical records, which is necessary. I will support the petition but I
        recommend that the petition only say that you suffer from mental
        health issues and had recent medication changes. Including all details

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      may complicate things and that a decision may come after the exam
      date.

347. Hours later, the Program Director writes with a slight correction: do

    not cite mental health reasons, just health reasons. He says there is no

    need to specify.

348. Mills is suspicious about why he should not cite the real reason for

    needing an exception. He does not reply that day.

349. The next day, at 8 AM on a Saturday, the Program Director writes, We

    can talk by phone today if you want to go over possible scenarios with

    the comps. He provides his personal cellphone number.

350. Mills replies at 1 PM. He asks, why does he need to show the Dean of

    Students mental health records but should not mention mental health

    issues in the petition?

351. The Program Director sends Mills three successive emails in half an

    hour requesting Mills call him instead of write, because email does not

    allow for an actual conversation.

352. Mills is in a store and does not immediately respond. Two hours later,

    the Program Director writes Mills. To summarize:

      You have the right to write whatever rationale you want. I cannot
      help you if you do not want my help. Unless I hear the petition is
      approved before the scheduled time, I will hold the exam as
      scheduled. If you feel that you cannot pass, you can withdraw before.

353. Mills calls the Program Director and his academic advisor that day.

    They explain that if Mills petition cites the faults of the professor and

    the investigation, the petition will likely not be approved, certainly not

    before the scheduled exam. Mills decides to follow their advice,



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    because it sounds like he cannot both write down racism in his

    educational records and graduate.

354. Mills tells them that AU health providers have a policy, practice and

    custom of not documenting medical conditions for his purpose, that

    they can only verify that Mills have seen the providers. They suggest

    that Mills submit old and new medicine bottles and statements from

    his friends about his inability to study. They say the statement should

    only mention a general health problem and not the causes of Mills

    problem.

355. The next day, Mills sends them a draft petition and offers to make any

    changes that will help the petition get timely approval.

356. The petition reads oddly:

      Over the past 13 months, I experienced a great decline in health due
      to a series of events which resulted in a dramatic diminishment in my
      ability to engage with academic work.

357. Mills asks his friends to write statements along the same line. The

    friends write that Mills tried but could not study and could not handle

    activities of daily living due to depression, anxiety, and panic attacks.

    As instructed, they omit what they know - that Mills was depressed due

    to the professor and the investigation.

358. On Monday morning, the Program Director writes Mills that he has

    contacted the decision makers, who will review the petition as soon as

    Mills send it. He asks Mills to copy the petition to the academic advisor

    and him. Mills petition is approved in less than 24 hours.

359. Mills studies for two months and passes the second comprehensive

    exam.


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360. Mills wants to advocate that SIS remove the professor s teaching

    privileges and remove him from the SIS Ph.D. Committee which

    determines the program s curriculum. Mills asks the Program Director

    about the procedure for doing so.

361. The Program Director agrees to tell Mills about the process in person.

    The meeting turns out very different from what Mills expected.

362. The Program Director accuses Mills of retaliating against the 808

    professor. He insinuates that Mills had made up confidential sources

    about the professor s racism and sexism. When Mills complains that

    other professors are distancing themselves from Mills, likely because

    the professor called Mills a race-baiter, he equates Mills so complaining

    with the professor talking about Mills.

363. After the meeting, Mills sees that the PD has retweeted an article by

    the director of AU Anti-Racism Center that contains an apt quote,

     silence is the heartbeat of racism. Mills tags the PD s Twitter account

    with the quote and without commenting. The PD is incensed. He writes

    Mills misinterpreted him about racism and therefore will never talk to

    Mills about anything other than academic progress in the future.

                         Section 4.   You Need Help

364. Just before the fall 2019 semester, Mills and the PD get into an email

    argument.

365. Mills needs money to pay rent in a week, but SIS is behind on releasing

    his student loan that pays for his living expenses.

366. Moreover, SIS delay in disbursement has made Mills plan to do two

    weeks of field research in Bolivia impossible.


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367. In spring 2019, Mills had written a proposal for SIS summer research

    grant, which is designed to help Ph.D. students develop their

    prospectus. Normally, Mills cohort should defend their prospectus by

    spring 2019, the end of their third academic year. The policy analysis

    course and the investigation delayed his progress. His plan is to defend

    by the end of the fall 2019.

368. The research trip was essential for Mills to develop a prospectus.

    Building on months of preliminary research he did for Bolivia s Coca

    planting policy, Mills proposed to research the cultural context that led

    to Bolivian s joint venture with Germany to mine lithium. The term of

    the joint venture was remarkably more equitable than typical terms for

    resource extraction in the Third World. To research a foreign cultural

    context, Mills proposed that it is essential to do scoping (make contacts

    in-country with government agencies, mining unions, and civil society

    groups active in mining issues) and snowball sampling (interviewing

    one subject and recruiting additional interview subjects from among

    the subject s acquaintances). It would be impossible to conduct this

    research over the Internet.

369. Mills was awarded 60% of what Mills needed. Yet, despite following up

    with the PD twice, SIS only disbursed the money in late July. It was as

    if SIS money did not move digitally. Mills included in the proposal that

    he plan to travel in late July. When he received the money, Mills could

    not afford to book airfare and hotel that always rises in the last

    minute. He could not delay the trip without missing the fall semester.




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370. Mills does not feel safe when he does not have rent for the next month.

       He asks the PD to address it. The discussion then expanded to

       registration for the next semester, academics plans and more. Here are

       vignettes of their email exchange around the time the fall semester

       starts.

                            --Where is My Money?--

371.       ZM: I have not received my living expense.

372.       PD: You must register before funding is released.

373.       ZM: I registered two weeks ago.

374.       PD: No, my assistant told me you did not.

375.       ZM: I did register two weeks ago. I need the money to pay rent in

                 a week. The recurring delay in disbursement is concerning. I

                 do not know of any other students summer research funding

                 was delayed. SIS had not given any explanation for a six-

                 week delay, which is disrespectful.

376.       PD: Your research grant was delayed because we had

                 miscommunications with SIS financial office. Several other

                 students grants are also delayed. Did you ask everyone

                 before making unfounded accusation of racism? The

                 financial office does not know the color of your skin. Not

                 everything is a conspiracy against you.

377.       ZM: I did not insinuate the delay in disbursement is racist or a

                 conspiracy. I wonder why you perceive I did.




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378.     PD: The grant was to help you advance towards the prospectus

              this summer. Did you go to Bolivia to do the preliminary

              research as stated in your proposal? I hope you did.

379.    ZM: I received the grant after I was supposed to be in Bolivia.

              How could I have gone to Bolivia?
                --Did You Fail Again? Because of Racism?--
380.     PD: Under normal academic regulations, you used all your quota

              for independent studies.      Regardless, I assume you the

              mandatory 809 Advanced Research Design course           in the

              spring. I do not know your GPA but you need to perform well

              and get your GPA to an acceptable level in the fall.

381.   Mills: I am offended that you assume that I failed the course and

              that I do not have an acceptable GPA. My 3.4+ GPA is well

              above the 3.0 threshold required by AU policy and my

              funding letter.

382.          Yes, I did fail the course. I want to put it in the context. I

              could not studying while coping with peer harassment and

              continued impact from the policy analysis course and the

              investigation.

383.          First, a classmate in the course told me in a Starbucks that I

              should go to another school to research racism if my strange

              perception of racism bothers me so much. I call this the go-

              back-to-Wakonda incident.




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384.        Second, a white student was spewing the N-word just to

            prove that he has the freedom to. A minority student of mine

            taped a video of that. She told me that AU was completely

            uninterested in the myriad death threats she was receiving

            as a result. Three white students were constantly scowling

            at her hijab and whispering about her. She was depressed

            and stopped coming to classes. All of her professors are

            white. None of them offered support. I did. I call this

            incident the NNN-Political-Correctness-Rebellion.

385.        Third, a cohort member inserted himself into a conversation

            I was having in the Ph.D. lounge. He ranted about how Prof.

            Malini Ranganathan s work and my interest in critical theory

            took away his agency as a white man. He slammed the door

            and left. He then came back to threaten me not to report him

            like how I supposedly always do. I call this the White-

            People-Are-Not-Free incident.

386.        No one at SIS thought these behaviors are inappropriate. SIS

            never did anything. That tells me that SIS does not welcome

            Black students, and we have no recourse for harassment.

387.        I do not appreciate that you imply that I failed because I am

            somehow not committed to studying and not because of

            racism. I did not get into SIS by being an under-achiever.

388.        You told me the President told you that she does not know of

            my situation with the investigation. I showed you the email

            where she says she does. Did you find that problematic? If I



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            have tenure and institutional power like you do, I would get

            to the bottom of these shenanigans.

389.        I can only handle so much racism. Every day, I wake up and

            realize I have to go somewhere where I am treated like a

            liar, an idiot, a N-Word, and as if I'm doomed to fail. It gives

            me racial trauma. It does not go away when you demand it. I

            will not take a medical leave because I see it as a you break

            it you buy it situation. I will not leave the program because

            I would be impoverished.

390.        I used my independent studies quota to complete the policy

            analysis course and retake the comprehensive exam

            necessitated by the professor and the investigation. I need

            more independent studies to develop a prospectus.

391.        I hope SIS will acknowledge that racism is real here and has

            impacted my study. You could have told me that no Black

            student graduates here when you told me I was admitted.

392.        SIS has broken me, severely indebted me, and now wants to

            get rid of me as if I'm a disposable subhuman who deserves

            nothing more. A decade of my hard work and determination

            goes to ruins. This proves to me this country hates Black

            people and that AU hates Black people.

393.   PD: I am well aware of the trauma you may have suffered from

            the policy analysis class and the investigation. We have

            given you every possible extension, retakes and independent

            studies under normal rules. But, in all of the independent



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                studies, you keep missing deadlines and not communicating

                with your faculty. You are wasting their time.

394.       PD: The normal expectation is that you should have defended

                your prospectus by the end of this summer.

395.            Going forward, I see four options. First, stay, but you must

                put maximum effort on your academics. Second, if you think

                your mental station is holding you back for whatever reason,

                you need to get accommodation from the Dean of Students,

                not me. Third, take a semester or two of medical leave; few

                Ph.D. students can graduate without being excited and

                deeply committed to their research; this time-out could

                allow you to think it through. Fourth, if you cannot commit

                to the program or research, staying in the program is a

                waste of time; I cannot promise anything, but we can look

                into whether we can give you a Master s degree.
   --Sorry For Wasting Your Time Because Racism Made Me Depressed--

396. Because the PD tells Mills that he has wasted his professor s time,

       Mills emails the professors that have agreed to serve on his

       dissertation committee. Here is a summary, spelling mistakes original.
        The PD told me I am a terrible person for not working with you over
        the past summer. I guess he does not care that I was suicidal and
        that the culmination off two years of racist harassment by professors
        and peers at at AU left me unable to function.
        [discuss go-back-to-Wakonda incident; NNN-Political-Correctness-
        Rebellion; White-People-Are-Not-Free] [internal cites]
        I won't be appologing to anyone for the PD, who enjoys telling me
        that, when I tell him about the policy analysis professor s problems



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      that the civil rights office found, I was retaliating against the
      professor.
      Lots of people ask why I don't leave AU. Well, I have no choice but to
      finish my PhD at AU since I'm a poor person and have paid for all my
      undergrad university with student loans. I was taking some here to
      make up for the poverty wage we make as TAs. Baking the lifetime
      Linus so couldn't even afford a master's degree from a state college.
      I'm also not going anywhere because I refuse to let some poor
      mental health and a menagerie of our of control White Supremacists
      on AUs campus get in the way of my final goal. It's really sad none of
      you met me the first year I was year before the racist people broke
      me. I was very fun and normal. People even thought I was smart
      where I'm from.
      If you still have some interest in being on my dissertation committee
      please reply to this email so I can try to set up a time for us to meet
      as a group. Just keep in mind I'll probably be depressive any time I'm
      in DC and AU, so if that's a deal breaker I'm completely ok with that.
      Good news, I'm going to a skrink who specializes race-based PTSD
      which is what they think is actually wrong with me.


397. One of the professors, Randolph Persaud, replies soon:
      Hello Zach,
      I received your email and ready it carefully. I have taken full
      cognizance of the contents and assure you of both my understanding
      and our willingness to provide any and all assistance you deem
      necessary. It would be tremendously helpful if you provide a detailed
      work plan, including progress on a dissertation topic. If the
      dissertation topic is already being written as a prospectus, then it
      would great to receive it. After going over what you send, we can
      then proceed to a meeting and take it from there. I am confident that
      Malini and Marcelo share the key points in this email.


398. Professor Ranganathan replies.
      Dear Zach,
      Apologies for the delay in responding to your email; it's been a busy
      start to the new semester. I think I speak for everyone when I say we
      are very concerned about your email. We want to make sure we are
      moving forward in a supportive way and that you are getting the
      help you need. You should know that as professors, we are best

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        qualified to advise you on your intellectual and professional
        trajectory. Like Randy, therefore, I would want to get a sense of
        where you are in the PhD process, and how soon you can deliver a
        draft prospectus to us. We can then meet to discuss your ideas and
        your timeline. You are also always welcome to sign up for my office
        hours at the link below.


399. Professor Bohrt also replies.
        I too read your email carefully and with much concern. I echo
        Randy s and Malini s words, and reassure you of our willingness to
        support you in developing your dissertation prospectus. As noted in
        the earlier messages, let us know your work plan for this semester,
        so we can discuss your ideas and timeline together.


400. Mills also sends a similar email to the Advanced Research Design

       professor:
        [The PD told me I am a terrible person for not working with you over
        the past summer.]
        I won t apologize for not doing anything for school this summer,
        since I was extremely suicidal at several points and, you know,
        trying to keep yourself alive is probably more important than
        answering email.
        Where I m from, we take debt very seriously. Please send me a bill
        detailing how much monetary compensation you feel you are entitled
        to for doing the two independent studies with me. I ll send a check to
        your AU mail ASAP.
        Sorry for being a complete waste of your time and a general
        disruption. I see now demanding full constitutional rights isn t
        popular.


401. On August 27, Tuesday, Mills and the PD continue to argue over email.

402.       PD: I have referred your report of new harassment incidents to

                SIS Associate Dean. I know you will tell me you do not want

                to file a complaint because AU is racist, but I do not have the




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            authority to investigate or act on the basis of your

            complaints.

403.   ZM: Would it be rational for me to file a complaint after the

            cover-up? [Recounting four apparent errors with the

            investigation: not interviewing Mills witnesses; President

            falsely tell the PD that she does not know about the botched

            investigation; failure to collect evidence; interpretation of

            syllabus;] [internal citations]

404.        You still cannot understand what happened to me and how it

            has affected me. I have been very poor this summer. Sorry

            racism had me suicidal half the summer and got in the way

            of meeting your reasonable demands.

405.        Where does the academic regulations address racial trauma?

            I was very excited about climate migration until the 808

            professor told me my ideas are terrible, that my research

            design was not science and people would barf in their

            jackets.

406.        I am not withdrawing or taking a time-out like five-years old

            in face of racist treatment. You call it wasting time. I call it

            allowing everyone in SIS to study the detrimental effects of

            racism on a Black PhD student up close. Plan on me shuffling

            around all semester in despair. I have a right to be someone

            who doesn't look happy or enthusiastic.

407.        I have so far only told a few people about the professor s

            name or details about his discrimination, the cover-up and



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                SIS leadership refusing to intervene. Now, I will make sure

                it become common knowledge in AU.

408.            You keep saying you are only doing your job within given

                parameters. That is the Nuremberg defense. I have brought

                our dispute to the attention of the SIS Associate Dean.

409.            People only react that way you have when something hits

                too close to home. Hence, I see you as untrustworthy to act

                as my program director since you are unable or unwilling to

                understand US racism. I will be asking my fellow PhD

                students to take part in a symbolic vote of no confidence

                against you to or an end to this impunity. I believe they this

                will be a year of transformational of justice in SIS.

410. The PD then disengages from the argument about the institutional

       racism. He tells Mills what he needs to tell Mills about course

       registration and tuition. He tells Mills [your academic advisor] was

       about to discuss [registration] with you that in the scheduled meeting

       today for which you did not show up. Mills had fallen asleep on

       medication.

                     Section 5.   So You Think You Can Protest

411. On Tuesday 8/27, Mills tells the PD that he will hold a vote-of-no-

       confidence against him. [internal cite]

412. For SIS Ph.D. students, Wednesdays afternoons are Ph.D. Time. In

       half of the weeks, students and faculty present their research; in the

       other half of the week, it is a community forum.



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413. Everyone in SIS will be at the Ph.D. time this week. The PD has

    announced a week before that their union representative and AU

    representative will discuss the new graduate student union at 2:30 PM.

    Attendance is required for student employees, which include most

    students in the program, including Mills.

414. Just when Mills is getting dressing for the meeting, MPD knocks on his

    door. MPD officers tells Mills someone has request them to do a

    welfare check on him.

415. Mills invites them into his apartment. According to MPD Officer Adam

    Sotelo, although he is a certified crisis intervention officer who

    regularly perform welfare checks, he thinks this particular request was

    peculiar. He therefore rushes over. The other MPD officer waits in the

    hallway as is customary practice for welfare checks.

416. Mills and Sotelo sit in Mills living room and talk. Things are going fine

       it is a normal, friendly conversation for at least ten minutes -- until

    two officers from AUPD show up.

417. The AUPD officers first meet the MPD officer in the hallway. The AUPD

    officers then enter Mills' apartment without Mills consent, along with

    the MPD officer in the hallway. The AUPD officers are aggressive and

    threatening. They kick Mills dog. They walk through the foyer and

    observe whether there are weapons or other contrabands in Mills

    bathroom, kitchen and bedroom.

418. Then, the AUPD officers yell at Mills and repeatedly demand to see his

    university-issued identification card. Mills is confused about why the

    AUPD officers are in his off-campus home.



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419. Despite some panic and chaos, Mills sits calmly with his hands in his

    lap. He asks the AUPD officers to leave his apartment several times.

    The AUPD officers ignore Mills repeated requests until Officer Sotelo

    shouts at the top of his lung for the AUPD officers to shut up. Officer

    Sotelo says that things are under control and that they can leave. The

    AUPD officers then leave.

                      Section 6.   Behind Enemy Lines

420. After the officer leave, Mills connects the dot - the AUPD officers came

    because he told the PDs about his plan to protest racism in SIS.

421. No one from SIS contacts Mills to explain what has led to the supposed

    welfare check - certainly not the people who supposedly are concerned

    for Mills welfare. No one explains why the supposed welfare check

    coincide with a public gathering, after Mills announces his plan to blow

    the whistle on racism in SIS. The silence is deafening.

422. The anonymous show of force sends a clear message to Mills - he is not

    to speak publicly about racism at school, or else.

423. That SIS can call on AUPD officers under false pretense terrifies Mills.

    As an insurance policy for if AU takes more extreme measures, Mills

    wants everyone to know what led to it. He emails all Ph.D. students

    that AUPD officers came to his apartment under suspicious

    circumstances and that the visit is connected to his complaints of

    racism in SIS and the PD.

424. He can no longer trust any administrator or professors in SIS. He hopes

    that the students will come to his aid.




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425. Several students immediately come to make sure Mills is OK. Some

     students visit SIS Dean to ask for an explanation. Mills does not know

     exactly what SIS Dean said, but students stop talking to Mills about the

     welfare check after the meeting.

426. Instead of an explanation for the welfare check, AU s first messages to

     Mills contain a warning - that his email to SIS students violated the AU

     mass communication policy and that he may be disciplined if he tries

     that again.

427. A helpful student points out that the policy only regulates listserve

     emails. Because Mills email is addressed to individual students, it did

     not violate the policy. The student explains that if Mills violated the

     policy, so did the PD and many other students who regularly do the

     same. Mills relays the information to AU, and AU never Mills

     threatened about it again.

428. Nevertheless, for his safety, Mills never tries to speak about racism on

     AU campus or communicate publicly with SIS students again. Mills is

     now operating behind enemy lines.

             Chapter D. Fall 2019

                         Section 1.     A helpful Dean

429. Prior to the welfare check, a helpful professor told Mills that the SIS

     Associate Dean is the supervisor of the PD and offered to alert her to

     the dispute between the PD and Mills.

430. Mills wrote the Associate Dean on Monday 8/26, asking her to

     intercede in his ongoing dispute with the PD as his supervisor. On

     8/27, Mills and the PD copied the Associate Dean on the emails


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    between them that led to the welfare check. Immediately after the

    welfare check, Mills wrote for the Associate Dean to ask what led to the

    welfare and whether the PD was involved.

431. The Associate Dean first replied late night 8/28. She profusely

    apologized for not replying earlier. She said she had been in back-to-

    back meetings during the last two working days and was very behind

    on reading emails.

432. After tense exchange with the PD and the welfare check, Mills felt

    relieved that the Associate Dean is friendly and understanding,

    especially because the Associate Dean is the PD s supervisor. When

    Mills wrote that he is interested in her new book and talk, She sent

    Mills ☺. Mills would refuse to talk to her when she was driving and

    remind her of the risk.

433. After Mills dispute with the PD, the Associate Dean tells Mills that the

    SIS leadership, ADOS, his academic advisor, her and some other people

    collectively decided that she will take over the PD s role to avoid a

    conflict of interest. She says she volunteered because she and Mills

    have an amicable working relationship and because more suitable

    professors are on leave. She says she does not know what caused Mills

    and the PD s relationship to break or the specifics of the welfare check.

434. Two weeks after the welfare check, on 9/9, she gives Mills a progress

    report. SIS Ph.D. Handbook says the PD will issue one progress report

    per year. This is the full text of the progress report.

      Dear Zach,




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  I m writing with two updates. First, until a suitable replacement can
  be found, I will serve in the role of Director of the PhD program for
  you.
  Second, I am updating your progress report for the PhD program. In
  July, PhD Director wrote to say that you were making sufficient
  progress. Two pieces of information require me to update your
  progress report. The first is that you did not finish the incomplete for
  [809 Advanced] Research Design seminar. The second is that you did
  not use your SIS research award to travel to Bolivia to conduct
  research. In light of these findings, I revise your current status to
  unsatisfactory progress.
  I very much want to see you succeed in our program. And, to get back
  on track, I am stipulating what you need to do this academic year to
  receive a satisfactory progress report. Failure to comply with these
  expectations will result in another unsatisfactory progress report and
  could be a reason for dismissal from the program.
  Fall 2019
  1. Assemble a dissertation committee and have it approved by the
     director [me in this case] and AU s dissertation council
  2. Complete the language requirement
  3. Complete Responsible Conduct of Research (RCR) online
     certificate
  4. Fully participate in and complete the [mandatory 809] Research
     Design Seminar with a passing grade per graduate regulations
  5. For your 898 [independent studies] credits you will make
     demonstrable progress on your prospectus. You do not need to
     have completed your prospectus, but I would like to see that you
     have:
           a. Identified the topic you want to study
           b. Familiarized yourself with the relevant literature(s) and
              the gaps therein (e.g. through an annotated bibliography)
           c. Formulate a potential research question for your
              dissertation
           d. Give some thought to the best methods for answering it
  Spring 2020 (if prospectus not completed)
  1. Fully participate in and complete 3 courses with a passing grade
     per graduate regulations

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      2. Defend prospectus by end of spring semester
      Please let me know if you have any concerns or questions.

435. Mills writes the Associate Dean about his concern.

      Thanks for sending this report along. I have one issue with the
      wording on the new progress report in regard to the summer funding.
      I received over a month late while I was supposed to be in Bolivia,
      which prevented flight and hotel accommodations from being made in
      advance at price-points feasible to my proposal's funding.
      Looking forward to getting back on track too... And coffee chats with
      you during the semester lol.

436. The Associate Dean replies.

      I understand. We can talk about how you can use the money going
      forward for next summer.
      In the meantime, make sure to love on your dog, hang out with people
      who are good to/for you, and enjoy the fall! We ll meet soon,

437. Even though she is the second-in-command at SIS, Mills feels

    comfortable sharing with the Associate Dean how the professor

    discriminated against him and how the Dean botched the investigation.

    He shares that he is upset and believe that the welfare check was

    instigated maliciously to silence him. He says other Ph.D. students had

    harassed him, and nothing was done. The Associate Dean says she

    agrees with Audre Lorde that Black people such as Mills have a right to

    be angry about racism and that anger is constructive in this context.

438. Mills has a good relationship with the 809 professor, in large part

    because she is one of the very few SIS professors who say they believe

    Mills account of racism in SIS.

439. However, ever since the welfare check, Mills feels the professor acts

    strange around him. The day after the welfare check, which is


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     Thursday, Mills writes her that someone at AU had lied to instigate the

     welfare check. Mills also asks her whether the class will convene next

     week. She never replied.

                     Section 2.   Bureaucratic Disability

440. Three weeks after the welfare check, on 09/18, AU Student Health

     Center diagnoses Mills with acute PTSD, mood disorder, and anxiety

     disorder.

441. Here is an excerpt of his psychiatrist s disability assessment.

      [diagnostic criteria and summary of observation]:
      When Zach first presented for a psychiatric assessment, he was
      anxious, overwhelmed, tearful, sad, agitated, and fearful, with signs
      of fatigue due to poor sleep. He had a traumatic experience that
      caused him anxiety, insomnia, tearfulness, trembling and avoidance
      of campus, classes and police officers. He was not able to focus on
      classwork or while in class. His apartment was dirty, and he
      expressed confusion as to how his apartment became so messy and
      why he wasn't able to maintain cleanliness like he usually does. This
      was concerning to me as it indicated a lack of insight into his illness
      and recent behaviors. This was also in the context of ongoing anxiety
      and mood changes that have affected his cognitive functioning,
      decision-making and communication with AU staff and professors in
      general, in a way that has been very uncharacteristic of him. This has
      resulted in a marked behavioral change for Zach. Because of his
      complex presentation, his diagnosis is not clear at this time which
      makes it harder to treat. There are numerous care reports filed by
      professors, AU staff and SHC regarding some concerning behaviors
      and how these are a marked change from his baseline last year.
      [Diagnosis, date of onset, present symptoms, duration, severity,
      impact on major life function, anticipated fluctuation of symptoms
      over time]:
      Diagnosis is PTSD, characterized by anger, agitation, insomnia,
      anxiety, moodiness, avoidance, re-experiencing through flashbacks
      and triggers. This directly related to his not attending classes due to
      avoidance of certain individuals who triggers his PTSD, makes him
      very anxious, causing panic attacks and high anxiety during which

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  time he cannot focus or make decisions. This has also affected his
  self-care, his appetite, his personal hygiene and care of his
  apartment, caring for and connecting with his dog, and socially
  withdrawing from friends and others on campus so that he is now
  isolated socially. His symptoms will fluctuate based on stress level
  and triggers and significantly impact his academic functioning due to
  missed classes and assignments.
  [Medical history relevant to current functioning]:
  He had a traumatic experience that has cause post traumatic stress
  disorder, affecting his focus, concentration, sleep, mood, anxiety,
  ability to leave the house and come to campus.
  [Treatment plan, medications, therapy, effects]:
  Currently we are meeting monthly for medication management. He is
  taking as needed medication for anxiety, and we are discussing
  medication for PTSD, but he is hesitant due to poor tolerance of
  previous medication that he has tried. His medication choices may be
  limited by poor tolerance. He is in weekly therapy as well.
  [symptoms impact on major life functions in educational and/or
  residential environment]:
  Social withdrawal, poor and at times conflictual interaction with
  others on campus, poor class attendance and assignments not being
  done, poor self-care resulting in poor diet and lack of sleep.
  The rationale for recommended accommodation(s) that is logically
  related to the functional limitation(s), based on evidence from the
  clinical evaluation[:]
  flexible attendance: PTSD can cause insomnia, making it difficult for
  him to attend classes due to fatigue and need for sleep during the day,
  as well as sedating effects of medications. He is also unable to attend
  classes at times due to avoidance of triggering individuals.
  extended deadlines: anxiety and mood changes can affect his ability
  to manage time for assignments and focus to get them done in time.
  note taking assistance: he has impaired focus and attention in class
  due to poor sleep and anxiety and this could help him stay caught up
  in class which will reduce his anxiety.
  Is the diagnosis chronic? If not, date of anticipated recovery: Yes,
  these are chronic, incurable illnesses.
  Date provider suggests reevaluation: [blank].


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442. AU refuses to explain to Mills what led to the welfare check. AU hid the

    evidence of its illegal welfare check and hostile educational

    environment since fall 2017. AU never asks what caused his

    disabilities. Mills knows AU is trying to cover-up the welfare check and

    other illegal actions.

443. On 10/1, Mills requests accommodation for his disabilities. He

    explained that his PTSD was preventing him from attending all classes

    and strictly follow assignment deadlines, especially in 809, which, like

    808, has half a dozen deadlines for each part of the final paper.

    Moreover, he has failed 809 in spring 2019. If he fails again, AU

    Graduate Academic Regulations and SIS Ph.D. Handbook requires his

    dismissal. He requests the accommodations that his AU psychiatrist

    recommended. He reports social anxiety, public speaking anxiety, panic

    attacks that prevent him from attending classes, inability to

    concentrate on reading and writing. He reports that

      People don't understand that I have been traumatized and expect me
      to function normally as if nothing has happened to me. It's super
      unfair and I'm very tired of it.

444. Mills does not write down the causes of his disabilities on the

    application, fearing that the disability service would as a result delay

    granting him accommodations that he needs as soon as possible. On

    10/1, in 809, [fact check] [he has already missed assignment 1 and 2;

    and 5 out of 15 classes], which accounts for 22% of his grade for the

    course. Every day he does not receive accommodation, he gets closer to

    losing 50% of the grade, which would disqualify him from applying for

    an Incomplete at the end of the semester.


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445. This disability adviser first introduced herself on 10/24. She does not

     explain the delay. He replies.

      I think at this point in the semester, I have already failed the class I
      needed these accommodations for. Very unfortunate that I could not
      get the help I needed in a timely manner. The PTSD I have also is
      making it very upsetting to fill out these complicated documents.

446. The adviser replies on 10/29.

      I m sorry to hear you re having a difficult time. While
      accommodations do not work retroactively, I would still welcome the
      opportunity to work with you for your courses going forward.

447. The Associate Dean told Mills that the accommodations are usually

     retroactive in her experience.

448. Mills thinks that the delay with the disability service is bureaucratic.

     However, one week, a student in Mills class has a concussion early in

     the week. She receives accommodation for flexible attendance and

     extended deadlines within the same week, even though her is expect to

     recovery that week. Unlike Mills, she has not protested the school.

449. It becomes clear that he would not receive accommodations in time

     that would allow him to pass the 809 or even qualify for Incomplete.

450. 11/1 is the last day Mills can withdraw from 809 without receiving a

     Failure in the class.

                    Section 3.   Long March for Evidence

451. Mills is determined to find out who instigated the welfare check. The

     instigators would have alleged that he needed a welfare check through

     the Office of the Dean of Students, which would then order AUPD to

     conduct a welfare check at his home.



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452. When Mills asks for documents, the Dean of Students (DOS) says the

    Assistant Dean of Students knows more about the welfare check than

    he does. The Assistant DOS tells Mills that he is on a two-week

    vacation. After he comes back, he says he will only provide hard copies

    of the relevant Care Reports in person. Despite not feeling safe on

    campus, Mills really wants the reports and go on campus. It has been

    two months since the welfare check when Mills obtains the reports.

453. The Assistant DOS tells Mills that he initiated welfare check based on

    three care reports received on 8/27. He says he wants to meet in

    person to convince Mills that he was acting within his job duties and

    meant no harm to Mills. Then, he shows Mills the care reports.

454. All three reports are based solely on Mills emails the day before the

    welfare check. The reporters did not submit those emails.

455. The PD reported as follows.

      I am Zach Mill s PhD Program director.
      In an emails to me today he mentioned that he is suicidal. Mostly
      referring to the near past but I m not sure if that is not the case today.

456. The PD s report reads like he was not sure what he wanted to happen.

    Was Mills imminently suicidal or not? He did not mention Mills was

    trying to get his rent and plan his semester. He did not mention the

    dispute between them, or that Mills planned to protest him. Is this kind

    of selective reporting ethical at all?

457. The SIS 809 professor reported as follows.

      The student reported to me via email this morning that he was not in
      contact with me this summer because he was extremely suicidal at
      several points this summer, which is why he could not communicate
      with me about his independent study.


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458. The 809 professor s report tries to be factual while withholding

    relevant information. She does not report that Mills was asking her

    about the course this upcoming semester. It is as if someone had

    demanded her to file something, but she did not want to be unethical.

459. The last report is from the former PD. It hurts Mills the most.

      Last night I received an email from a student (SIS PhD student). In
      the past this student has shared concerns with me about racism on
      campus directed against him. This latest email contains a sense of
      rage an anger. He talks about being a failure and having no future.
      His email also contains grammar and spelling issues that are
      uncharacteristic of past communications. I am worried about him and
      that he might harm himself or create disturbances on campus. He
      accuses a couple of people of being white supremacists and states
      that he will publicly accuse them because everyone needs to know
       the truth .
              Section 4.   An Academic Difference of Opinion

460. The former PD had the job for many years. When she went on a

    sabbatical, she picked the current PD to serve in her place temporarily.

    She came back in Mills first year; she then gave that role to the current

    PD a year later. She taught him during the first year and developed a

    close friendship.

461. The former PD is a liberal. After the election of former President

    Donald Trump, the former PD signed on an open letter to support Black

    students right to free speech in all forms and to condemn all forms of

    discrimination and bigotry.

462. Whenever Mills discussed racism within AU, the former PD would

    encourage Mills to exhibit agency - to act on his beliefs. She would

    encourage Mills to prove how racist AU is to AU. Mills therefore opened

    up to her about his thoughts about institutional racism.

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463. In 2017, there was a spate of anti-Black incidents on campus. The day

    after the first Black female student was elected as the student

    government president, three bananas were found hanging from nooses

    around campus marked with the name of her Black sorority,

    necessitating FBI investigation ; the year before, white male students

    threw a rotten banana at two Black female first-year students in their

    room ; someone put up ten confederate posters with cotton stalks

    stapled to them, after which SMB shed tears at a townhall, saying

    “The perpetrators of such acts, they want to divide and define us, but

    we cannot let that happen.    AU did not treat the 2016 incident as

    bias-motivated. None of the 2017 suspects were found.

464. To eliminate a persisting problem, AU hired star scholar Dr. Ibram X.

    Kendi to establish an Anti-Racism Center for AU. AUPD Chief held a

    security briefing for SIS because the Anti-Racism Center will be housed

    in a glassroom next to the SIS Ph.D. lounge. The former PD had not left

    the role then. She asked SIS Ph.D. students to discuss their security

    concerns during Ph.D. Time.

465. While Mills was in Arizona for his family emergency, he shared his

    thoughts about the security concerns with the former PD.

      I mentioned to you during my first semester how disturbing I find
      these incidents. They are shocking, distracting, and demoralizing. I
      have witnessed more terrible incidents in a little over a year at AU
      than racist things that I experienced during my entire life. I would




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  not be surprised if other Black students had similar experiences. I
  have tended to push these things to the back of my mind because they
  would monopolize my time.
  I read, in an email update on the confederate flag incident, that there
  were concerns over increasing the police presence on campus. To
  quote: Kendi cautioned that more police presence on campus could
  come at a cost. He described the need for balance, enabling people to
  feel safe without potentially burdensome security. Vice President of
  Campus Life Fanta Aw also noted the downside to having law
  enforcement inundate every corner of campus.
  I completely disagree with this mentality because it seems to assume
  either: A) all minorities dislike police, B) minorities are fearful of
  police, or C) police are not good in general. I think unarmed police
  are the best solution since guns are where most anxieties about police
  stem from.
  To be clear, my belief in the positive benefits of increased security on
  AU s campus does not stem from fear. It stems from common sense
  when there is a string of racist and terroristic incidents in one place
  in a 13 month period, there is an obvious problem. Standing together
  and denouncing racism during rallies will not fix what is clearly a
  lack of security on campus.
  This is not directed at you, but I would suggest that anyone who is
  concerned over security with the new anti-racist center being located
  next to the Ph.D. lounge should have been concerned over a year ago
  when: A) Black students had bananas thrown at them in their dorm
  rooms, B) the N word was written on dorm room doors, C) swastikas
  were drawn on white boards in classrooms on campus, and D)
  bananas were hung from nooses. The Confederate flag posters were
  just the latest occurrence of an obvious pattern. Enough is enough,
  literally.
  This problem is not particularly new and will almost certainly
  continue while impunity exists on campus. A visiting European Ph.D.
  student had asked me about all of this racist stuff after the banana-
  noose incident happened. I didn t say much except that it was sad to
  see and shocking. He he had researched AU before arriving and said
  he found several articles about race-based problems at AU. Now, if I
  would have done my due diligence like him, I am not sure that I
  would have picked AU. I m guessing many other Black people and
  minorities would and do make that decision often when thinking
  about attending AU.


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      As you may have noticed, I call these incidents terrorism. I believe
      that these actions by perpetrators are politically motivated and seek
      to intimidate mainly Black students and Jewish students into
      becoming silent on campus. Maybe the aim is even to drive these
      minority groups out of American University and to discourage future
      applications from minority students. These are political aims, mainly
      because if no Black or Jewish students go to AU, the pipeline that
      supplies the government and private sector with young professionals
      will cease to be as diverse. Is this not the aim of white supremacy and
      institutional racism? What happened to the student government
      president was also political the first black female in that position
      was severely intimidated in an attempt to silence her and remove her
      from what is technically a political position in the university. If I
      were her, I probably would have moved out of DC immediately
      because my life is very important to me. Maybe if the correct
      language, i.e. terrorism, was used to describe these incidents more
      proactive action would materialize.
      These are just my thoughts and opinions. I have enjoyed my time in
      SIS, have never had any problems personally, and see myself sticking
      it out until I have a PhD. I would ask that you not pass this email on
      to anyone since I wrote it to you specifically.

466. The former PD replied,

      I'm very sorry to hear about the family emergency. I hope everything
      resolves itself in the best possible way and will hold you and your
      family in my thoughts. Thank you as well for writingthis letter and
      writing it to me. I will not share it but will share the concerns
      (unattributed) when the opportunity arises. I don't know how to
      respond to your letter. To say I share many of your concerns is trivial
      because I can't really share them. My race allows me a degree of
      safety that you cannot have. I will investigate what security changes
      have taken place and are in the works and will report back.
      Once you return to SIS, can we talk when you are settled? I need
      some more guidance from you on these matters and also on your own
      agency in the process. Again, thanks for writing this to me. I'll also
      share with you a summary of the conversation that happenson
      Wednesday.

467. After Ph.D. Time, the former PD reported that,




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      Several people expressed concerns about security and especially
      added security for our area of the SIS building. One suggestion that
      everyone seemed to like, and which I am pursuing, is to have the PhD
      suite door clearly market as the PhD program. This is in the scheme
      of things a pretty trivial change.
      I want to follow up with you on your thoughts. But, of course, only
      when you have time and our prepared to do so. I know you are
      concentrating on family right now. If you find that your family
      responsibilities start to impact your performance in class, please let
      me know. We have options that let you be there for your family and
      I m happy to explain those to you.

468. Mills responded:

      On my phone so must be brief. Last two days have been intense to say
      the least. I'm hoping I'll have a better idea of what the mid to long
      term plan is for my mom, and maybe at that point we may have to
      discuss those options. Last week was good with school, but I have
      only been able to get 1 paper read this week which is bad. I'll respond
      in depth to your emails tomorrow after I Skype into class. Thanks for
      the replies!

469. The former PD replied.

      Contend with your mom and class. I should be your last priority right
      now!
      Please return the Plan of Study to me before Oct. 15 or let me know if
      other circumstances are likely to get in your way. Obviously, your
      family takes priority.. And if you want to chat about course selection,
      just email with a time that works for you.

470. Two weeks later, after his mother stabilized, Mills came back to D.C.

    and returned his Plan of Study for the next semester just in time.

471. The 808 professor had been complaining to the former PD that Mills

    did not reply to his 10/6 email since 10/6. The former PD told him that,

      I think he is currently struggling with multiple issues. Your email to
      him is quite clear. Give him a few more days and let s see if he
      responds.



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472. The professor replied that,

      I, too, have the impression that this isn't only about his mother's
      health. I will let you know if and when I hear back from him.

473. After she was sure Mills had handled his family emergency, the former

     PD let Mills know of the professor s complaint.

      [The 808 professor] has also reached out to me because he is
      concerned about your absences from his class.   Can you respond to
      his emails?

474. Mills replied:

      I wrote to [the 808 professor]. I stopped answering emails because it
      was really just too stressful. Just not possible to write papers and
      answer a ton of questions and emails while sitting in a hospital all
      day and having heart attack scares and taking care of my grandma's
      things since my mom does that normally.
      Also, I Skyped into one class so I only missed one. I am behind on a
      paper we are writing but only an anstract and methodology section
      has been due so far. I'm trying to catch up with everything this week
      while staying up to date with class reading for this week.

475. She responded:

      Thanks for the update. At some point, it would be great to know how
      you are. You ve been caring for other folks and piling on more stress
      to yourself. I DON T want to add to your list of things to do, but if
      you find you d like lunch or coffee sometime, just let me know.

476. When they finally met for coffee, Mills told the former PD he

     considered the proposal to distinguish the Ph.D. lounge from the Anti-

     Racist Center to be unethical and racist   a NIMBY approach to a public

     nuisance. She disagreed. She later invited Mills to eat falafel. She




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    confessed that she shared her and Mills view with her husband, who

    vehemently criticized her and the students view as racist.

477. The next semester, when Mills brought up his suspicions about the

    professor, she told Mills that the statements of the professor were

    inappropriate. She confessed to Mills that the professor was her friend,

    but he had said and did things such that she could no longer consider

    him a friend. She then referred Mills to the civil rights office. She

    volunteered to take over grading from the professor, to resolve a

    conflict of interest.

478. In February 2019, Mills shared with the former PD that he had a heated

    meeting with the current PD over finishing the policy analysis

    Incomplete. Mills complained that he has no idea how to write a policy

    analysis paper after taking the course. Mills complained that the PD did

    not think racism could have prevented Mills from studying.

479. The former PD replied:

      It is incorrect that no one cares about you and that everyone thinks
      your racism problem is fake. I have given you plenty of evidence
      that I care and plenty of evidence that I do not thinkyour problem is
      fake.

480. During the semester, Mills shared that a white peer had threw a public

    fit about Mills interest in critical race theory. [internal cite] She

    empathized with Mills. She said such events are likely to be repeated in

    in multiple forms for the rest of her life. She said she hopes there will

    be progress, that by the time her nieces and nephews are grown, such

    events will be extremely rare or non-existent.




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481. In April 2019, Mills submitted his policy analysis paper to her. After the

     professor trashed his climate migration policy analysis as barf-

     inducing and unscientific, Mills switched to a different topic informed

     by his personal experience with White Supremacy. With critical race

     theory as the primary theoretical lens, Mills theorized White

     Supremacy Internationalism as an essential policy driver in

     international politics.

482. The former PD fundamentally disagreed with Mills academic views.

483. As the starting point, Mills paper argues that Maduro s government

     represents the interest of non-white population, and that the

     opposition party represents the interest of the white population. Mills

     therefore infers a theoretical significance that the late 2010s exodus of

     refugees from South American countries, such as Venezuela and

     Columbia, are mostly white.

484. The former PD disagreed. She commented that she would assume that a

     quasi-marxist government would produce flight from the rich classes.

     She would expect those classes to be overwhelmingly white.

485. Mills wrote that it is a problem that White Supremacy within majority-

     white societies is not being recognized as such. The former PD said she

     does not understand Mills logic.

486. While the former PD conceded that the U.S. intervention in Venezuela

     internal politics is a violation of international law, she argued that the

     intervention is a continuation of Cold War realism behavior, rather

     than motivated by White Supremacy.




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487. Beyond her written comments, the former PD invited Mills to discuss in

    person over lunch. She said she would give him an A if he could

    convince her right there.

488. The former PD said Mills theoretical model captures a central dynamic

    of international politics. However, her core disagreement was with

    how Mills named his model: White Supremacy Internationalism. She

    proposed several different names that do not refer to racism for the

    same dynamic. Mills insisted that racism is the theoretical foundation

    of the paper.

489. The former PD then criticized Mills theory as making no innovation

    beyond Samuel Huntington s Clash of Civilizations. Mills explained that

    his main theoretical innovation was exactly that previous authors such

    as Huntington had deracialized and obscured the racial dynamic.

490. The former PD graded Mills paper as C+, in marked contrast with

    Mills grades in other courses, including hers. Mills respected her view.

    He realized that their ontological difference of opinion prevented them

    from agreeing on the issue.

491. Mills and the former PD did not speak for three months after their

    academic disagreement. Excluding group emails, she had written Mills

    178 emails in the two years prior, or about 2.8 emails per academic

    week. After their academic disagreement surfaced, she wrote Mills a

    total of two in the last two years Mills was there.

492. In early morning of 8/27/2019, the day before the welfare check, Mills

    was upset about the PD s email. Mills wanted to chat with the former

    PD. These are original emails of their conversation around that time.



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      8/27 7:15 AM
      [The PD said I wasted my professors time this summer]
      You said something like you don't recognize who wrote the policy
      paper you gave me a C or C- on. I don't either. I'm broken and have
      ruined my life. Going to work at McDonald's probably... Sorry to turn
      out to be such a failure. I really did try but I'm clearly too weak.
      Anyways, to the matter at hand. Where I'm from, we take debt very
      seriously. Please send me a bill detailing how much monetary
      compensation you feel you are entitled to for doing the independent
      study with me. I'll send a check to your AU mail ASAP or the dog park.

493. The former PD soon replied.

      8/27 8:27 AM
      Hi, Zach.
      First, with respect to compensation. Where I m from we also take it
      seriously but that means recognizing that compensation comes in
      many forms. I learned from working with you. I can monetize that
      but instead let s just call it even. OK? I didn t do anything for free.
      Not only did I learn some thing from working with you I value that
      learning.
      The much bigger issue is the second paragraph where you feel broken
      and that you ve ruined your life. I care very much about that
      paragraph. Can I brainstorm with you about options for moving
      forward that don t include McDonald s and that help you reclaim a
      feeling of control?

494. Mills replies.

      8/27 5:13 PM
      I guess that's ok, but I don't think I have other options because I
      wanted a degree. I've only ruined my life by not being a hardcore anti
      racist at AU over the last two years in response to AUs poison racial
      climate. As a response I think I developed race-based PTSD with
      disassociation. I found a specialist who deals with it but only woke up
      30min ago so didn't make an appointment.
      After coming across the psych literature I've begged [the PD] to read
      several times, which he won't because he doesn't give a fuck about
      me or anti black racism, I see that the agency high functioning Black
      students can exert is to embrace a radical Black identity.

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      I'm currently going around detailing what [the 808 professor] did
      and said to me specifically (which sickens mosy people), how the
      provost covered it up and told me Daniel is an anti-blakc racist but Im
      illiterateso that's the end of it, and how [the PD] plays the scientific
      racism game with me after telling me [the 808 professor] tells
      everyone my accusations are baseless I'm a just a vindictive lazy
      Black person. I've already talked with staging a vote of no confidence
      for [the PD], symbolic obviously because he is an unacceptable violent
      program director.
      White supremacists can do and do these things to me, but every PhD
      student, sis faculty member, Uber driver, and anyone on Twitter and
      Facebook will hear all about it daily. They can ignore me, but they
      can't stop the truth.

495. The former PD did not reply until the next morning.

      8/28 9:48 AM
      I am very concerned about you. Have you tried to see a therapist to
      discuss these feelings? Will you please do so? I am worried about
      you.

496. Mills:

      8/28 10:28 AM
      Are you free now? Meet at the park to talk? You'll long my dog even
      though you say you aren't a dog person!
      8/28 2:44 PM
      I'm home if you are in the area. We could grab a coffee in the lobby of
      my building and chat in the park?

497. The former PD did not reply.

498. Soon, as Mills was getting dressed for the Ph.D. Time, DCPD officers

     and the AUPD officers conducted the welfare check. [internal cite]

499. The night of the welfare check, Mills wrote the former PD again:

      Four cops just barged into my apartment... Interesting that the AUPD
      officers were extremely hostile and intimidating. So much so that the
      DCPD officers helped me remove them from my apartment. DCPD said
      they would testify to the suspiciousness of the report.


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        I'm now in fear of being murdered by white supremacist AU police
        officers. I'm not even safe from AU racism in my home.
        Funny, I was replying to your email in detail when they started
        pounding on my door.

500. The former PD never wrote to Mills again.

501. Mills was honest with the former PD about his mental health, how he

       was addressing racism, and his academic opinion because he trusted

       her as a personal friend. He sent her emails without proof-reading

       because she was a friend and because he was walking his dog.

502. Mills feels betrayed that the former PD would make him out to be a

       threat to campus safety. She knew exactly what Mills meant by White

       Supremacy - she graded his research about White Supremacy

       Internationalism. Yet, she painted Mills as a Black Identity Extremist

       who should be monitored for talking about White Supremacy and the

       truth . Even if the former PD hated his paper, that is not a reason for

       betraying his trust. It is beyond unethical to paint him as a violent

       criminal threat because he is angry about racism.

503. After the Assistant DOS gives Mills the care reports, Mills tries to tell

       the Assistant DOS that the reporters fabricated them to retaliate

       against him for trying to protest SIS.

504.       ZM: These care reports are not based in reality. They are

                 misrepresenting my emails.

505.    ADOS: Here is what I really want you to understand. I heard you

                 said these care reports were filed against you. Care




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               reports cannot be filed against somebody. They do not

               reflect negatively about you.

506.     ZM:   Rage and anger? They are impugning my integrity and

               how I conduct himself - making me out to be some mass

               shooter threatening the campus. These reports are

               malicious. They want to manipulate DOS and AUPD to

               intimidate me from speaking about racism publicly.

507.   ADOS: Hey, I would never problematize a Black person for being

               angry about racism.

               A care report is only a conduit for faculty to alert DOS to a

               student who may need support.

               A care report cannot be malicious even conceptually because

               it is not a complaint of student conduct code violation.

508.     ZM: What would you say is a malicious report?

509.   ADOS: A malicious report would be if someone accuses you of a

               crime you did not commit.

510.     ZM:   I m afraid he will create disturbances on campus ? Did you

               read my emails these reports are based on?

511.   ADOS: Uh     No. I do not. I know you disagree with how the

               reporters interpreted your emails. But, I just want to tell

               you, as a Black person who almost died twice at the hand of

               the police, I would never try to harm another Black person

               by calling the police.

512.     ZM: I don t know. I don t understand. Am I not being a good

               Black person?



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513.    ADOS: That is alarming to hear. I d hate that you think that. How

                 about we strategize about how you can graduate?

514.       ZM: I am meeting with the SIS Associate Dean next.

515.    ADOS: Great. Text her so she knows you are going. Really, tell her,

                 that you think graduation is your top priority. I ll leave a

                 question to think about: which is more productive for Mills,

                 graduation or holding faculty accountable for racism. Now,

                 you know you would need to work with faculty to graduate.

                             Section 5.    No Way Out

516. When ADOS gives Mills the Care Reports, Mills is shocked that the 809

       professor made one of the reports, which says that Mills email to her

       says he was extremely suicidal [internal cite]. Unlike the other two

       reports, her report did make clear that Mills said so to explain why he

       did not communicate about academics with her over the summer.

       However, she did not report that Mills also wanted to meet her to

       explain what happened during the summer and his plan to enroll in her

       class in the fall. She did not report that she believes Mills was troubled

       by racism at AU, nor that the apparent impetus of Mills email was a

       dispute with the PD which would have given context to the PD s care

       report. She did not report that other people had influenced her decision

       to file the Care Report.

517. Mills has told the Associate Dean that the disability services delay is

       preventing him from passing 809.

518. After obtaining the 809 professor s care report, Mills tells the SIS

       Associate Dean that he is extremely uncomfortable with taking 809


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       with the professor grading his work. However, only she teaches 809;

       she only teaches it in the fall; the next time she teaches 809 would be

       the fall of 2020.

519. Even if Mills can take the class, he needs to learn the content in the fall

       2020 809 before he can develop a prospectus by spring 2020, as the

       Associate Dean s progress report requires.

520. Here is an excerpt from the 809 syllabus about the role 809 serves in

       the Ph.D. curriculum.

        The purpose of this class is to enable doctoral students from the
        School of International Service to develop and complete a well-
        written, well-designed, and methodologically sound research
        proposal. This research proposal will form the basis for students
        dissertation prospectuses as well as funding proposals that most
        doctoral students submit during their tenure at SIS.

521. Mills asks the Associate Dean, given various AU regulations, is there a

       path that give him a chance at graduating. After all, she says she is the

       most suitable person to serve as program director for him.

522. What follows are vignettes of conversations and emails between Mills

       and The Associate Dean.

523.     CG:    I hope you are taking care of yourself.

524.     ZM:    I am. I tried but I just could not go to 809 Advanced

                Research Design. This morning, I saw a viral video on

                Twitter where AUPD dragged a Black female student out of

                her dorm with the Vice President for Campus Life and




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             Inclusive Excellence.   I had flashbacks of my incident. I

             sweated a lot.

525.         It reminds me, I had a run-in with one of the AUPD officers

             who came into my apartment. I was sitting in our building s

             atrium waiting for the class I teaches to begin. He came into

             my personal space from behind, stood there and stared at

             me for a whole minute. I am not sure if it is a coincidence,

             but I felt very threatened especially because DOS would not

             tell me the process for investigating my welfare check. I

             have been staying off campus as much as possible as a

             result.

526.         I read research that shows about 30% of people killed by the

             police have mental illness and that people with untreated

             mental illness are 16 times more likely to die in a police

             encounter. It really makes me think something terrible could

             have happened to me if the DC officers were not present -

             the AU officers were not there to help me.

527.         I know you probably cannot acknowledge what I said but I

             thought you should know.

528.   CG:   I wish I have a magic wand that can fix this stuff but I do

             not. I want to help you focused on your academics.




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529.   ZM:   Please do not interpret this as evidence of me being

             "suicidal" or "depressed" or being "a danger".

530.         I am considering withdrawing from the program. I just

             cannot see how I can fulfill the academic requirement in a

             racially hostile environment. I have experienced intense

             dehumanization since the 808 professor s class. I have lost

             my confidence, dignity, health, and happiness. Since I can no

             longer afford to go to another university, I will not even

             have a Master's degree at a different institution. The entry

             level job market for 30-year-olds with only a BA is very poor

             to say the least. I have essentially been economically

             enslaved for the rest of my life, because I made the mistake

             of attending AU as a Black American.

531.         You are asking me to fully participate in 809. Could you help

             me figure out how to do that given my PTSD, anxiety

             attacks, being followed on campus by AUPD, and AU

             disability service taking months to process my request for

             accommodation? My PTSD is only just getting better because

             I stayed off campus as much as possible. These are all issues

             that no one at AU acknowledges nor seems to be responsible

             for addressing. It is anti-Black impunity.

532.         Please do not take any of this personally. I value our

             professional relationship and wish we were interacting

             under more pleasant circumstances.




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533.   CG:   A lot of the things you are talking about are beyond my

             control. I stand ready to talk through options. You need to

             withdraw from 809 in a week. You cannot miss more than

             20% of the work and qualify for Incomplete. You failed 809

             once. If you fail it again, you will be immediately dismissed

             under AU academic rules. But, if you withdraw from 809 by

             11/1, you can take it again when it is offered next fall.

534.   ZM:   The disability service took 24 days to initiate contact for the

             accommodations I needed to pass 809. I found out that my

             student received the same accommodations within one

             week. I suspect that the delay is linked to my protests about

             AU s racism. Can the disability accommodations apply

             retroactively because the disability service caused the delay?

535.   CG:   Sorry, it is beyond my control.

536.         I know you are a good teacher. I know you are a good

             student. I was your professor in your first year and you

             handled it well. Maybe SIS is just not a good fit for you. You

             could withdraw and apply for another program. You want to

             research with critical theory. You do not want to use a

             positivist methodology or do international relations. If you

             will apply for another school, you should withdraw from SIS

             rather than be dismissed, because it looks better to

             admissions committees.

537.   ZM:   I do want to do international relations. I just want to use a

             non-positivist methodology. A senior SIS professor wrote



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             Conduct of Inquiry, which says it is perfectly scientific to do

             just that.

538.   CG:   Scientifically, you are correct. But the majority of SIS faculty

             are positivist. My friend, for example, would hate it here.

539.   ZM:   That does not mean that I have to be positivist. After all, SIS

             advertises itself as multi-disciplinary compared to other IR

             programs.

540.   CG:   Here is an example. My Ph.D. training was not in positivism.

             It took me a decade to be accepted here. SIS is the most

             multi-disciplinary of schools in IR but it is not a good fit for

             your research interest.

541.   ZM:   If SIS is the most multi-disciplinary, which IR school can I

             transfer to?

542.   CG:   You can switch to another field.

543.   ZM:   Do people switch field four years into a Ph.D. degree?

544.   CG:   Yes, SIS admits such students.

545.   ZM:   But I will not have enough money. Unlike other students

             here, I do not have a six-digits college fund or a spouse

             paying for everything. I am already at the lifetime limit for

             student loans.

546.   CG:   You can move to a small city. You could go to a Mexican

             school too. Why not? I would write you a letter of

             recommendation wherever you want to go.

547.   ZM:   If I leave the program, I am never getting a degree again.




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548.   CG:   Even if you get a Ph.D. degree, there is almost no tenure-

             track job available these days.

549.   ZM:   Anyways, my academic problem does not come from how SIS

             curriculum is designed, but from unending racism, from my

             PTSD and from the supposed welfare check. Where does AU

             and SIS regulation address these factors impacting my study

             progress?

550.   CG:   You will need to talk to the AU disability service. I cannot

             talk about the welfare check because I was not involved. I

             have never read the Care Reports. However, AU policy is

             that professors should liberally file Care Reports liberally

             even when they are not sure of the circumstances. AU faults

             professors if they fail to report something and yet harms

             result later.

551.   ZM:   But these Care Reports took my emails out of context. My

             emails said that I did not communicate over the summer

             because I was suicidal at some points, but I am ready to

             resume academic work now. Would you have filed a care

             report if a student told you something similar?

552.   CG:   I would have. I believe liberally filing care reports is the

             correct action. A psychologist told me I should, because I am

             not a mental health professional. In graduate school, I made

             care reports about a friend who is alcoholic. I often make

             care reports about my students. It is the right call.

553.   CG:   I can only discuss your academic progress with you.



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554.            I have been told that civil rights complaints are not my

                concern. If a student comes to me with civil rights

                complaints, all I can do is to refer it upstairs if it is serious.

                If it is not serious, I ask the student what would satisfy

                them. Some of them ask me to fire the professor, and I have

                to say, I do not have that kind of power. The best I can do is

                to get the professor to apologize.

555. The Associate Dean does not have an answer for Mills about how he

       can possibly graduate. She still requires Mills to defend his prospectus

       by spring 2020, even though he cannot take 809 again to learn how to

       develop a prospectus, or at least not until fall 2020.

556. Mills does not give up. He keeps asking around. By luck, an

       anthropology professor alerts Mills that to two facts: The Associate

       Dean is correct that AU Graduate Academic Regulations only allow a

       student to attempt a course twice;      and that a student must take 809

       to graduate. However, AU Graduate Academic Regulations also allows a

       student to substitute one course with another course that have similar

       content, with his program director s approval. Therefore, if the

       Associate Dean agrees, he can take a substitute class in spring 2020,

       which would teach Mills what he needs to defend the prospectus in the

       same semester. The professor says that every AU Ph.D. department has

       a similar Ph.D. research methods course that prepare students to




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    defend a prospectus. The anthropology happens to have one in spring

    2020.

557. When Mills tells the Associate Dean about this plan, the Associate Dean

    says she needs Mills to petition SIS Ph.D. Committee and justify why

    809 is unsuitable.

558. The Regulations do not require either. The Regulations say that the

    program director makes that decision alone; no other input is

    necessary. Nor does the program director need to consider whether the

    original course is unsuitable. Also, 809 is unsuitable because AU

    Graduate Academic Regulations would not allow Mills to take 809

    again.

559. Because the disability service s delay prevented Mills from passing 809,

    Mills writes the 809 professor to withdraw from 809.

      I am writing to inform you that I have withdrawn from your class. I'd
      feel rather uncomfortable interacting with you now after discovering
      that the AUPD "wellness check" I luckily managed to live through, the
      one where the AUPD gave me documented PTSD and assaulted my
      dog, was partially based on a care report you filed.
      At least your care report was reflective of the email I sent you; [the
      PD and former PD] literally fabricated accusations about me being
      enraged, unwarrantedly angry, delusional about racism in SIS, and a
      danger to campus security. It's deeply painful, to say the least, to be
      characterized as the stereotypical dangerous/scary Black man. No
      wonder the AUPD responded in such a violent manner. I'm very happy
      to be alive now since it's so common for Black Americans to be
      murdered by police during "wellness checks." Those fabrications




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      probably also explain why AUPD then followed me on campus
      multiple times.
      Just to add, I do have a legitimate right to be upset about the anti-
      Black behavior of students and faculty in SIS that has been directed at
      me - behavior that is immoral, illegal, and the antithesis of the
      "liberal values" espoused by so many in SIS. However, according to
      some parties within SIS, it is not acceptable for me to be upset about
      my program director attempting to explain my academic downturn as
      the result of my Black father not raising me... as opposed the various
      racist incidents I have cited.
      Please know I am not a dangerous person and harbor no ill feelings
      against you. I feel I must state that clearly in light of the fabrications
      that have been constructed to medicalize and criminalize me.

560. The 809 professor never replied. She never contacted Mills again.

561. On 12/9, the disability adviser finally gives him an accommodation

    memo. The memo gives Mills two accommodations for notetaking:

    allowing him to use laptop in class and to record lectures on his own,

    both of which he already can do.

562. Unlike other students who cannot attend class due to their disabilities,

    and despite the AU psychiatrist s recommendations, Mills is not

    immediately allowed the accommodation of flexible attendance,

    extended deadlines, and paid peer notetaker. The disability adviser

    tells Mills that he qualifies for flexible attendance and extended

    deadlines, but the disability service committee needs to meet and

    authorize the accommodations.

563. Mills gives the accommodation memo to the Associate Dean the next

    day.




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      Attached is the preliminary accommodations letter. [The disability
      service] gave me flexible attendance and assignment due dates as
      well, but the [disability service] committee has to finalize the
      approval of that.
      I find it very unfortunate that it took all semester to receive
      accomodations that would have helped me pass [809 Advanced
      Research Design] this semester. It is highly questionable as to why it
      took so long and why they are not retroactive considering my medical
      condition was documented in September. I find this situation highly
      unfair and want to make that very clear.

564. Two days later, the Associate Dean replies. She does not answer Mills

     question. Instead, she asks Mills to confirm that he has not fulfilled his

     progress report s requirement for the semester, including fully

     participate in and pass 809. If not, she that she will issue a progress

     report.

565. Mills replies.

      All that sounds about right. I'm surprised to hear I won't be kicked
      out this semester.

566. On 12/17, the Associate Dean issues her progress report.

      As you will recall, I advised you in late October that if you wanted to
      remain in the SIS PhD program you should consider dropping SIS 809
      before the final deadline to drop a course. The steps behind my
      reasoning were as follows. First, the course professor was not
      obligated to give you an incomplete grade because you had not
      completed any assignments in the course.
      Second, because AU s graduate regulations only allows students one
      opportunity to retake a course, you would have no path to complete a
      required degree course and as such would be subject to automatic
      dismissal from the program. During these discussions, you asked if
      you could petition to have the course replaced. Petitions to replace
      required courses in SIS are exceedingly rare, so I consulted Michael
      Keynes, Associate Dean of Graduate Studies. Dean Keynes approved
      your ability to petition for a replacement and I subsequently shared
      the process for putting together such a petition.


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      Given this context, I have revised the steps you must complete. The
      first step must be completed before the start of the spring semester
      (January 13, 2020).
1. Successfully petition for a substitute to the SIS Research Design course.
      Given that AU is closed from December 21, 2019 through January 1,
      2020, I urge you to submit this petition as soon as possible
      preferably before the university closes on the 21st of December so
      that I can convene a committee to review the petition shortly after
      the university reopens on the 2nd of January. Failure to complete this
      step before January 13th will result in automatic dismissal.
      If your petition is accepted, you must complete the following steps
      before the end of the spring semester (May 8, 2020).
       1. Fully participate in and complete the replacement for SIS
          Research Design with a passing grade per graduate regulations.
       2. Fully participate in and complete 2 other courses with a passing
          grade per graduate regulations
       3. Assemble a dissertation committee and have it approved by the
          director [me in this case] and AU s dissertation council
       4. Successfully defend prospectus by end of spring semester (May 8,
          2020).
      Failure to complete the four steps listed directly above by the end of
      the spring term (May 8, 2020) will result in automatic dismissal from
      the program.
      I truly want you to get back on academic track in our PhD program
      and I stand ready to assist you in any academic matters that arise.

567. It appears to Mills that, prior to the SIS Associate Dean consulting the

     Associate Dean of Graduate Studies on 10/31, the Associate Dean was

     advising Mills to withdraw from 809 [internal cite] under the thinking

     that, once Mills does so, Mills would have no path to complete a

     required degree course after having attempted the course twice and as

     such would be subject to automatic dismissal from the program . If

     this was her thinking, she was trying to make Mills fail. Fortunately,




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    Mills found out about the option of substitution   a path to complete a

    required degree course - two days before he withdrew from 809.

568. It is also possible that the Associate Dean assumed that Failure count as

    one attempt, and Withdraw does not count. If so, why was she advising

    Mills without referencing AU Graduate Academic Regulations, after

    telling Mills that she is the most suitable person for the role of program

    director for Mills? [Why did she not apologize for giving him bad

    advice?]

569. The SIS Associate Dean did let Mills know that if he withdraws from

    809 before 11/1, he can still keep his health insurance and student loan

    disbursement until the end of the fall 2019 semester.

570. On 12/19, after the due date for every assignment and every lecture in

    the semester, two days after the SIS Associate Dean gave Mills two

    deadlines which, if missed, Mills would be automatically dismissed, the

    disability advisor writes

      I am writing to inform you that your request for the opportunity to
      discuss extended deadlines and flexible attendance with professors
      due to disability-related flare-ups has been provisionally approved for
      Spring 2020.

571. The same disability adviser approved the accommodation for Mills

    student within the same week. For that student, the same disability

    adviser personally persuaded Mills supervising professor to grant the

    student extension of deadlines and flexible attendance without an

    accommodation memo. She asks Mills to persuade his professors.

572. Mills requested the accommodations of extended deadlines and flexible

    attendance on 10/1. Other than the meaningless laptop and recording


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    accommodations given on 12/9, the disability service committee needed

    to deliberate on the meaningful accommodations for 9 days between

    12/9 and 12/19. By coincidence, the SIS Associate Dean issued a

    progress report with tight deadlines that he cannot miss, two days

    before the accommodation allows him to ask her for extended

    deadlines.

573. Mills is very concerned about what role the Associate Dean will play in

    convening a committee to consider his substitution petition.

574. Mills writes to the Associate Dean.

      Does [the extended deadline accommodation I received] apply to the
      severe disruptions the current harassment I'm dealing with now? I
      refer to being threatened by a lawyer on behalf of [the 808 professor]
      and the already questionable provost office investigation of my
      FERPA violation[internal citation]? I had a PTSD attack on wed essay
      triggered by all this stress and thought I was having a heart attack.
      It's a very unhealthy situation for me.
      The burden of writing a petition to extract myself from the farce of
      institutionalized oppression is disgusting and I 100% object to this
      process. It's really messed up.

575. The Associate Dean never replies to this email.

576. Because the 808 professor has served on the Ph.D. Committee for

    years, Mills writes the SIS Associate Dean this email.

      I am worried there are other conflicted parties, but am not sure who
      they might be. It was suggested to me that [the 808 professor] goes
      around talking about me being a lazy vindictive Black person that
      makes things up because I can't cut it. So, anyone who was told that
      by him or anyone else probably shouldn't be making a decision for
      me.

577. The Associate Dean replies.




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      As best I can recall, no one on the committee has ever told me that
      Daniel said this about you to them. But, when I email the committee I
      will ask folks to recuse themselves if they have a conflict of interest.

578. Mills is hardly assured. He remembers how the PD persuaded him to

    deracialize and decontextualize his petition last year. To a reader who

    does know the context, that petition read illogical and false, as if Mills

    was asking for special treatment because he claims he has a mysterious

    disease with no known cure that inexplicably made studying

    impossible. He decides to tell the truth in this petition. He wants to

    write a petition that an ethical person would not reject, because he

    would be dismissed if his petition fails.

579. What follows is a summary of his petition.

Before I delve into official points, I want to preface that I reject the
legitimacy of the substitution process because AU and SIS regulations do
not address the toxic racial environment that continues to impact my
academics.
A legitimate process would consider multiple racists incidents I
experienced in AU and SIS, and how they affected my study. It would
consider how the toxic racial environment in SIS is exacerbating my
diagnosed race-based PTSD.
The content of 809 is not at issue. I simply wish to have no further
interaction with SIS, which has a culture of impunity for racist behaviors.
I do not have a problem with the 809 professor or think the substitute
course is better, but I want a professor who I do not know.
809 Syllabus says that social science requires researchers to work with one
another and offer each other constructive criticism. It is correct. However,
constructive criticism is impossible without mutual respect. Some SIS peers
have made it clear that they do not respect me. [internal cites to peer
harassments] I also do not respect people who support me privately and
share the injustices they see but will not take a stand for me. I am not
comfortable with receiving criticism from them.
If my petition is denied because my discussion of racism is irrelevant, so be
it. At least, I stood up for myself and did not help others to oppress me.


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The two courses are substitutable since they both start by covering
methodological considerations required to produce a defensible prospectus
for a PhD level dissertation and then move into reviewing a variety of
appropriate corresponding methods. The anthropology course is also more
consistent with my ontological views and expertise.
I would like to anticipate some counterarguments.
A counterargument is that the anthropology course would not teach me
necessary international relations research design. It is a moot argument. I
am no longer planning to seek tenure in an IR or political science
department because of my experience with racism at SIS. If I had known
that racism was endemic to the field of IR from the beginning,28 I would
have never considered a career in IR or attended SIS.
Not to disparate many decent people in SIS, I have a basis to believe that
the average anthropologist and people of color is more culturally
competent about race than people I have interacted in the past four years
in SIS. Cultural competency is made a curriculum in anthropology. The AU
anthropology department also employs more people of color. At the
University of Arizona and its department of anthropology, the students,
faculty and administrators never made my Blackness a problem. That is not
true at AU and SIS.
My PTSD comes from racists acts committed by SIS student and faculty. It
exacerbates as I am forced to interact with them. Releasing me from SIS
would be great for SIS too, since no one in SIS with any authority has an
iota of interest in dealing with the inexcusable racism present here. No one
will address a white student accusing me in SIS student lounge of robbing
him of his white agency, because my academic interest in critical race
theory, and threatening me not to report him. I find it comical that the very
people who ignore his behavior makes me out to be mentally ill or a Black
Identify Extremist. This is white supremacy - the subjugation of non-whites
to another set of discriminatory social rules.
The racial toxic environment in SIS is most visibly through my loss of
several international human rights, including the right to human dignity,
the freedom from torture, and the freedom of thought and word.
A) Human Dignity
I am constantly made to defend myself from racist perceptions of me being
dumb, lazy, and untruthful, and therefore unworthy of being in SIS. These




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are well established racist stereotypes of Black Americans that should not
be deployed in the 21st century by people who claim to oppose racism.
For example, when I independently came up with least-similar case
comparison, a professor told me it is not real science. I learned later that it
is scientific and that several SIS professors used it. The professor was
either parading their personal beliefs as reality or withholding knowledge
from me; either way, the professor made me feel dumb for thinking and
stunted my academic progress.
Another example is that I am asked to demonstrate why the substitute
course is suitable as if I do not understand scientific methodology. I do. I
read Conduct of Inquiry twice and probably understand ontology and
methodology better than most of my peers.
B) Psychological Torture via Gaslighting and Welfare Check
SIS faculty members engages in gaslighting when they pretend that I
imagine the racial incidents I have seen, heard or experienced. It is a well-
documented form of psychological torture.
Because I planned a non-violent political action against the PD for his racist
comments, two faculty members fabricated malicious lies that led AUPD
officers to illegally enter my home under the guise of welfare check . One
of them maliciously utilized anti-Black tropes of anger and violence and
cited my imagination of the truth about racism in SIS to portray me as a
Black Identity Extremist that threatens campus safety.
I have zero recourse to oppose the AU internal security apparatus. The
officers had no jurisdiction to operate in my off-campus home. No AU
administrator is willing to discuss the incident with me, investigate or
accept a formal complaint.
To reiterate a fact lost in SIS: it is not OK for white people fabricate to the
police such lies based on racist stereotypes because of a difference of
opinion; it is not OK to intimidate Black people into silence on racism; it is
not OK for white people to portray Black people as criminal and insane to
discredit their opposition to racism.
It is white terrorism to do so.
C) Right to Freedom of Thought and Word
The professor who discriminated against me just threatened me with
frivolous legal action because I refuse to participate in my own oppression:
to silence my thoughts about racism, to minimize he racism I experienced.
The frivolous lawsuit depends on my being a poor Black American unable to
afford fighting in the American legal system.


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To conclude, I leave you with excerpts from a peer-reviewed paper on what
predominantly white institutions demand and take from minorities here. I
ask you to ponder what norm your decision is establishing.
     People of color carry the burden of having to choose between tacitly
     participating in their marginalization or actively resisting racist
     ideologies with the possible consequence of institutional alienation,
     exclusion, or official reprimand. White institutional spaces inscribe
     white privilege and power in the very social institutions that people
     of color must actively engage in order to experience upward
     mobility education and employment. As a result of the additional
     burden of emotion work for people of color in these racialized
     institutions, and the need for people of color to sometimes choose an
     emotional strategy to not engage or challenge racial oppression in
     order to succeed in these spaces, the racialized relations of power are
     reproduced.
     While the strategic decision of people of color to disengage and not
     challenge micro-aggressions or structural racial inequities may
     facilitate this reproduction, these strategies also provide an
     important means for some people of color to successfully navigate
     white institutions and thereby benefit from the resources they offer.
     Evans, L., & Moore, W. (2015). Impossible Burdens: White
     Institutions, Emotional Labor, and Micro-Resistance. Social Problems,
     62(3), 439-454.
I am done with resisting the culture of impunity for racism in SIS and its
blowback on me. You can deny the petition, which will result in me being
dismissed for making unsatisfactory academic progress in a toxic racial
environment. Or, you can let me go study in the anthropology department
to learn in a peaceful and respectful environment.
If I am dismissed, I will never be able to afford a Masters or Ph.D. from
another institution. I have worked here for four years without even a
Masters degree to show for it. SIS admitted me without telling me about
the toxic racial environment here. Please consider that education is a
human right in your decision. I would like to think most of you oppose
racism, so I see no reason for you to ignore the extreme injustice I am
subjected to.
Be ethical and stop turning a blind eye.
Zachariah S. Mills




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P.S. Please feel free to delay your decision until you read an upcoming
investigative journal report of my experiences at AU if you do not believe
me.

580. The Associate Dean informs Mills that she approves the petition. She

    does not say whether she submitted the petition to a committee.

            Chapter E. Spring 2020

                     Section 1.       The Perpetual Victim

581. Three months later, on 2/27, the disability advisor added one

    accommodation for Mills, a non-retroactive opportunity to discuss

    extended deadlines and flexible attendance which required faculty

    agreement.

582. After the botched investigation, Mills heard that the 808 professor was

    publicizing that Mills was an incompetent and lazy student, who was

    race-baiting for special academic treatment. Several professors refused

    to engage with him for no apparent reason. One of those professors

    told him he was famous but refused to explain. [internal citation]

    When Mills asked the PD whether the professor told the PD the same

    thing, the PD could not deny it to Mills face.

583. Mills was very upset that the professor was portraying himself as the

    victim. It coincided with the rumor he heard about how the professor

    said he was the victim of an unstable woman s sexual harassment

    allegation. [internal citation]

584. Mills was especially upset that many people believed the professor.

    What special treatment did Mills get by making the complaint? The




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    former PD had taken over grading responsibility before he filed the

    complaint. AU delayed his retake of the second comprehensive exam

    even though he did not ask for it. Dean Report fixed his grade because

    it said the grade was wrong. The only thing special, that nobody else

    received, was a botched investigation.

585. Nevertheless, Mills did not want to become a stereotype of angry Black

    man. He did not need to interact with the professor anymore. He did

    not name the professor when he discussed the botched investigation at

    the AU NAACP meeting or on Facebook. Mills sent the professor one

    last email after the investigation and then avoided him like the plague.

586. Mills is more upset with the botched investigation and the welfare

    check than with the professor. There are plenty of openly racist people

    who have little power to endanger anyone. What is more dangerous are

    the professors and administrators who display Dr. Ibram X. Kendi s

    How to Be an Anti-Racist on their bookshelves while perverting legal

    process and manipulating the police. It is outrageous and disgusting.

    These people need to be exposed.

587. Once he has obtained the care reports, Mills shares the welfare check

    story with Inside Higher Ed., an industry journal.

588. The journal exercises exemplary standard of journalism.

589. To preserve professional relationship after publication, the journal let

    an intern journalist do all external contacts and signed on the story.

    She does an exemplary job. The journal thoroughly fact-checks the

    story for weeks. It asks to review far more documents - including




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    emails that led to the Care Reports - than those that are ultimately

    published.

590. The journal asks Mills to waive his privacy rights so that the school,

    other students, and implicated individuals could comment. It then

    independently interviews many students from SIS.

591. Mills requests the journal to omit the 809 professor s name because

    she might have filed her care report in good-faith. The journal refuses.

    Otherwise, Mills gives the journal free reign. Mills has not reviewed

    the story prior to publication.

592. In January 2020, the journal publishes When Perceptions Clash on its

    front page. SIS students and faculty widely read the story. The article

    asks whether the welfare check was a show of concern or a show of

    force[.]

593. It is another publicity disaster for AU. AU has long been troubled with

    negative publicity due to racial incidents on campus. [convert to

    citation][In AU s 2016 survey, 71 percent of white students agreed that

     I feel included on campus, while only 33 percent of Black students

    agreed. In 2017, a Black student was elected to the student

    government; she found banana hanging from nooses in her dorm. AU

    soon hired popular scholar Ibram X. Kendi to head a new Anti-Racism

    Center, housed in SIS, and well publicized the hire on TV. In 2019, a

    viral video showed a student using the N-word in the classroom.

    Months later, another viral video showed AUPD dragging a black

    student from her apartment and committed her to a hospital.] AU has

    just widely publicized its $121 million investment in a much-publicized



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    diversity strategic plan, which is President SMB s primary project at

    work. Curiously, most of that figure is the federal government s Pell

    Grants to poor students at AU, not AU s money.

594. AU is in full damage control mode. According to the article, AU refused

    to comment specifically about Mills, citing privacy law. Given that Mills

    had waived his privacy rights, AU must be citing the implicated

    individuals privacy rights.

595. AU says its welfare check policy is functioning as intended. AU also

    comments that the under-representation of Black students in Ph.D.

    programs is a nation-wide problem.

596. The implicated professors do not respond to request for comment,

    except the 808 professor, who Mills did not think was involved in the

    welfare check.

597. The article is primarily about whether the welfare check is proper. Out

    of about 300 lines, 170 lines discusses Mills welfare check, Mills

    planned protest leading up to it and the welfare check s impact on

    Mills. 65 lines discusses the underrepresentation of minority students

    at AU.

598. The article discusses the professor s course as the origin of subsequent

    events. It has 20 lines on the professor s class, in which a classmate

    confirmed that the professor had subjected Mills to a different

    standard. It has 35 lines on the botched investigation, 9 lines on the

    President justifying the investigation to Mills, and 16 lines on the

    professor s response.




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599. The former PD made an insightful comment about the professor, that

    he is extremely concerned whenever he is accused of racism.

600. Prior to publication, when the journal asked the professor for

    comment, Esser retained Bean kinney & Korman, P.C. s Maureen E.

    Carr, Esq. to threaten Mills with defamation litigation. The professor

    did not sue the journal for defamation.

601. The lawyer letter had a direct quote of Mills email to the former PD the

    day before the welfare check [internal citation]. Mills discussed his

    mental health in that email. As such, the email is protected under

    FERPA. The professor has no legitimate educational interest in

    accessing that email, unless threatening a student with bogus SLAPP

    suit is an educational interest. The former PD had broken the law and

    gave the professor the email.

602. The professor is far from the only person doing damage control.

603. Instead of commenting for the journal, the PD turns to a forum where

    he is in control. After publication, he soon emails all SIS Ph.D. students,

    except Mills.

      As I told you before, and Dean Chin told you as well, because of the
      student s privacy we cannot fully respond and answer all of these
      allegations. I do want to share with you the following:
      I think it is within my rights to say that all the allegations against me
      personally in the article are untrue.
      I want to assure you that the SIS PhD faculty, including those
      mentioned in the article, [former PD, 809 professor, 808 professor],
      and myself, will continue to treat all students fairly and without
      discrimination, as we have been doing previously.
      In filing the CARE reports in this case, me and the other professors
      followed AU s protocol, and we did so properly and with the student s
      well-being in mind. We have no influence (and frankly, we had no
      knowledge prior to this incidents) of what action is taken based on

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      these reports. We will continue to file CARE reports when needed.
      These are designed to help students in distress and the result of
      faculty being deterred from sending CARE reports when needed could
      be detrimental to our students. I encourage those of you who are
      teaching to do the same.
      Despite the picture presented in the article of a program riddled with
      discrimination, I am not aware of any specific complaints about
      discrimination in the program beside those related to Mr. Mills
      complains. If you have any such knowledge, please share them with
      me or with the Dean s office. We take complaints of discrimination
      seriously and AU investigates these complaints, as the university did
      in this case.
      Our program demands academic rigor and it is very challenging and
      often stressful, like many other PhD programs. Whenever students
      are facing difficulties, academic or otherwise, we are doing our best
      to help, to find solutions, and to support academic success. We will
      continue to do so for all of our students, without discrimination, and
      we will continue to work on improving all aspects of our program,
      diversity and inclusivity included. Any ideas that will help us do so
      are welcomed.
      Director, Doctoral Studies Program

604. The SIS Dean sends an email to all SIS students, including Mills

    undergraduate students.

      Dear SIS,
      An article in Inside Higher Ed was published today that casts our PhD
      program in a negative light. The article, while making clear that
      perceptions vary based on lived experience, reports allegations that
      faculty in the program have acted with racial bias and have fostered
      an environment that prohibits students of color from being
      successful. The article also includes accusations that mental wellness
      checks were used as retribution for a student s complaints. All of us
      should be thoughtful about drawing conclusions about complicated
      situations based on the information available in one article. I always
      want to address concerns openly; however, we do not disclose full
      details of incidents involving students because of privacy concerns.
      The university did work with the publication to make available all
      information that we were legally and ethically permitted to provide.



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      I want to emphasize that our PhD program s 57 students are all
      passionate about the theory and practice of international affairs and
      want to make contributions to the field and our understanding of it.
      As an alumna of the PhD program and a person of color who now
      leads the school, I am proud of the many accomplishments of our PhD
      program s students and faculty. I also acknowledge that our program,
      like so many others in higher education, still has work to do to
      become more inclusive of those who have been historically
      underrepresented. This is a long-term effort that has been underway
      for years. Recent curricular changes within the PhD program are one
      small, but important, step. Our efforts also include ongoing trainings
      for faculty and staff as well as professional development
      opportunities with our PhD students, many of whom will join the next
      generation of academics and will benefit from a greater awareness of
      how their own implicit biases may show up in their work.
      The goal of a diverse and inclusive intellectual community is worthy
      and, frankly, non-negotiable. In this endeavor, there is always work
      to be done and improvement to be made. Our commitment to building
      an inclusive and equitable community of learning remains strong, and
      we will continue our efforts to improve the climate in our school,
      including recruiting and retaining more faculty of color. We will all
      continue the hard work of building a community in which everyone
      can thrive.
      Sincerely,
      Dean, School of International Service

605. The Dean sends a separate email to SIS Ph.D. students.

      I want to let you know that I am available to speak with any of you,
      individually or as a group, in more detail if you wish.

606. These are not the only emails SIS Ph.D. students receive about the

    article. Soon after publication, a student informs Mills that four SIS

    Ph.D. students are widely circulating a self-styled counter-narrative

    in the Ph.D. program. The following is an excerpt.

      Throughout the article, ambiguous phrasing, such as multiple
      students or [e]very student in the program interviewed, fueled the
      impression that the perception of SIS as an institution riddled with
      racial discrimination was widely shared among students. In this

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  letter, we wish to challenge the notion that the narrative in the IHE
  article represents the prevailing consensus among doctoral students
  regarding the SIS PhD program and faculty.
  This letter is not intended to antagonize Mr. Mills or diminish the
  mental health issues he raises in the article. On the contrary, many of
  us can empathize with Mr. Mills having ourselves suffered through
  similar mental health issues in the past.
  However, those of us who have taken courses with these faculty
  members, worked with them as research assistants, and/or have
  these professors in our committees do question the accusations
  against them on the basis that they do not reflect our experience of
  these professors professionalism and dedication to students.
  The IHE article depicts our PhD program as a cauldron of racial
  hostility, where discrimination is systemic and students are afraid to
  lodge complaints for fear of retaliation by SIS faculty. From our
  collective experience, this has simply not been the case. To counter
  this perception, we would like to draw attention to the diverse
  composition of cohorts, core course syllabi that defy Western male
  dominated theorizing found in traditional international relations
  programs, close faculty and student collaborative ties in improving
  and making the program more inclusive, and faculty s fostering of
  intellectually stimulating and friendly classroom environments that
  are conducive towards the free flow of ideas.
  What is also lost in the IHE article is the compassion and commitment
  to our success that SIS faculty have shown us over the years. SIS
  faculty often go out of their way to write glowing letters of
  recommendation for us and in sharing their networks.
  Although we concur with the IHE article that inclusivity and greater
  representation of marginalized populations remains a formidable
  challenge at the doctoral level this is a structural problem that is
  not particular to our program. Doctoral programs are inherently
  exclusive and, unfortunately, the norm has been that those with more
  privileged socio-economic backgrounds tend to be overrepresented in
  PhD programs nationwide.
  In short, we find it regrettable that the IHE article failed to
  incorporate a more balanced and representative view of the SIS PhD
  program and faculty. We hope that this event will not deter faculty
  from continuing to uphold rigorous academic standards, respectfully
  challenging our views on often controversial topics, and initiating
  wellness checks when they have reason to fear for our safety.

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      [names of 4 authors, plus 9 signers, and 9 anonymous signers]

607. Along the line of the PD s and the 808 professor s comment[internal

    cite to FERPA section], the "counter-narrative" authors not-so-subtly

    implies that SIS did not discriminate against Mills. Rather, Mills is

    defaming SIS because he cannot handle faculty [] uphold rigorous

    academic standards, respectfully challenging our views on often

    controversial topics, and initiating wellness checks when they have

    reason to fear for our safety. It is not that Mills became depressed

    because of discrimination, or has PTSD because of the welfare check, it

    is because Mills has similar mental health issues     ourselves suffered

    through      in the past.

608. For Mills, it begs the question: how did the authors come to their

    conclusions about the 808 professor s discrimination and the welfare

    check? The authors and Mills never studied in the same classes,

    certainly not the 808 course. Mills has talked with each of the authors

    for at most 30 minutes total, in his lifetime. Did they draw their

    conclusion from core course syllabi that defy Western male dominated

    theorizing    close faculty and student collaborative ties and faculty s

    fostering of intellectually stimulating and friendly classroom

    environments ? Or was it from having these professors in our

    committees     SIS faculty [] go out of their way to write glowing letters

    of recommendation for us and in sharing their networks ?

609. The authors solicit signatures from all other Ph.D. students with the

    same emails. Here is an excerpt.

      On January 7th, Zach Mills went public with very serious accusations
      of racial discrimination against [the former PD, the PD, the 808

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      professor and the 809 professor]. An article was published in an
      online higher education magazine. Here is the link in case you have
      not read it yet: [].
      As you might imagine, we are all in a state of shock and the
      implicated professors have been emotionally scarred by this incident.
      In general, faculty morale is really low and there is palpable tension
      in the PhD lounge. Many are legitimately intimidated by Zach and
      don't want to speak out. Others support Zach and believe the
      accusations he has leveled against faculty and administrators.
      Some students have been more pro-active than others. Several
      students have sent op-eds to the editorial board of the online
      publication. I am part of a group of female students that are
      organizing a collective response. We have drafted a letter providing a
      counter-narrative and plan to send the letter to the SIS deans and
      faculty.
      I am sharing the open letter we plan to send SIS faculty and
      administrators in confidence - please do not share or discuss the
      contents of this email. We are reaching out to students and former
      students who we think might endorse this message.

610. The authors send the confidential email template about Mills

    intimidated many professors and students to one of the very few Black

    female Ph.D. graduates. Here is her reply.

      I am unfamiliar with the article that your letter mentions, and I'm
      also not sure why [an author], whom I don't think I know, suggested
      that I might be interested in joining your letter.
      First, I am the kind of person who believes strongly in getting
      involved in "internal institutional affairs" if there is a problem with
      those affairs. I chose not to do so at SIS in favor of political struggles
      that are more meaningful to me.
      Second, and most significantly, I experienced and witnessed racism
      and sexism at AU from SIS faculty. I believe it was a substantial
      problem while I was at SIS and that it is extremely unlikely that these
      problems - either related to specific individuals or systemic problems
      -- have been addressed.
      Neither institutionalized racism and sexism nor particular faculty
      practicing racism and sexism are a question of lack of "inclusivity and
      greater representation of marginalized populations," and just because

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      they are a problem at other universities doesn't mean that addressing
      them shouldn't be a priority of students, faculty, and administration
      at AU and SIS, specifically.
      Each of us have our experiences.
  Section 2.    Math Problem: What is the Likelihood that a Dog-Whistle is
                              Motivated by Race?

611. What is the probability that the professors implicated by the article did

    not improperly influence the authors to cast the first stone?

612. The article implicated three professors: the PD, the former PD and the

    808 professor. The former PD is on the dissertation committees of

    Authors A and B. The PD is on the dissertation committees of Authors B

    and C.     The 808 professor is not on a committee. Author D is not yet

    eligible to assemble a dissertation committee.

613. Given AU s customs and practice of prohibiting the appearance of

    conflict of interest, it is improper for the implicated professors to allow

    Authors A, B and C from retaliating against Mills via a racist dog-

    whistle Counter-Narrative.

614. As the 808 professor proudly told Mills, dissertation committee

    members have the power to derail a student s graduation. A committee

    decide by consensus; therefore, any one member can impede the

    student. A student can only change committee membership with




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    approvals from the program director and the University s Dissertation

    Council.

615. Setting the appearance of conflict of interest aside, how much does

    having an implicated professor on a student s dissertation committee

    increase the chance that the student volunteering to be an author?

616. We will take the authors at their words. The Counter-Narrative authors

    do not disclose that the implicated professors have spoken to them

    about the Counter-Narrative. We assume they did not.

617. The authors say they are volunteering for two reasons: (1) those of us

    who have taken courses with these faculty members, worked with

    them as research assistants, and/or have these professors in our

    [dissertation] committees do question the accusations against them

    on the basis that they do not reflect our experience of these professors

    professionalism and dedication to students. (2) our collective

    experience shows SIS is not a cauldron of racial hostility, where

    discrimination is systemic and students are afraid to lodge complaints

    for fear of retaliation by SIS faculty.

618. Every Ph.D. students have the same opportunities to have taken

    courses with these faculty members[.] Each of the implicated

    professors teaches a mandatory course. Every Ph.D. student therefore

    needs to interact with each of them for one semester, before they can

    assemble a dissertation committee. That is enough interaction for

    students to form an opinion about each implicated professor.




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619. Every Ph.D. student, except two domestic racial minorities including

    Mills, have the same opportunity to form a collective experience

    about whether racial discrimination is systemic in SIS.

620. We have no data on who the implicated professors successive research

    assistants are, except that Author B was the former PD s research

    assistant. We will disregard this factor for now.

621. We offer three alternative calculations and our assumptions.

We assume SIS admits 8 students per year. We assume, excluding 16
ineligible first and second year students and Mills who was mired in a
hostile environment and did not assemble a committee, 40 students are
eligible to assemble a dissertation committee. We assume the eligible
students choose three random professors to serve on their committee
immediately after they become eligible. Three professors are implicated in
the IHE article. Based on May 2022 SIS website and SIS Ph.D. Handbook, we
assume 77 full, associate and assistant professors are eligible to serve on a
committee. We further assume an implicated professor serving on a
student s committee has no causal impact on or correlation with the
likelihood of the student volunteering to author the Counter-Narrative.

622. Averaging:
                 3 𝑖𝑚𝑝𝑙𝑖𝑐𝑎𝑡𝑒𝑑 𝑝𝑟𝑜𝑓𝑒𝑠𝑠𝑜𝑟
                                          × 3 𝑟𝑎𝑛𝑑𝑜𝑚 𝑠𝑡𝑢𝑑𝑒𝑛𝑡𝑠
              40 𝑠𝑡𝑢𝑑𝑒𝑛𝑡𝑠 𝑤𝑖𝑡ℎ 𝑐𝑜𝑚𝑚𝑖𝑡𝑡𝑒𝑒
        = 0.225 𝑖𝑚𝑝𝑙𝑖𝑐𝑎𝑡𝑒𝑑 𝑝𝑟𝑜𝑓𝑒𝑠𝑠𝑜𝑟 𝑜𝑛 3 𝑟𝑎𝑛𝑑𝑜𝑚 𝑠𝑡𝑢𝑑𝑒𝑛𝑠 ′ 𝑐𝑜𝑚𝑚𝑖𝑡𝑡𝑒𝑒
On average, three random students should have 0.225 implicated
professors on their committees. The actual occurrence of implicated
professors on the 3 authors committees is 4, which is 4/0.025=17.78 times
greater than the average.

623. Probability:

The probability of a student having at least one of the three implicated
professors on the committee is one minus the probability of having none of
the three professors on the dissertation committee.
                                  74 73 72
                            1−(     ×  × ) = 11.38%
                                  77 76 75


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The probability of three random students all having at least one of the
three implicated professors on each of their committee is
                                11.38%3 = 0.147%

624. Combination:

For a random student, the number of different possible combinations of the
3-professor dissertation committee is
                     3        77!          77⋅76⋅75
                    𝐶77 = 3! ⋅ (77−3)! =          =73150 combinations
                                              6

For a random student with two implicated professors on their committee,
such as Author B, the number of different possible combinations of the 3-
professor dissertation committee is
                         3−2         75!
                        𝐶77−2 = 1!×74! = 75 combinations

For a random student with one implicated professor on their committee,
such as Authors A and C, the number of different possible combinations of
the 3-professor dissertation committee is
                        3−1         74!
                       𝐶77−1 = 2!×72! = 2701 combinations

The probability of three random students each have 2, 1 and 1 implicated

professors on their respective committees is
           75   2701   2701   21886203
              ×      ×      =             = 0.000139787%
         73150 73150 73150 15656799235000

To put it in perspective, the probability of being dealt a royal flush is

0.000153907% , slightly higher than the probability of the Counter-

Narrative authors are taking the initiative because they are satisfied with

SIS curriculum and with their classroom interactions with the professors

implicated in the article.

                        Section 3.         Professor Outlaw




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625. Mills only goes to campus because he loves teaching. Teaching

    undergraduate students is the only time of the week that he is happy

    he stops being a scary Black man, even just for one hour a week. It

    allows him something that he excels at and give him some confidence

    in his most difficult time. It allows him to get a taste at teaching, which

    was why he came to AU. That is, until all the professors, the deans and

    the provosts take it all away.

626. Mills excels as a teaching assistant. When his supervising professor

    sent him his student reviews for fall 2019, he was happy for the whole

    day (which was very rare). On a 1-7 Likert scale, 1 being the best, Mills

    consistently scored 2 across all performance indicators. The major

    themes of textual reviews were: extremely knowledgeable; great at

    inducing student discussion; listens to different opinions before

    presenting his take; thought-provoking; approachable; and thoroughly

    engaging ( BOMB powerpoints ). The glowing student evaluation

    would have greatly aided Mills in securing a tenure-track

    professorship, if he can graduate from the program.

627. Two of the dog-whistle Counter-Narrative authors and Mills are

    professorial teaching assistants for different sections of the same

    course. The teaching assistants meet every week for work. Mills does

    not know or ever commented about them.

628. After Mills notices the authors campaign telling every student that

    every student is legitimately intimidated by Mills, Mills feels extremely

    uncomfortable at work.




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629. It has only been 5 months since Mills was called an angry Black man

     for the first time in his life, by the former PD; now, the whole program

     has heard it, and half of the program do.   If the history of lynching and

     false conviction teaches Black people anything, it is that when a group

     of white women say an law-abiding Black man scare and disrespect

     them, [internal cite to former PD s testimony re female student saying

     so] the Black man should expediently extract himself, because that sort

     of proceedings has no relationship to reality.

630. One day, when Mills is sitting outside of his classroom, an AUPD officer

     stands two feet away behind Mills and observes him over his shoulder.

     His undergraduate students all notice that the officer is monitoring

     Mills behavior within his personal space. On another occasion, an

     AUPD officer stands outside of Mills classroom. The officer stares at

     Mills for a whole minute through a floor-to-ceiling glass wall.

631. At first, Mills keeps telling himself that it is a coincidence. But AUPD

     would not tell him whether anyone reported him as a threat again,

     whether they were following him around campus, or whether they are

     watching him from security camera. Of course, even if someone is




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    constantly telling AUPD that he is going berserk and needs to be put

    down (which is what all Black man do), AUPD would not tell him. If he

    is still white and not the Angry Black Man, he would have cussed the

    police out. But, he is trying to graduate, not getting shot on campus.

632. The unending and uncertain perception of threat messes up with Mills

    flight or fight response. He feels like a dog who cannot control its

    emotions. He tries to act calm and normal in public, even if he feels

    unsafe. When he goes home, he either lashes out or feels nothing. He

    does not like to sleep because it always means nightmares: going to the

    grocery store and getting arrested by AUPD; professors telling him his

    ideas make them barf; when he opens his mouths and tries to speak to

    the deans, no voice comes out, but he is yelling in his bed, asleep. He

    feels more tired than before going to bed. He falls off his bed. He starts

    smoking. He stops recycling      because why save the world and your

    health when the world is evil?

                      Section 4.     Action and Reaction

      By what standard of morality can the violence used by a slave to
      break his chains be considered the same as the violence of a slave
      master?

                                   -Walter Rodney

633. The dog-whistle Counter-Narrative, the professor s frivolous legal

    threat, and the professor s and the former PD s violation of his FERPA

    rights are the last straw for Mills.

634. For racist abusers such as the 808 professor, Mills realizes that the

    proper, safest response is to demonstrate strong boundary as early as

    possible. Mills regrets excusing the professor singling him out as a lazy

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     or incompetent student the first day they met. He should have drawn a

     line in the sand on the first day. Had Mills taken the inappropriate

     comment seriously, condemned and reported it, it would have deterred

     the professor from creeping into more damaging behaviors, such as

     withholding the option to write a non-policy analysis paper. In IR

     language, this is called brinksmanship - forcing a conflict to the

     threshold of confrontation to gain an advantageous negotiation

     position. Mills substitution petition worked because he did not hold

     back.

635. Given that the professor gave him a legal letter, Mills thinks that a

     strongly worded legal threats is called for.

636. Given the professor broke FERPA and the Civil Rights Act, and Mills has

     no plan to break the law, Mills chooses to insult the professor.

     Insulting the professor is an acceptable risk.

637. First, the law and AU Policy says a single insult cannot be considered a

     violation. According to AU s policy, the perceived offensiveness of a

     single verbal or written expression, standing alone, is typically not

     sufficient to constitute a violation.

638. Second, Mills recalls that AU does not take insults seriously. When

     Mills reported the White-People-Are-Not-Free incident, the NNN-

     Political-Correctness-Rebellion incident, and the go-back-to-Wakonda

     incident, AU bent the rules to not even investigate.

639. Third, judging from the Dean Report, as long as Mills can insult the

     professor while plausibly deny an intention to do so, AU would not do

     anything. The professor denied that his singling Mills out had anything



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     to do with Mills race and ethnicity, and AU accepted his innocence at

     his words.

640. Therefore, Mills sends the professor the following email.

      I demand that you immediately stop having your acolytes harass me
      as a form of retaliation for complaining about your anti-Black racism.
      I demand that you immediately stop sending your lawyer FERPA
      protected emails that you have illegally obtained from SIS faculty. I
      demand that your lawyer stop harassing me and triggering my PTSD
      or I will sue you for 5 million dollars and enslave you like the Black
      people you hate so much.
      Fuck off back to Nazi Germany you piece of shit fucking shit. All I can
      say is that if you've been emotionally traumatized by anything that's
      happened, maybe you will have finally learned that you should treat
      Black people with respect instead of like subhumans.

641. Mills can plausibly deny that his referencing Nazi Germany is due to

     the professor s country of origin, modern Germany. Nazi is a common

     colloquial American insult for abusive and oppressive and/or racists.

     Modern Germany has nothing to do with Nazi Germany, which, in

     2020, is an imaginary place. Telling such people to fuck off back to

     Nazi Germany is fully in line with American social rules that applaud

     self-defense and hatred for racists.

642. As for piece of shit fucking shit[,] it is a reference to the professor s

     telling the class on the first day that all German are enthusiastic about

     scatology. If the professor can say that about all Germans, then Mills

     can make fun of him for making fun of all Germans.

643. After five days, and after threatening AU with litigation, the same

     lawyer of the professor s ghost-wrote a student conduct complaint

     against Mills. The lawyer claimed that Mills Nazi insult is related to

     the professor s country of origin, modern German, that it coincides


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     with the rumor in the 2018 botched investigation that he told students

     that his ancestors were in the Nazi party. His lawyer claims that, in

     modern Germany, calling someone a Nazi is a jailable criminal offense.

     His lawyer claims, by extension of that German law, that AU

     Discrimination Policy and American discrimination law should consider

     a German being called a Nazi an automatic discriminatory harassment.

     His lawyer also claims that Mills has been telling everyone he is a

     racist since the botched investigation, and that it is national-origin

     harassment because the Dean Report held that his actions were not

     severe enough to violate Discrimination Policy.

644. Other than ethnically motivated harassment, the professor is also

     accusing Mills of endangering his safety, misrepresentation, possessing

     or using false information, disorderly conduct, and retaliation for the

     2018 investigation.

645. The professor s lawyer s arguments makes no sense.

646. Mills has never made a threat to anyone s physical safety. The

     professor presents no evidence of it.

647. Mills is not being a reverse-racist because Mills did not say that all

     Germans are Nazi, merely that the professor is a Nazi, or an oppressive

     racist. There is no social rule that a German who behaves like a Nazi is

     somehow exempt from being insulted as Nazi. AU policy and American

     law only forbids unwarranted insult, but the professor s behaviors give

     Mills a just reason to humiliate him in self-defense, which American

     discrimination law calls protected activity.




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648. Moreover, according to German state-media DW, calling someone a

    Nazi is not a jailable offense    especially if it political, polemical, or

    satire, rather than factual.     DW explains that the closest criminal

    offence is slander, under paragraph 185 of the German penal code,

    which only prohibits an insulting statement if it is heard by a third

    party.

649. Even if it is legal in Germany, there is no reason that an American

    should be subjected to German law or social rules in an American

    jurisdiction, not when the German foreigner is not respecting American

    social rules about racism. Otherwise, the U.S. would need to enforce

    every supposed foreign social rule for every foreigner here.

650. Mills calling the professor a Nazi is at most comparable to the

    professor singling him out as a bad student in class, which Dean Report

    said is not severe enough to violate AU Discrimination Policy. The

    professor is an adult who refuse to go to work because Mills told him

    what he is in an email. Mills went to work the day he received the

    botched Dean Report, after AUPD invaded his home and followed him

    around on campus.

651. With regard to Mills discussing the Dean Report, first, Mills never said

    the Dean Report held the professor responsible under AU policy.

    Second, whatever the Dean Report says, Mills has the freedom to

    dissent from a botched report. Third, the Dean Report says the

    professor committed racial microaggressions that made Mills

    extremely uncomfortable.




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652. AU and the professor knew that whatever Mills said about the Dean

     Report could not support a conduct charge. Immediately after Mills

     received the Dean Report, Mills told the professor he will publicize the

     cover-up. The professor immediately reported Mills for conduct

     violation. But neither the Office of the Dean of Students nor the Office

     of the Provost would take his complaint. No one contacted Mills about

     the professor s complaint. Mills only found out that this happened

     years later from his FERPA records request.

653. These are exactly the defense Mills give to AU.

654. It is a miscalculation. Mills is not considering that AU, the former PD,

     the PD and a host of deans, directors and provosts hate his guts for the

     Inside Higher Ed. article; that his questioning of the 2018 cover-up

     threatens the President and the Civil Rights Provost s professional

     reputation; that his questioning of the 2019 welfare check threatens

     the Office of the Dean of Students and the responsible professors job.

655. Mills is not considering how the implicated individuals have

     anticipated the risk he would pose and concluded that they share an

     interest in getting rid of Mills.

656. Most of all, Mills is not considering that they have broken the law and

     are willing to break the law again to conceal their improprieties once

     and for all.

657. Mills insult gives Mills enemies an opening to get rid of Mills.

658. However, AU can care less about Mills defense. It made secret plans to

     rid itself of Mills before Mills insult. Mills insult only gave AU an

     opening to accelerates its plans. Stafford



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659. When the professor files the complaint, Mills is trapped in a fog of war.

     He lacks experience with AU s tactics and does not know that he has a

     viable path to defend himself and avoid dismissal. By the time Mills

     figures out the full extent of AU s plans and found the evidence that AU

     hid that he needed, it was already too late.

                         Section 5.   Internal Affairs

660. While the Office of Dean of Student is investigating Mills for insulting

     the 808 professor, Mills has alleged to AU that he was being retaliated

     against through a) the welfare check; b) the former PD leaking his

     FERPA email to the 808 professor; c) dog-whistle Counter-Narrative

     authors.

661. The welfare check presents a problem     too many employees across too

     many offices know too many things.

662. SIS leadership had frenziedly portrayed Mills as an active violent and

     insane threat who needed a welfare check and a criminal investigation.

     The purpose is to intimidate Mills from protesting SIS to its students.

     The Office of Dean of Students also went along with SIS, after Deputy

     Provost intervened. The entire leadership of the Office of the Dean of

     Students know and have documentary evidence of what SIS did. The

     office cannot legally destroy the evidence. If they investigate the

     professor s complaint, the truth may come out.

663. AU needed to segregate information, and to establish nominally

     independent work processes for each of the four investigations, even

     though its Discrimination Policy asks for eliminating duplicated effort.




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664. AU s brilliant solution is to a) limit the most important investigation

     (welfare check) to one person AU trusts the most for internal affairs

     the Deputy Provost, who is about to leave for a new job in Colorado; b)

     outsource the 808 professor s retaliatory complaint to maintain an

     appearance of neutrality.

665. The hit job goes to a professional outfit - D. Stafford and Associate - the

     premier higher education consulting firm specializing in compliance

     and misconduct response and investigation. For the right price, it will

     provide a school with fair, thorough, and impartial investigations that

     promise to rescue a school from actual or perceived conflict of interest

     in their internal investigation process. References from prior happy

     customers are available upon request.

                Section 6.    Dog-Whistle Counter-Narrative

666. An investigation into dog-whistle Counter-Narrative authors would

     have revealed that the former PD, the PD and the 808 professor were

     encouraging the authors to create hostile racial environment for Mills.

667. Mills was intimidated from pursing the complaint for several reasons.

668. First, AU was not playing by its own policy. AU Discrimination Policy

     designate one official to handle each type of complaint. Mills was

     making a non-Title IX discrimination complaints [] against

     students[,] the Designated Official for which is Dean of Students.

669. Yet, AU decided to task the investigation to the Designated Official for

     [Resolving] Title IX complaints filed against students[.] Mills was not

     making a sex discrimination claim. The official acted as if he cannot

     understand that Mills was not making a sex discrimination claim.


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670. Second, the official is coincidentally a partner at a top national law

     firm, coincidentally moonshining for Mills case.

671. Third, even though Mills gave him a detailed written complaint, the

     partner acted as if he needed Mills support to know what to

     investigate. Mills knows the trick      Deputy Provost and the Investigator

     especially likes to pretend to investigate, as we explain below. An

     investigation will always turn up nothing, as long as the investigator is

     willing to pretend to be bad at the job: cannot understand the

     allegations, cannot understand the evidence found, do not know to ask

     follow-up questions, etc. It is a relative safe trick too   can the court

     really blame an investigator for being incompetent? Mills does not

     allocate time to play this game with another lawyer, because he has

     disability, and have other investigations to deal with.

                         Section 7.    FERPA Violation

672. AU needs to impede the investigation into the former PD giving Mills

     FERPA protected email to the 808 professor. The investigation would

     have established that the former PD was retaliating against Mills by

     feeding private information to the 808 professor, who was perfectly

     willing to serve this purpose.

673. AU Deputy Provost and Dean of Faculty is responsible for the

     investigation, with assistance from the Faculty Relations Investigator.

674. Mills has alleged that, because the 808 professor s lawyer wrote Mills a

     cease and desist letter that included a direct quote of a sentence from

     Mills 8/27 email to the former PD, it is likely that the former PD gave

     the email to the 808 professor. Because the email contained his mental


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    health and academic information, the former PD and the 808 professor

    both violated FERPA and AU s FERPA policy.

675. The 808 professor had admitted to AUPD that the former PD broke

    privacy rules by even talking about the email with him. He was just

    surprised that the former PD believed that the threat to his safety was

    so great that breaking privacy was warranted.

676. For what she calls a thorough investigation, the Deputy Provost and the

    Investigator does not interview or collect evidence from either the

    former PD and the 808 professor.

677. Instead, she concludes that no FERPA violation had occurred for three

    reasons.

      First, the Cease and Desist Letter contains no mental health or
      academic information. Instead, it relates to allegations you had made
      to [the former PD] about [the 808 professor]'s behavior and how he
      performed his duties as a faculty member.
      Second, [the former PD] disclosed the allegations to [the 808
      professor] based on a legitimate educational interest, which is an
      exception to the Confidentiality Policy. See Confidentiality Policy
      'I/IV, p. 3. This exception applies because [the former PD] determined
      that [the 808 professor] needed to know about serious complaints
      related to how he performed his duties.
      Third and finally, a transient email like this is not protected by the
      Confidentiality Policy's definition of student education records
      because individual emails are not "maintained" by the University and
      therefore not protected by the Confidentiality Policy.

678. To summarize, the Deputy Provost and the Investigator conclude that,

    first, because the sentence directly quoted in the cease and desist did

    not contain mental health and academic information, it is not a

    violation of FERPA for the former PD to give the 808 professor the

    email that contains Mills mental health and academic information.

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     Also, the former PD supervises how the 808 professor performed his

     duties as a faculty member , even though the former PD was nominally

     not his supervisor. Based on the position AU has taken here, we allege

     that the former PD is a supervisor, such that AU is responsible for her

     actions.

679. Second, even though the 808 professor no longer teaches Mills after

     summer 2018, he still have a legitimate educational interest in

     knowing what protected activities Mills were engaging in in opposing

     his discrimination in August 2019.

680. Third, although AU pays Google for commercial email service, Google is

     not AU s agent; therefore, AU is not maintaining the emails; Google is.

     Also, although modern emails can exist into perpetuity, they are

     nevertheless transient.

681. This sort of legal garbage is an insult to Mills intelligence. It is also

     intimidation and humiliation of Mills, that AU can pervert federal law

     in civil rights proceedings as it wishes, and there is nothing Mills can

     do to stop AU.

                          Section 8.    Welfare Check

682. AU Deputy Provost and Dean of Faculty is responsible for the

     investigation into the PD, the former PD, and the 808 professor for

     retaliation. This is arguably the most important investigation to AU,

     because it and its employees illegally invaded Mills home for the

     purpose of intimidating Mills from engaging in protected activities

     regarding SIS. AUPD also had no jurisdiction to operate in Mills off-

     campus home.


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683. Deputy Provost interviews Mills and agrees to receive evidence from

    Mills. But, it is patently clear that she had no real intention of

    investigating anything. She is more interested in knowing what Mills

    knew.

684. The following is the result of the Deputy Provost s thorough

    investigation regarding the PD.

      I do not find that a preponderance of the evidence supports the
      allegation that Professor Atzili acted in bad faith when he filed a
      CARE report about you. To the contrary, the evidence leads me to
      conclude that a faculty member who received the type of emails you
      sent to Professor Atzili could reasonably have concluded that you
      might benefit from assistance. Under such circumstances, the
      decision to file a CARE report out of concern for a student so that the
      Dean of Students could reach out and provide assistance would be a
      reasonable and appropriate action.
      In addition, Professor Atzili said he did not know how the University
      responded to CARE reports. He also said he did not know whether or
      when AUPD might go to a student's home in response to a CARE
      report. I found the responses Professor Atzili provided to me on this
      issue to be credible.
      Accordingly, I do not find that a preponderance of the evidence
      supports the conclusion that Professor Atzili acted in bad faith and
      filed a CARE report so that AUPD would detain you and prevent you
      from attending a meeting with other students.

685. The following is the result of the Deputy Provost s thorough

    investigation regarding the former PD.

      The preponderance of the evidence does not support your allegation
      that Professor Weiner filed a CARE report in bad faith and so that
      AUPD would detain you at your apartment and prevent you from
      meeting with your fellow Ph.D. students to discuss Professor Atzili's
      performance as Faculty Director.
      When I interviewed Professor Weiner, she explained that she did not
      know whether or how the Dean of Students responded to CARE
      reports. She also said she was not aware whether the Dean of


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      Students would contact AUPD in response to a CARE report or
      whether or not AUPD would take any action as a result.
      She further stated that our conversation was the first she had heard
      that you, around the time she filed her CARE report, intended to meet
      with your fellow graduate students together for any purpose,
      including to discuss a vote of no confidence in Professor Atzili. Since
      she did not know about the planned Ph.D. student meeting (and
      planned vote of no confidence in Professor Atzili) until we spoke, she
      clearly was not motivated by concerns about this student meeting
      more than six months earlier when she filed the CARE report.
      I found Professor Weiner credible. I do not think she was specifically
      aware how the Dean of Students responded to CARE reports or
      whether AUPD would be involved. I also do not believe she knew that
      you planned to meet with your fellow Ph.D. students. As a result, it is
      not reasonable to conclude that she filed the CARE report so that
      AUPD would detain you and prevent you from attending a meeting
      with other students.

686. To summarize the Deputy Provost, the PD and the former PD s position,

    first:

      They are not familiar with AU procedure for care reports by training
      and by immersion and does not know whether AUPD carries out
      welfare checks, despite her six-year tenure and his two-year tenure
      as the program director and despite, on information and belief, AU
      orders AUPD to carry out about 300 welfare checks every year;
      They do not know what would happen when police or a school receive
      reports of suicide and violent threats by a Black man, despite growing
      up in the U.S. and despite their stated familiar with and interest in
      racial sensitivity [internal cite], common anti-Black tropes and U.S.
      racial dynamics;
      They do not know that a common method of intimidating a black
      person is to take advantage of common anti-Black racial tropes and to
      exaggerate his or her mental health conditions and violent tendency;
      They do not know that sending police to the home of a black person
      experiencing racial trauma and protesting racism would have an out-
      sized impact compared to sending police to another person.




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687. Second, to rephrase the Deputy Provost s strange sentence

    construction, the former PD states that she did not know that Mills

    intended to meet with SIS students on 8/28/2019, or that there would

    be an SIS meeting on 8/28/2019 Wednesday afternoon.

688. The former PD knows that Wednesday afternoon is the only occasion

    during a week when SIS Ph.D. students and faculty congregate for one

    hour and a half. The former PD was the Ph.D. Program Director in SIS

    between 2012 and June 2018. Since Mills matriculated in August 2016,

    and until the PD took over in July 2018, she emailed SIS Ph.D. students

    and faculty about the topics for upcoming congregations on every

    Wednesday afternoons. She knows that if Mills wanted to speak in

    person to as many people in SIS as possible about institutional racism

    at SIS and a vote of no confidence regarding the PD, Mills would

    certainly choose to do so on Wednesday afternoon.

689. Even assuming that the former PD did not know Mills will protest on

    8/28, she still could have made the Care Report to instigate a welfare

    check to deter Mills from attempting the protest in the future.

690. The Deputy Provost thinks the PD s Care Report was reasonable,

    compared to Mills 8/27 email to him, despite his care report fails to

    mention any context or origin of their dispute [internal cite].

691. By contrast, the Deputy Provost takes no position on whether the

    former PD s Care Report was reasonable. compared to Mills 8/27 email

    to her.

692. Both the PD and the former PD know more about the welfare check

    than what the Deputy Provost care to ask.



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693. Even the Deputy Provost know more about the former PD s action then

    what the Deputy Provost disclosed in the report. [internal cite]

                  Section 9.     The Anatomy of SWATTING

694. If AU really investigated the welfare check, which Mills repeatedly

    demanded, it would surface that the PDs and the 808 professor were

    retaliating against Mills.

695. That is why, AU and its employees impeded Mills effort to uncover

    records of the welfare check for as long as they could.

696. ADOS told him that he would address Mills concern about the welfare

    check; then ADOS said Mills misunderstood him, that he only has the

    authority to pass along Mills feedback about the welfare check to

    AUPD, as if he works in customer service.

697. AU Discrimination Policy requires all employees except confidential

    sources to refer reports of discrimination and retaliation to designated

    civil rights official. No one does.

698. Mills tried to get records about the welfare check in September 2019.

    AUPD would not tell him anything. Mills keep calling until AUPD police

    chief agrees to give him the incident report about the welfare check,

    because, he says, AUPD policy requires the release of such reports to

    involved parties. However, he instructed the custodian to redact most

    useful information first. When Mills asks for AUPD s written policy for

    redacting, he says it is an unwritten procedure.

699. The redacted report shows that AVP of Campus Life had called the

    AUPD police chief about Mills hours before the AVP s underling ADOS

    called AUPD emergency line and ordered the welfare check.


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700. The unredacted report of the welfare check would show that AUPD

    officers were investigating an off-campus criminal incident and

     conducting check on person in relation to the 808 professor. It would

    show that on the same day, AU requested a skip tracing, investigative

    research and risk management report of Mills. It would show that, on

    the same day, either before or after the welfare check, AU Threat

    Assessment Team consisting of AUPD, Office of Campus Life met about

    Mills.

701. Because FERPA provide student access to educational records but

    specifically exclude law enforcement records, AUPD database becomes

    the best place to hide evidence that AU never want Mills to find, such

    as evidence indicating that the welfare check was actually a criminal

    investigation.

702. AUPD documents Mills obtained years later shows that the AU Threat

    Assessment Team s meeting on the same day as the welfare check are

    attended by the AU Office of General Counsel and the AUPD police

    chief.

703. The KGB-esque meeting discussed current status of Mills based on a

    group reading of

      current documentation of inappropriate behavior involving faculty
      member and other background material found in other media section
      of this report. The assessment concluded that there was no evidence
      of criminality in any of the document or behavior reviewed. There
      were no indicators of pathways to violence. His status should be
      monitored should his behavior change and this matter should be
      handled by the DOS.

704. Of course, AU has always had the documents that show how the

    welfare check unfolded. AU knows Mills is looking for the documents.

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    Assistant DOS giving him the three care reports was but the safest

    records to release - a distraction.

                     Chronological Account of SWATTING

705. The following is a chronological account of the SWATTING based on

    documents that Mills obtained from AU years later.

706. Mills emailed both PDs about his plan to protest the PD late afternoon

    on 8/27/2019. On the same day, the former PD contacted the PD and

    SIS Associate Dean about Mills emails.

707. The former PD called the 808 professor s cellphone. She said she was

    acutely concerned for the 808 professor s safety due to Mills email.

    While refusing to show or read the email to him because of FERPA, she

    told him her interpretation of Mills email:

      that Mills planned a campaign to destroy [you] professionally.
      that Mills might be considering harming [you;]
      that Mills suffers from severe      acute mental issues
      that Mills is not in control [of himself] anymore.

708. Thereafter, the 808 professor called AUPD and MPD. He told AUPD that

    he is apparently being threatened and there is evidence of it ; that

    there is a frenzy about his safety that warranted break[ing] privacy .

    He presumably told MPD the same thing.

709. The former PD sent a group email

      August 28, 2019 9:42 AM
      To: [SIS Associate Dean, the PD, AU Deputy Provost and Dean of
      Faculty, Mills academic adviser]
      Subject: very disturbing email from a student



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      All: Below I am forwarding an email I received last night from SIS
      PhD student Zach Mills. I know you are all familiar with him. I am
      forwarding this email because in my history of communicating with
      Zach, the email below conveys a sense of rage and instability that is
      new and disturbing. The level of rage, the typos, and the language are
      different and I worry about Zach but also people at AU that he may
      come into contact with. I have replied to Zach and told him I m
      worried about him and asked him to seek counseling. I m going to file
      a care network request. But I found this email so disturbing that I
      wanted to share it with you.
      [forwarding Mills 8/27 emails [internal citation]]

710. The PD described to Mills that the AU Deputy Provost and Dean of

    Faculty is the captain of the ship and the President is, by comparison,

    a figure head. [internal citation]

711. 5 minutes later, AU Deputy Provost involved SIS Dean and VP of

    Campus Life and Inclusive Excellence, and offered to involve Dean of

    Students and Assistant VP of Campus Life.

712. At 10:13, VP of Campus Life and Inclusive Excellence reports that

      Thanks. DOS is aware and Traci is working with the team on next
      steps related to the case. So it is being looked into.
      Thanks. Carol as you receive more emails be sure to forward on to
      Jeff and Traci.

713. At 10:14, SIS Associate Dean wrote to Dean of Students and Assistant

    VP of Campus Life.

      Hello, it is the Senior Associate Dean in SIS. I'm sorry to bother you
      but we have an emergency situation with one of our students (Zach
      Mills).
      Under separate cover I will be forwarding several troubling emails
      from Zach. These emails have gone to several faculty, including the
      assistant dean for graduate education and the PhD director. Faculty
      are worried about Zach, and in some cases their personal safety.




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      [VP of Campus Life and Inclusive Excellence] asked that I forward
      these emails. I asked 2 people to file care reports yesterday and I
      gather others have done so on their own.
      Please let me know what else I can send you/info I can provide you.
      [forwarding Mills 8/20~27 emails to the PD]

714. SIS Associate Dean told Mills she was too busy with meetings for two

    business days around the welfare check and did not know what

    happened. Instead, during this time, she requested Mills supervising

    professor, and other faculty members to forward her all Mills

    communications to them, which she then forward to the team , in

    effect surveilling Mills.

715. Before noon, Mills emails to both PDs about a vote-of-no-confidence

    had been forwarded to SIS Dean; SIS Associate Dean, AU Deputy

    Provost and Dean of Faculty, Dean of Students, Assistant VP of Campus

    Life, VP of Campus Life and Inclusive Excellence. Because Mills email

    to the former PD about his plan to protest SIS was only half a page

    long, and because everyone on the working group devoted their day to

    coordinate a response to this sudden development, everyone must have

    realized that Mills was planning to protest SIS, although everyone was

    careful not to write down what they were actually responding to.

716. SIS Dean advised the 808 professor that he should not leave his home,

    implying that Mills knew where he lived. SIS Dean also told him that if

    he comes to campus you must tell us your location.

717. The AUPD corporal who received the 808 professor s police report was

    dubious because it sounded like the 808 professor is mixing up harm to

    his body with harm to his reputation. SIS Dean, SIS Associate Dean and

    Mills academic adviser then met with the corporal to provide evidence

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    and to persuade him to act on Mills. Due to the lack of probable cause

    or reasonable suspicion, the sergeant did not take action or contact

    Mills.

718. Assistant DOS is Black. He did not make the decision to initiate the

    welfare check, despite him telling Mills that he was the decision maker.

    He was the last to be forwarded Mills email by his supervisor AVP of

    Campus Life. Nevertheless, he was the one who called AUPD emergency

    line and told AUPD that a faculty member reported that Mills had

    suicidal ideations. AVP of Campus Life had called AUPD police chief

    about Mills an hour prior to Williams supposed decision making.

719. AUPD had no authority to refuse ADOS instruction. ADOS did not ask

    for AUPD s opinion in whether to conduct the wellness check. AUPD

    also did not ask for details about what the faculty member reported.

    The only questions AUPD asked of ADOS is his name, phone number,

    AU ID number, Mills name, AU ID number, phone number, address,

    and current whereabout. ADOS asked AUPD to send a black officer out

    of concern for Mills mental health and his perception of bias ; that

     apparently [Mills], when he mentions suicide cited it being due to

    racial trauma ; and that Mills essentially is really just upset and says

    he is suffering from racial trauma.

720. An AUPD operator called MPD emergency line for assistance for an

     welfare check because Mills lived off-campus in his private home,

    where AUPD has no jurisdiction. AUPD confirmed that AUPD officers

    were in uniform and in a marked police vehicle. AUPD first told MPD

    Mills expressed suicide ideation . When MPD asked AUPD where did



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     the information come from, AUPD said that the faculty member

     involved in the situation against [Mills] was the person who reported it

     because they did not feel safe and felt as though their lives were in.

     AUPD abruptly stopped. AUPD then told MPD that the faculty member s

     safety was not the reason for the welfare check, and that the real

     reasons was the Dean of Students requested it. He intervened.

721. MPD was the first to arrive at Mills home, which was a mile and a half

     away from the campus.

                                    Aftermath

722. As it turns out, Mills precisely grasped the anonymous message SIS

     sent with the welfare check: speak publicly about racism within SIS,

     then we will tell everyone you are insane, radical, angry and violent so

     no one will believe you. If you are not already insane, we will drive you

     insane - we will ostracize, isolate and monitor you. Then, AU s internal

     security apparatus will have the excuse to deal with you at school. If

     you are at home or off-campus, where AUPD has no jurisdiction, AU

     will borrow D.C. police s jurisdiction.

723. The brilliance of this tactic is plausible deniability - who would

     question if AUPD arrests, shoots or commits to mental institution an

     insane and violent Black student who fantasizes about white

     supremacy?

724. Had the four investigations been carried out by the same investigator,

     and carried out thoroughly and fairly, it would have been clear that

     Mills allegations are true.



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725. In fact, even if one of the four investigations were conducted

    thoroughly and fairly, it would have severely interfered with AU s

    likelihood of success in other investigations.

726. Each AU office has limited manpower. Had the four investigations been

    carried out by the same AU office, Mills would have had a chance to

    match the office s manpower and use procedure rules to force the

    investigation into the right direction.

727. After Mills emailed all Ph.D. students about the SWATTING, AVP of

    Campus Life wrote the following email confirming that a group of AU

    and SIS leaders led a propaganda effort, in which, on information and

    belief, they told concerned students that the welfare check was fully

    justified and that they cannot explain more for privacy reasons,

    implying that Mills was an insane, angry, violent Black man.

      TO: SIS Dean, VP of Campus Life and Inclusive Excellence
      CC: SIS Associate Dean
      Forwarded to: Dean of Students, AUPD Chief
      September 4, 2019 4:36 PM
      Thank you for the call just now [SIS Dean]. Just wanted to keep the
      group updated that we discussed that you already shared with [the
      808 professor] the appropriate response to his request for more
      information, and the DOS team is working directly on the conduct
      concerns with Zach.
      We also talked about me joining [SIS Dean] and [SIS Associate Dean]
      in a meeting with the doctoral students, which I think could be
      helpful to provide them with support and assurance. Look forward to
      building out details of that soon.
                   Section 10. Reverse-Racism Hit Job




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728. Mills alleged that the 808 professor was retaliating against him.

729. The Deputy Provost concluded that the 808 professor did not.

730. A thorough investigation into the professor s retaliation against Mills

    would show that the professor has made criminal allegations about

    Mills to the police without reasonable suspicious.

731. It would reveal that the professor has threatened to cease working on

    campus, because Mills told him in the email that his retaliations has

    triggered Mills PTSD.

732. It would reveal that the professor has sent the following email to AU

    Provost Daniel J. Myers, AUPD Police Chief Philip Morse, SIS Dean, SIS

    Associate Dean, SIS Associate Dean Rose Shinko, SIS Faculty President

    Aaron Boesenecker, and SIS Undergraduate Program Director Gina

    Lambright.

      According to a recent study published in the Journal of Psychiatric
      Research, childhood and adult trauma and PTSD burden were highly
      associated with being a perpetrator of interpersonal violence.
      [Gillikin, C. et al. (2016). Trauma Exposure and PTSD Symptoms
      Associate with Violence in Inner City Civilians. Journal of Psychiatric
      Research, 83: 1 7. DOI: 10.1016/j.jpsychires.2016.07.027]
      [I do not] know anything about his symptoms, co-conditions such as
      alcohol or drug abuse (which have been shown to significantly
      increase violent behavior by individuals with post-traumatic stress
      disorder), or his medical prognosis, I am acutely concerned that Mr.
      Mills could resort to physical violence. I am unclear about how an
      unarmed AUPD officer would be able to protect me in this case.

733. This is racist behavior in American social rules. New York s Amy

    Cooper was at least in the presence of a Black man walking his dog that

    she called the police on for no reason. The professor has ran into Mills

    once in the years after the policy analysis class. Mills even avoided him


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     then. Should Mills have reported the professor for telling the class that

     he has ongoing undiagnosed mental illness?

734. Moreover, Mills is not from the Inner City. Other than the professor,

     no one who talk to Mills would conclude that Mills is from the Inner

     City. Most Black people do not live in the Inner City. The word itself

     is a dog whistle - or a polite way to say where N-words live.

735. As a scientist who uses statistics in every one of his published papers,

     the professor should know it is unscientific to extrapolate from Mills

     race and ethnicity that Mills would commit a violent crime with this

     paper.

736. The Inner City Violence paper recruited participants for its survey in

     a downtown Atlanta hospital. The population characteristics of

     participants is categorically different than Mills. 90% of the population

     have not finished college. 70% are unemployed. 89% receive less than

     $24,000 income per year. The professor knows Mills does not fit these

     characteristics, and therefore has no predictive value regarding Mills.

737. The only population characteristics Mills share are race and ethnicity:

     92% of the participants are Black.

738. Out of all the papers about whether PTSD causes interpersonal

     violence, the professor picks the Inner City one. The professor must

     believe race and ethnicity can predict behavior more so than education,

     income and employment can. He must believe race to be an intrinsic

     characteristics rather than a socially constructed categorization based

     on phenotypes.




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739. It is unscientific for the professor to advocate predictive policing based

     on this paper. Setting aside the rigorousness of a study that gives $15 to

     participants in exchange for self-report their history of violence;

     setting aside whether this research design can be reproduced in

     another population segment; the paper finds that the change in PTSD

     diagnosis only explains 10.8% of the corresponding change in violent

     behaviors.

740. Given the limitation of the data, using the paper for its stated goal of

     advocating for more effective PTSD screening and treatment could

     waste public health funding, but at least it would presumably not harm

     Black people. Using the paper to deploy armed police, as the professor

     advocates, could end lives.

741. It is difficult to convict Mills if this email was found. None of the

     recipients report this as improper behavior, as the AU Discrimination

     Policy requires. Mills is denied access to this email in his defense

     against the professor s reverse-racism claim.

742. No one made a care report, whose stated goal is to help students in

     distress such as Mills. There is a culture of impunity for civil rights

     laws at AU s highest level.

                             Procedural Skullduggery

743. The Dean of Students is a loyal client of DSA and did everything to

     remain DSA s client. Mills informs the DOS that he was very ill after

     reading the professor s complaint, threw up, and had a stress attack.

     Mills asks for disability accommodation because he could not even read

     the complaint. The DOS does not respond to the request for ten days.

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    When the DOS get in touch with Mills, Mills realizes that he can contest

    the choice of the DSA as the investigator. The DOS tells Mills he should

    have contested the choice on the fifth day.

744. Mills gives the DOS AU s disability accommodation letter that says Mills

    has been approved for the accommodation of flexible deadlines. The

    DOS tells Mills that the letter is not retroactive.

745. [Mills being denied character witness]

746. Because none of the students witnesses were in the policy analysis

    course, or otherwise witnessed anything Mills did or say, other than

    Mills written statements, they are character witnesses.

747. The DOS told Mills that character witness would not be considered. As

    a result, Mills did not submit his German-speaking grandparent as a

    character witness.

748. DSA conducted interviews of 11 of 12 witnesses prior to the stated

    deadline for Mills to submit questions for those witnesses. DSA denied

    Mills the opportunity to cross-examine the witnesses.

749. DSA determined that each and every witness and witness question

    Mills submitted to be irrelevant to the investigation, when the

    questions and witnesses are relevant to AU and many accepted

    witnesses retaliation against Mills.

750. DSA refused to consider or investigate a question Mills presented to

    DSA: whether Esser s complaint was an retaliation against Mills. If

    Esser s complaint was an retaliation, DSA cannot reach a finding

    against Mills.




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751. DSA s reasoning for refusing to address Mills contention is that DSA

    has no power to initiate a complaint against Esser, which is irrelevant

    to the question Mills presented.

752. During the investigation, DSA condoned AU s suppression of evidence

    that supports Mills case.

753. We will supplement the complaint with procedural problems with the

    investigation later.

754. We will also supplement why the Stafford Report is illegal and

    discriminatory.

                                Witnesses or Plants

755. To prevail, the professor needs to claim that Mills insult has made

    going to work impossible for him. He needs witnesses.

756. The former PD and the PD are willing allies, because Mills is

    complaining that they acted improperly in the welfare check. The

    former PD had given the professor Mills FERPA-protected email to help

    the professor threaten Mills about the IHE article. Both PDs had

    influenced the Counter-Narrative authors to propagate the professor s

    argument: that Mills could not handle the professor s academic rigor

    and respectful difference of opinion, and therefore made false

    accusations of the professor to gain special treatment.

757. For a conspirator such as the professor, it is always a smart insurance

    policy to make co-conspirators commit, lest they let him take the fall

    alone - gangs commonly have initiation ceremony for the same reason.

                                        PD



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758. The PD testifies that, for the 18 months that he worked with Mills, he

    had always advised Mills to let the professor s discrimination and the

    botched investigation go and focus on academics instead. He testifies

    that he refused to credit the case Mills presented about those issues,

    that he tried to be agnostic about whether the professor or Mills was

    right.

759. He testifies that Mills informed him via email of the rumor, that the

    professor was calling a white female professor mentally unstable for

    accusing him of sexual harassment. He testifies that he forwarded the

    email to SIS Associate Dean. To the best of Mills knowledge, AU never

    investigated the rumor or contacted Mills about it. The investigator

    notes that it does not know of the report or any action the University

    took; the investigator considered the rumor to be outside the scope of

    the investigation.

760. In the same email, Mills also questioned whether the professor was

    propagating rumors about him and caused at least one professor to

    comment that Mills is famous, refuse to explain why, and thereafter cut

    off communication.

761. The PD does not testify to the fact that Mills simultaneously reported

    significant difficulty in studying for the comprehensive exam. He does

    not testify that he wrote multiple emails to Mills to not mention racism

    or his mental health problem in his petition for extension. He does not

    testify that he was trying to avoid written communication in his effort.

    He does not testify that, once Mills agreed to not mention racism or

    mental health, he contacted the decision makers to support Mills



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     petition. He testifies that he had gave Mills as much flexibility as

     possible.

762. The PD testifies that he did not know how to deal with Mills complaint

     that the professor is propagating rumors about Mills that he is a lazy

     and incompetent student. He testifies that he has no power or

     responsibility to intervene unless AU does first.

763. The PD testifies that he initially believed Mills complaint of the

     professor to be sincere. However, when Mills began complaining of his

     racism which he disagrees with, he changed his opinion and believes

     that Mills was lying about the professor.

                               PD on Welfare check

764. The PD testifies that, when Mills emailed him in the days before the

     welfare check to complain about the botched investigation, he believes

     that Mills was fabricating a grievance about race, or race-baiting.

765. The PD testifies that he did not read the part of Mills email about

     planning a vote-of-no-confidence of him. He testifies that the former

     PD alerted him to the plan on the day of the welfare check. He testifies

     that the former PD said Mills was rambling and being incoherent and

     that he is in danger from Mills. He testifies that he did not believe he

     was in danger, but his wife did, so he arranged security escort.

766. He testifies that he had no role in the decision to transfer his role as PD

     to the SIS Associate Dean.

767. He testifies that the professor is arrogant and quick to judge. He

     testifies that the professor had spoken to him about Mills and Mills

     allegations about him.

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                                     former PD

768. The former PD testifies that she has not heard the professor make any

     comment that could be perceived as racist.

769. The former PD testifies that, even before the welfare check, she

     regarded Mills complaints about the professor to be false, that she

     regarded Mills as angry, aggressive and exaggerated, that she regarded

     Mills racism complaints as attempts to gain special treatment.

770. Regardless, she testifies that Mills was open to her about the racism he

     experienced. She testifies that she did not share her rejection of Mills

     view with Mills in the hope of remain close to Mills and thereby

     supporting Mills. She testifies that she always believes Mills complaint

     to be his subjective belief that does not conform with her perception of

     the professor.

771. In line with her comment during the 2018 investigation that Mills view

     of AU would depend on the finding, she testifies that Mills thinks AU is

     racist because the finding was not in his favor.

772. She testifies that the reason she feels safe from physical violence from

     Mills is that she did not live in D.C.

773. She testifies that Mills has attacked other students. She testifies that a

     female student who presented at an academic conference felt that

     everyone there perceived her as a racist due to Mills allegations of

     anti-Black racism in SIS in the IHE article. She testifies Mills was

     making female students in the program vulnerable with the article.

                                Student Testimony



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774. Because they authored or signed the Counter-Narrative that is

    consistent with the professor s argument [internal cite], the professor

    also requests eight SIS Ph.D. students and a graduate to testify. Six of

    them do testify.

775. Because the investigators keeps the student witnesses anonymous,

    Mills do not know who each witness is and could not effectively cross-

    examine their statements.

776. Student Witness 1 testifies that they know nothing about the dispute

    between the professor and Mills. They testify that the allegations in the

    IHE article are baseless, because the implicated professors had only

    encourage them; the investigator does not ask whether they know

    enough to testify to that, or what their personal experience can

    demonstrate about Mills experience.

777. Student Witness 2 testifies that they do not know Mills personally and

    cannot question Mills experience with discrimination. They testify that

    they have not personally experienced discrimination in SIS. They

    testify that the professor has made jokes to them about their ethnic

    origin but the professor did not intend it.

778. They testify that they are close to the professor and both PDs, who,

    except the former PD, told them that they are distressed because of

    Mills complaints. They testify that it is unfair that Mills and the IHE

    article had accused the three professors. They testify in support of the

    PD s argument that SIS has tried its best to increase minority student

    enrollment.




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779. Judging from their testimony, they are one of the four authors of the

     Counter-Narrative, who we identify as Student B. They are white and

     female. Both PDs acted improperly in approving her prospectus by

     waiving the requirement of an independent examination member.

780. Student Witness 3 testifies that they do not know Mills personally and

     Mills has always treated them with respect. They testify that they

     disagree with the IHE article, that they support professors liberally

     initiate welfare checks. They testify that many people worry about

     being accused of racism but they want to counter the article s

     allegations. They do not testify that they have information relevant to

     those allegations.

781. Judging from their testimony, we have some confidence that they are

     one of the four authors of the Counter-Narrative, who we identify as

     Student D. They are white and female. Contrary to SIS rules, barring

     abnormal circumstances that we do not know of, the PD allows her to

     remain in the program despite not having defended a prospectus by the

     end of her third academic year.

782. Student Witness 4 testifies that they has had little interaction with

     Mills. They testify that the professor is awkward and sometimes say

     inappropriate things unintentionally. They testify that, although they

     were not in Mills policy analysis course, that only people like Mills

     who was predisposed to take offense would be offended by the

     professor s comments to Mills.




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783. They testify that they and other students met SIS Dean after the

    welfare check to discuss it. They testify that they do not know anything

    about the IHE article s allegation, beyond the article itself.

784. They testify in support of the PD s argument that SIS has tried its best

    to increase minority student enrollment. They testify that minority

    students do not feel included at AU but the problem is hardly unique

    among other universities and Ph.D. programs, and therefore SIS bears

    no responsibility for minority students feel excluded.

785. Student Witness 5 testify that they has not said more than hello with

    Mills. They testify that the professor has told his students that he was

    innocent. They testify that the professor has a sharp tongue and makes

    jokes that can be offensive if someone wanted to be offended. But, they

    testify that the professor does not intent harm and his statements do

    not strike them as racist.

786. Student Witness 6 testify that they have never met Mills. They testify

    that some unidentified faculty members have bent over backwards to

    help them with getting a Ph.D. They testify that they are upset that the

    IHE article would accuse SIS of anti-Black racism, because the article

    does not represent their experience. Judging from their testimony, they

    are not the only other Black student in the program.

787. They testify that they the professor does not move from his opinion in

    their multiple conversations about academic topics. They attribute the

    professor s stubbornness to his German origin.

                                  Jordan Tama




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788. The professor also pulled in his friend - another professor who co-

     wrote the 808 syllabus, who did not witness the professor s behaviors

     in the policy analysis class.

789. After the 2018 investigation, Mills had emailed the friend whether the

     808 syllabus required a policy analysis and whether the professor was

     misrepresenting it. It was a simple, straight-forward question. The

     friend never replied.

790. Instead of giving the investigator Mills email, the friend testifies that

     Mills had met him in person under false pretense. The friend accuses

     Mills of cooking up an intricate plan to trick him from making

     derogatory statements of the professor.

                                      Malini

791. As a white man arguing about cultural insensitivity who the Dean

     Report has found to be culturally insensitive to Mills, and because Mills

     has criticized his racism from a critical race theory perspective, the

     professor wants to pull in a diverse face on his side, who can plausibly

     claim expertise in racial justice and critical theory and testify that

     Mills insult crossed the line.

792. That expert witness is Professor Malini Ranganathan. She testifies that

     she is an immigrant, non-white female of southeast Asian origin and

     uses an anti-racist pedagogy. She testifies that Mills does not have an

     expertise in critical race theory.

793. She testifies that the professor has always respected her when they

     worked together in multiple contexts or when she asked him for

     professional advices.

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794. She testifies that SIS fails to adequately admit and retain Black

     students and African students. She testifies that SIS is inadequate in

     being equal and inclusive to minority students, that Mills faced great

     difficulty in this environment. She testifies that she has went above

     and beyond to try to address these issues.

795. She testifies that she has not witnessed any allegedly offensive

     interaction between Mills and the professor. She testifies that Mills has

     never harassed her. However, she testifies that she has observed Mills

     narrative patterns is to make unverifiable accusations of racism

     against many professors. She testifies that Mills has said that the

     professor is an actual member of the Nazi Party and that the former PD

     is an actual member of the KKK. She testified that Mills should not have

     accused them of such, because Mills do not have evidence of their

     respective membership in the Nazi Party and the KKK. As such, she

     testifies that Mills insult is heinous and unacceptable in any social

     context.

796. As a professor in the program with an anti-racist pedagogy in her own

     work, she particularly swayed the investigator to believe that Mills

     denigrated the 808 professor s German national origin.

797. The investigator also said she was particularly valuable in helping to

     understand the intricacies of implicit bias, which she testifies that her

     expertise and biographical background let her understand. The 2018

     Dean Report had concluded implicit bias was the reason the professor

     singled Mills out as a lazy or incompetent student on the first day of

     class, and that it had caused Mills serious discomfort. The Dean Report



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    is a part of the record in the Stafford investigation. She testifies that

    the professor was not undermining minority students success given

    her understanding of implicit bias.

798. Prof. Ranganathan has been an invited member for President SMB s

    Council on Diversity and Inclusion since 2018. After her testimony in

    March 2020, she is promoted to Associate Professor and tenure, and

    appointed as the executive director of AU Anti-Racism Center in July

    2020, after Dr. Kendi left for Boston University.

                               Corporal Ballerini

799. To support his allegation that Mills endangered his safety, the

    professor requests an AUPD corporal to testify. The corporal testifies

    that the professor called him to complain Mills of defamation and

    harassment on the same day as the welfare check. According to the

    corporal, the professor said he was in fear for his life, and requested

    security escort to walk him to the parking lot, office and classrooms.

    The corporal testifies that the professor asked him for security

    assistance when the professor was publishing an academic article. That

    article is about racial inequality in D.C. for which the professor is a

    second-author and which has not been cited two years after

    publication.

800. The corporal testifies that SIS Dean and her employees had met and

    gave him information about Mills.

801. The corporal testify that he was asked to assess Mills as a criminal but

    has found no probable cause or reasonable suspicion. As such, he did



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     not try to contact Mills about the professor s criminal allegations over

     the last seven months.

                              Ignoring Mills Defense

802. In his comment for the draft Stafford investigative report, Mills first

     makes clear that the welfare check is central to the investigation,

     without which Stafford s investigation cannot be fair.

The Stafford investigation cannot be fair, because it omits the fact that
AUPD entered my home on Aug 28, 2019. This event is intimately related to
the current investigation.
First, [the PD and the former PD], both chief witnesses against me in this
investigation, reported that I was suicidal with no evidence, which caused
AUPD to invade my home. Their credibility is tied to whether they had a
basis to report that I was suicidal before AUPD entered my home, or
whether they made a false report with malice to disrupt my planned vote-
of-no-confidence against [the PD].
Second, prior to AUPD entering my home, I was emailing [the PD and the
former PD] about [the professor] s racist treatment of me, because [they
are his] supervisor. These emails led to [them] reporting me as suicidal.
AUPD entering my home is therefore tied to [the professor s] racist
treatment of me.
Third, the welfare check caused the Inside Higher Ed. article to report on
the professor s racist actions against me in 2018. It does not make sense
that the draft investigative report (which purports to address [the
professor s] reputation and emotional state) sidesteps the event that
eventually caused the most severe reputational damage to him, assuming
the reputational damage was not warranted.

803. Mills submits the following evidence from an AU student.

      On my part, the only personal experience of racism I had with [the
      808 professor] was that he once approached a table of myself and
      two Jewish students and said hey yids - I said what? that s a slur.
      and he responded that he said yinz , not yids. He continued to
      approach me about the situation throughout the semester, saying that
      he was asking his co-workers if they knew that yids was an anti-
      Jewish slur and that he felt bad about it.

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      ...
      I ve reached out to a couple of other students to share their stories. I
      know plenty of students had problems with him, so I don t think there
      should be any trouble finding content.

804. The investigator completely ignored this evidence. This evidence is

    relevant for two reasons. First, it shows that the professor go to

    extreme length to make sure no one sees him as racist. Second, it

    shows the professor tends to make up convoluted lies about having

    made racist comments.

805. Yinz is western Pennsylvania dialect for you . It is illogical that the

    professor said yinz in context. It is also strange that he would ask co-

    workers whether they know that yids is an anti-Jewish slur, when a

    simple Internet search suffices. Over the semester, he then insists that

    the student accept his innocence, by claiming that he is trying his best

    to be racially sensitive.

806. The professor pulled the same stunt in the botched 2018 investigation.

    After accusing Mills of calling quantitative methodology voodoo , he

    then said it was painful to be accused of racism because he knows

    deeply that he is a privileged white man. He said there are not many

    non-white professors in SIS. He said he is comfortable discussing

    sexism and classism. He said, to acknowledge his privilege, he edited

    his syllabus to include intersectionality in 4 out of 26 sections in one

    course, even though it was a heavy load, and even though teaching

    intersectionality may be risky. He then immediately turned to how he

    was trying to uphold a scientific standard (to insinuate that Mills is

    race-baiting), that Mills was a weak student in form and in content, in



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     marked contrast with the rest of the cohorts. The professor then lied

     about how he made Mills think he needed to write a policy analysis

     paper while letting everyone else write whatever they wanted to. See

     Chapter F, Section 1.

807. The professor is a pathological liar. He complains of Mills endangering

     his safety and creating a reverse-racism hostile environment, without

     bringing attention to him telling AUPD that Mills needs to be criminally

     investigated, Chapter E, Section 9; or weaponizing Inner City Paper

     to get an armed guard from AUPD to instigate a violent event on

     campus. We demand discovery of the connection between the professor

     and Mills being followed around on campus in the 2019-2020 academic

     year.

808. Mills also includes the following.

SIS Ph.D. student Jaclyn Fox told me that a professor, Joe Young, told her
that yet another professor, Cathy Schneider, was crazy/insane and had
made up false allegations about being sexually harassed by [the 808
professor] due to her mental instability. It was said Schneider and [the 808
professor] had been friends before this, and [the 808 professor] was
completely caught off guard by such allegations. [the 808 professor]
blamed Schneider s mental fragility and false allegations on her hard time
getting tenure; her famous (in at least the IR field) mentor had to come to
AU to fight for her tenure. Jaclyn Fox has sworn to me this story was true
and relayed to me exactly like it was to her by Joe Young; she has
confirmed this story to me at least twice after she first told me about it.
I DID include this narrative in my 2018 complaint against [the 808
professor] as evidence about his character. The story shows [the 808
professor]'s MO is to discredit people after he acts inappropriately towards
them and claims his fault is limited to ignorance / unconscious bias, if
admitting any. If true, this is retaliation.
The 2018 Leff report did not mention this allegation at all. [the 808
professor] has never complained about me relaying this story to the
provost to the best of my knowledge. The cease and desist letter I received
from his lawyer NEVER mentioned this as part of the alleged grand

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defamation campaign I am supposedly waging against him based on my
alleged hatred of the German people. Untrue sexual harassment allegations
would certainly piss someone off as much as untrue racism allegations. It is
very curious that neither [the 808 professor] nor his lawyer have ever
broached this very specific allegation I included in my 2018 complaint
against him.

809. Stafford does not adopt a word of Mills defense, or try to investigate

    any event Mills references.



                        Section 11.   Mills’ Dismissal

810. AU Dean of Graduate Studies retaliated against Mills. She did not

    properly consider many factors that prevented Mills inability to

    produce a prospectus: lack of summer research; the PD and the

    Associate Dean s false allegations that Mills stole summer research

    grant; etc.

811. As to the hostile environment, retaliation and discrimination that

    prevented Mills from making academic progress, AU Dean of Graduate

    Studies refused to consider such factors on the basis that AU false

    investigations did not find Mills was subjected to hostile environment,

    retaliation and discrimination.

            Chapter F. Evidence AU Hid

812. Mills fought AU for years to obtain his educational records under

    FERPA. For months, AU simply refused to acknowledge receipt of his

    requests. Then, Mills made an official complaint to the Department of

    Education. Even then, AU resisted the Department for months.

    Eventually, an attorney drafted a twenty-page legal letter replete with

    legalese, definitions and instruction. That finally convinced AU to


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    release some of his educational records, a year after he was dismissed

    from AU.

813. AU s compliance with FERPA is either negligent or malicious, in

    violation of the False Claims Act. We plan to petition the Department of

    Justice to file a False Claims Act claim regarding AU s false promises to

    the federal government to comply with FERPA and the Civil Rights Act

    in exchange for federal funding. If the DOJ refuses to prosecute, we

    plan to prosecute the claim in the DOJ s place.

             Section 1.   About the 2018 Botched Investigation

814. Among the records AU gives up, Mills finds an Investigator Report

    about the botch investigation into the 808 professor s discrimination. It

    contains the meat of the information gathered during the investigation.

    Dean Report is a filtered summary of Investigator Report.

815. Mills did not know it existed. Dean Report gave no hint that

    Investigator Report existed. Neither did AU s policies, website or any

    communications. Without knowing about its existence, Mills could not

    have exercised diligence to obtain it.

816. Investigator Report makes it clear that Investigator made numerous

    mistakes in investigating and fact-finding, despite having strong

    experience in prosecuting cultural insensitivity and her certification as

    a civil rights investigator. She failed to follow up with Mills. She failed

    to allow Mills to respond to the professor s false statements and

    evidence. She failed to draw obvious connections from the evidence she

    did gather. She reached the wrong conclusion.




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817. The Investigative Report contains the professor testimony. The primary

     theme of his testimony was that he was not biased against Mills, but

     that Mills was a weak student in terms of form and content, in marked

     contrast with the rest of the cohort.

818. To support that theme, before the Investigator presented specific

     complaints from Mills, the professor volunteered the following

     comments, to prove that Mills was a terrible student.

819. First, during the family emergency, Mills did not reply to the his emails

     until the PD conveyed his message to Mills: that Mills would fail if Mills

     does not reply. In reality, Mills replied to him before being asked to;

     unlike he promised, he did not inform the PD when Mills contacted

     him.

820. Second, he suggested the option of Incomplete to Mills first.

821. Third, in their third meeting, he told Mills that his first two

     assignments were passable. He told Mills the primary problem with his

     work is bad writing.

822. Fourth, That Mills had called quantitative research methodology

      voodoo in class.

823. These statements are false. The Investigator obtained evidence that

     showed that these statements are false for 1 (internal cite), 2 (internal

     cite). The investigator did not find 2 significant.

824. The investigator could have followed up with Mills, who would have

     refuted 3 (internal cite) and 4.

                            Mills did not say voodoo .




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825. The class was discussing an article the professor assigned that

    criticizes Supreme Court justices for being allergic to mathematics in

    Gill v. Whitford, 138 S. Ct. 1916 (2018).

826. Several justices had reservations about complex metrics that purport to

    objectively measure gerrymandering bias.

827. While the justices called the metrics gobbledygook,    baloney and

     hazardous enterprise, Mills did not call it voodoo. Mills defended

    the justices, that the public and judges cannot understand complex

    metrics; that metrics can be manipulated; and that adopting the

    metrics would give experts the final say instead of judges.

828. Instead of relaying the substance of Mills opinion to the Investigator,

    the professor said Mills made a facetious joke and called an entire

    methodology voodoo. He said he called Mills out for lacking critical

    thinking in the class. He guessed that Mills had complained about this

    event to the Investigator because, by his own reflection, he was harsh

    on Mills; he then ventured to guess that Mills took his criticism harder

    than he intended to be. Mills had not reported this event.

829. As context, while Black freed slaves in Jim Crow South did practice

    Voudou, it had little to do with the vicious trope invented by white

    newspapers to justify Jim Crow. According to the trope, freed slaves

    elect Black leaders to perform mind-control on white politicians; they

    recruit white women in midnight orgies, and have them raving,

    frothing at the mouth and worshiping human sacrifice and

    cannibalism. The trope has persisted in popular culture in U.S. and

    Europe.



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830. Over the next years, the professor would go on to spread a rumor that

    Mills lashed out when he respectfully challenged Mills academic

    opinions. The dog-whistle authors will repeat the rumor.

                           Non-Policy Analysis Paper

831. Other than hostile environment, Mills most severe allegation was that

    the professor withheld the alternative of writing a non-policy analysis

    paper from Mills.

832. The Investigator Report shows that the professor proposed two

    conflicting explanation as to why Mills was the only person did not

    know about the easier option. These two explanations differ from what

    he told Mills.

833. During the interview, before the Investigator specifically asked about

    the alternative, the professor did not mention it. Instead, he said he

    allowed Mills every flexibility, such as suggesting to Mills that he can

    take an Incomplete.

834. Then, the Investigator presented the following allegations from Mills:

      He was held to standards that non-black students were not. He was
      not told about a most important change to the syllabus: a required
      paper originally was required to focus on policy analysis, but the
      professor had decided that it only had to be a publishable
      manuscript.
      The professor did not communicate this change through Blackboard,
      as was his habit.
      On other occasions, Esser sent out emails about syllabus changes. Yet,
      the professor did not send out an email.
      He had to find out about this change from another student.
      He had had several meetings with the professor during the relevant
      time period and at no point was he informed by the professor about
      the syllabus change.

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835. In response, the professor testified that he had mentioned the change

    during several lectures. He noted that because Mills had missed so

    many classes, he could not say whether Mills was aware of the change.

836. Let us briefly assume that the professor was testifying that he

    announced the change in class in November, because Mills has evidence

    that he attended all lectures prior to November. During their second

    meeting on October 30, the professor instructed Mills to propose a new

    policy analysis paper. Although he then asked for an extension, Mills

    did not inform the professor that he intend to ignore the instruction

    and write a non-policy analysis paper. In fact, Mills said he was having

    difficulty with the policy analysis paper. The professor also knew Mills

    difficulty because he rejected Mills policy analysis paper proposal on

    October 30.

837. Knowing that Mills was having difficulty with proposing an acceptable

    policy analysis topic, it would make sense for the professor to inform

    Mills of an easier alternative. The professor never did that, until Mills

    learned it from other students and confronted the professor.

838. On the other hand, if we assume that the professor was testifying that

    he announced the change in class before November, then he would

    need to explain why he gave Mills the opposite instruction on October

    30.

839. Furthermore, this assumption conflict with what the professor told

    Mills during their third meeting, which the Investigator would have

    known if she followed up with Mills. [internal citation]

840. Other than false facts, the professor also offered three excuses.



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841. First, the professor stated that he needed not tell Mills because the

     paper was due at the end of the semester.

842. Second, without being accused that he had removed Mills from the

     class email list, he volunteered that he did not violate AU rules in doing

     exactly that after Mills applied for Incomplete.

843. Third, the professor volunteered his belief that, even if his failure to

     inform Mills was improper, since Mills did not start working on the

     paper, his failure did not cause harm because he told Mills in their

     third meeting in January.

844. All of these excuses were nonsensical. They may be how the professor

     justified his improper actions to himself.

845. First, just because an assignment is due at the end of the semester, it

     does not follow that a student does not need to be informed of a

     relevant change before the deadline.

846. Second, no AU rules required the professor to remove Mills from the

     class email list. Although Mills had asked for an Incomplete, was it not

     better to keep Mills in the loop? There was no cost to do so. Why did he

     made an effort to remove Mills? Did the professor remove Mills

     because subsequent class emails mention the easier alternative? We

     could not find out because the investigator did not collect that

     evidence.

847. Third, this excuse assumes that Mills would not have worked on the

     paper between granting the Incomplete and their meeting in January.

     Whether the professor negligently forgot to tell Mills or maliciously

     decided not to tell Mills about the alternative, when he did so, he did



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     not know 1) whether Mills will work on the paper before their next

     meeting 2) whether a lowering of difficulty will allow Mills to write the

     paper. In other words, for this excuse make sense, that the professor

     did not prejudice Mills, the professor must prove that, even if he had

     told Mills, Mills would not have attempted to write a non-policy

     analysis paper. The professor might have persuaded himself that Mills

     is lazy, incompetent and deserve discipline, but he will not be able to

     persuade other people of that.

848. Moreover, as he told the investigator and the professor, Mills only

     decided to not work on the paper because the professor had falsely

     promised him 18 months to work on the paper. Here, the professor was

     trying to take advantage of one of his misconducts to justify another.

849. Perhaps realizing that he had inadvertently revealed his misconduct, a

     week later, the professor emailed the Investigator a different

     explanation, that he announced the alternative in an updated syllabus

     on October 30th. The professor also gave the Investigator that

     particular syllabus, which did allow non-policy analysis paper. The

     professor argued that Mills should know about the alternative and that

     he forgot about this version during the interview. Dean Report credited

     this version of event and cleared the professor of misconduct.

850. It is illogical to credit this version of event from the professor.

851. First, Mills met with the professor on October 30. He instructed Mills

     to read more book and write another literature review in order to

     propose a policy analysis paper. It does not make sense that, on the




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     same day, the professor had both changed the syllabus to allow non-

     policy analysis paper AND instructed Mills otherwise.

852. Second, as Mills noted to the investigator, the professor frequently

     made minor and major changes to the syllabus and obsessively

     communicated the changes in writing. When he made changes, the

     professor always either 1) writes a separate email explaining the

     changes; 2) tell the student the page number where the changes are;

     and/or 3) highlights the changes.

853. The professor s usual practice of frequent minor changes and pointing

     out even minor changes led students to not read the 8 page document

     word for word after each change. Students only paid attention to the

     changes he pointed out. In fact, after that semester, one student told

     Mills that they thought the alternative was never reflected in the

     syllabus.

854. For the October 30 syllabus, the professor did not point out the option

     to write non-policy analysis to students. The professor had emailed the

     class about the update. Mills read the email. The email only noted other

     minor updates, not that students can now write non-policy analysis

     paper, which is by far the most important change of the semester. The

     email told students which pages of the syllabus was changed, but did

     not mention the page number where the alternative is. The alternative

     was not highlighted on the syllabus.

855. As such, if the professor really forgot to point out the change, it would

     be a negligent professional misconduct that prejudiced Mills.




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856. Third, while the professor did not inform the investigator of his

     practice of pointing out changes in various email, Mills did.

857. Within the FERPA records about the investigation Mills recently

     obtained, the October 30 syllabus is a black and white copy that does

     not display highlights. It is unclear whether 1) the professor gave a

     black and white copy to the investigator to mislead her, 2) the

     investigator printed a black and white copy and overlooked the fact

     that the alternative was not highlighted, or 3) the investigator used a

     color copy for investigation and ignored the fact that the alternative

     was not highlighted.

858. In every scenario, the professor misled the Investigator. In every

     scenario, the Investigator should have concluded from the evidence she

     did gather that the professor misled her; or she should have followed

     up with Mills, which would have led her to discover that he misled her.

859. Instead of finding the facts, Dean Report told Mills that

      [Regarding the non-policy analysis paper, the Professor] clarified in
      class what the syllabus already indicated about the final paper (i.e.
      that it does not have to be a policy analysis). This was not a change to
      the syllabus and so an email updating the syllabus was not necessary.

860. The Investigator also had at least two versions of the syllabus. The 8/17

     syllabus requires policy analysis paper. The 10/30 syllabus allows non-

     policy analysis paper. It is illogical if not misleading for Dean Report to

     say that the syllabus was never changed. Given the evidence available

     to the investigation and assuming its findings were accurate, had the

     Dean Report try to accurately inform Mills of the facts, the Dean Report

     would have included the following alterations.


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  [While the 8/17 syllabus required policy analysis paper, the 10/30
  syllabus allowed non-policy analysis paper. The 10/30 syllabus was
  ambiguous as to whether non-policy papers were allowed. Therefore,
  after 10/30, the professor needed to] clarified in class what the
  [10/30] syllabus already indicated about the final paper (i.e. that it
  does not have to be a policy analysis). [A professor only need to
  inform students of a syllabus change in writing, not necessary
  clarifications.] This [subsequent clarification] was not a change to the
  [10/30] syllabus and so an email updating the syllabus was not
  necessary.
  [We now discuss whether the professor should have point out the
  change between the 8/17 syllabus and the 10/30 syllabus to you. We
  note that the professor has a habit of communicating syllabus
  changes even if they were minute and even if all students were
  present when a change was announced. We further note that, when
  the professor communicated such changes, he always 1) writes a
  separate email explaining the changes; 2) tells the student the page
  numbers where the changes are made; and/or 3) highlights the
  changes. While updating the 8/17 syllabus with the 10/30 syllabus, as
  usual, the professor emphasized other minute changes therein. It was
  extraordinary that he did not emphasize the lowering of difficulty of
  the final paper, which was the most important change in the
  semester.
  Nevertheless, the professor did not make a mistake in not
  emphasizing to you the change about non-policy analysis paper. He
  had no obligation to ensure you are aware of the changes. Reading
  every word of every syllabus posted on the class website was your
  responsibility, even though they are about 100 pages, combined. The
  professor emphasizing other syllabus changes were a courtesy. You
  should not have relied on the professor s habit.
  Regarding the fact that the professor instructed you to propose a new
  policy analysis paper during your 10/30 meeting with him about the
  paper, we find it irrelevant. You should not rely on what the
  professor tells you in-person over written documents. First, a
  professor might forget to inform you. Second, a professor perhaps did
  not feel the need to tell you what he also posts on class website. In
  any event, the written syllabus is the official standard. Please abide
  by the syllabus, even if your professor instructed otherwise.
  In addition, we point out that you stopped attending lectures in
  November and missed the clarification. Had you continued to attend


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      the lectures, you would have been in class when the professor
      subsequently clarified the 10/30 syllabus.
      Regarding the fact that the professor allowed two white female
      students to write non-policy analysis paper about one month before
      the 10/30 syllabus, while you were in Arizona and while repeatedly
      request you to write a policy analysis paper, we find it irrelevant.
      When a professor lowers the class difficulty for some students, he
      does not need to lower it for others. Even if the professor should have
      informed you, the professor did so on 10/30. The one-month delay is
      not significant during a 3.5 months semester, even considering you
      were dealing with a real family emergency and had trouble proposing
      a topic.]

                                   The Truth

861. Evidence in the Investigative Report suggests that the professor s first

    reaction when Mills confronted him about the alternative is the most

    likely version.

862. The professor s first response was that he did not inform Mills of the

    alternative because Mills did not hang in there . The professor was

    referring either to Mills stopped attending lectures or requesting an

    extension beyond the semester, or both. As soon as the professor said

    it, he realized that withholding the alternative was unethical and

    prejudiced Mills. This was their third meeting.

863. Here is a chronology, assuming this version is true.

864. The professor failed to teach the class how to write a policy analysis

    paper. Other students wanted to abandon the learning goal. When

    students were submitting assignment 1 (abstract), 2 (methodology) and

    3 (literature review), in Mills absence, other students, separately or

    collectively, asked the professor to accept their assignments which

    proposes non-policy analysis papers. The professor granted their


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     requests in Mills absence. According to the professor, only one out of

     eight students submitted a paper with a component of policy analysis.

865. While Mills was busy handling his family emergency, he did not reply

     to two emails from the professor asking him to submit assignments.

     Although Mills had attended every lecture, the professor repeatedly

     complained to the program director that Mills is absent. The professor

     also told her that he senses that Mills family emergency is not the only

     reason for Mills silence.

866. After Mills returned on 10/12, he submitted Assignment 1 and 2 and a

     brief draft of Assignment 3 on 10/26, one day after original deadline of

     Assignment 3. He proposed several policy analysis paper. They met

     about the paper on 10/25 and 10/30. The professor gave very negative

     reviews. He said Mills research design was unscientific, cannot be

     improved, and asked Mills to start over.

867. Six weeks remained in the semester. Mills stopped attending lectures.

     The professor first questioning the legitimacy of Mills family

     emergency and then calling his proposal scientifically invalid and

     descriptive . It made Mills uncomfortable being in the same room.

868. In any event, it was a calculated risk for Mills. The lectures also did not

     teach Mills how to write the paper. Deduction for absences is limited to

     5% of final grade. The professor had praised his prior consistent and

     exceptional class participation.




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869. Mills also decided to ask for an Incomplete because of the family

     emergency and because it became impossible for Mills start a paper

     from scratch that the syllabus said should take 14 weeks.

870. Five days later, on 11/21, the professor wrote an email and agreed

     warmly. He gave Mills an average of B on completed grade

     components. He told Mills that he had at least 18 months to finish the

     paper. He asked Mills to propose a timeline of completion in six

     months.

871. The professor immediately forwarded his email to the program

     director , adding only FYI, as discussed. [Nota Bene, or particularly

     important]: No action by him by the end of April 2018 will result in an

     F.

872. The email suggests that the professor had complained to the PD about

     Mills request, and argued that Mills should receive an F. She had

     instructed him to grant the request because AU regulations allow such

     an extension due to family emergency. The professor needed to show

     her that he complied with her instruction, but protested that he has not

     ruled out failing Mills.

873. The professor also removed Mills from the course s email list.

874. Mills did not reply to the professor s 11/21 email. 20 days later, the

     professor wrote to the PD.

      P: As I finalize the grade for 808, I realize that Mills has not replied
      to my 11/21 email. Revised AU regulations requires that I assign a




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      default grade and it cannot be an F. But, in his case, it would have to
      be. What s your advice?

875. PD:

      Reading your 11/21 email to Mills, it is unclear to me why you needed
      him to respond. You gave him the terms of the Incomplete. You do not
      ask for a timeline until April. I do not understand why you were
      expecting to hear from him. What am I missing?

876. Professor:

      I think it is normal to acknowledge an email like this because
      agreeing to Incomplete adds a lot of work to my plate. In fact, letting
      him fail the course would probably be worth doing for the teachable
      moment it entails.

877. After his third meeting with Mills on 1/26, professor wrote to former

    PD:

      [I met Mills during office hour. It was supposed to be 20 minutes;
      Mills left after 85 minutes. He sent me a nice thank-you note that
      evening.]
      I maintain that he will struggle when trying to come up with a
      prospectus as he has virtually no understanding of what knowledge
      creation at the doctoral level entails. I am committed to helping him
      got a non-failing grade for what he hopefully produces by early May,
      but I am struck by the parallels with [John Doe]'s case - as you know,
      I remain convinced that Bin won't come up with anything, because
      Bin has no idea what be is actually researching.
      I took an hour to explain to him that merely finding something
       interesting (his words) is insufficient as a case selection rational
      [sic] . My broader concern here is that his first response was that
       ethnographic research doesn't need a rationale. It is about going out
      there and discovering things that are interesting.




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      Who (if anyone) tells them this? It's not what Geertz says. Or
      Ferguson. Or Scott. Or Scheper-Hughes. Or anyone else in anthro
      whose work is influential.
      [I alluded to you about these problems when we met last week.]

878. This email makes clear that the professor sees his academic view as

    vastly superior to that of Mills based on their difference of opinion on

    methodology.

879. The professor did not mention to his supervisor that he withheld the

    non-policy analysis paper option from Mills.

880. When Mills had to ask the professor for an extension to 7/1 due to the

    professor s mistake about AU regulations, the professor had a

    conversation with the PD and Mills academic adviser.

881. Professor: I am not willing to review Mills work over the summer

    under a 7/1 deadline. I can do 11/1.

882. Academic Advisor: We do not have that power. We would have to get

    approval upstairs from AU. I do not think they will agree on Mills

    reasons.

883. Program Director: Professor, what rationale can you provide to support

    the extension?

884. Professor:

      First, I have serious doubts as to whether he would be able to write
      anything passable over the coming months. I understand that he has
      been facing major personal challenges. For him to write something
      viable by July 1st, he would need to start now. I do not get the sense
      that he is able to do so.
      Second, I am unwilling to carve time out of my summer months to
      engage in what will be a six-step process. His record suggests that
      substantial handholding will be required. I am happy to do this -- as I




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      would have in F17 -- during the semester, but not when I am not
      formally under contract.

885. The professor then told Mills that:

      I am fine with an extension, not least because I gave you a wrong
      deadline. But, I will not agree to a 7/1 deadline. I would need to
      review your work and comment in detail. I will not do that when I am
      under contract in the summer. I will agree to a 11/1 deadline. You just
      need to get the program director and your academic adviser to agree.

886. Having offloaded the problem he created to them in the email, the

    professor then forwarded the email to the program director and Mills

    academic adviser to show them that he has offloaded the problem.

887. The PD:

      An extension to 11/1 is difficult. I will need to argue a rationale that
      you do not believe you need to work during the summer, even in
      exceptional circumstances. You may quibble but this is how it will be
      received. I also have to argue that extension to 11/1 will impact Mills
      ability to defend their prospectus.

888. The professor s reply:

      I am sorry to put you in this position.
      Zach ranks among the most irresponsible and immature doctoral
      students I have come across in a decade. I am not going to waste
      parts of my summer on him. l would consider doing so for others, but
      he has a record of bailing out, and frankly I have very little
      confidence in his ability to complete the program and graduate. He
      has overstretched my patience.
      As for how this might affect his progress, I do not think that he will
      produce a prospectus this summer - or anytime in the foreseeable
      future, for that matter. He is nowhere near anything that would be
      defensible.




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      Again, I am sorry (for you, not for him) -- but I am done with this. It's
      November 1st or end of this semester. I have more deserving projects
      to work on over the summer.

889. The professor s pettiness and vindictiveness against Mills was so strong

     that he was willing to argue against his supervisor, to refuse to work

     when he should, to appear ridiculous to AU leadership, just so that he

     did not need to waste time on Mills over the summer. For a problem he

     created, the professor was also willing to leave Mills with the risk that

     AU leadership would not approve the extension, which would result in

     Mills failing the class, having to retake the professor s class, and delay

     his prospectus defense.

890. The professor s pettiness and vindictiveness should have alerted to

     Investigator that he deliberately withheld the option to write a non-

     policy analysis paper from Mills. His derisive view of Mills academic

     potential and his view that Mills is a waste of his time are consistent

     with him making light of failing Mills, ending a student s academic

     future.

               Chapter G. Epilogue

                 On Whether Critical Race Theory Hurts the U.S.

891. Scholars call this social phenomenon White Supremacy        the

     subjugation of racial minorities to a white social order.

892. As Mills story demonstrates, White Supremacy inevitably leads the

     United States to lose out on the contributions that too many Black

     people would have made if they had an equal opportunity at success.

893. It is not a net gain for white people. Partaking in the unholy cult of

     White Supremacy causes white people to lose their humanity

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    manifestations of which have been termed White Rage and White Guilt.

    Because White Supremacy is an immoral order, it only pushes immoral

    people to the top while leaving all others to cope.

894. Black people are an ethnic minority group of Americans with full

    American citizenship since the 19th century. They have only known

    America as their home for hundreds of years. White Supremacy has

    driven some of them to seek another legal or even political

    arrangement. One body of these ideas is commonly referred to as

    critical race theory, whose methodology informs this complaint.

895. A mentor of Mills, after reading Mills paper that apply critical race

    theory to international relations, tried to persuade Mills to deracialize

    his theory. After Mills insisted that race was central to his theory, the

    mentor secretly became the chief proponent of getting rid of Mills.

    When an opportunity presented itself, the mentor reported Mills as an

    insane Black Identity Extremist and a threat to campus and tells the

    discriminating professor Mills is a threat to his safety. The mentor is

    no doubt a patriot and probably equated suppression of Mills theory

    and critical race theory with safeguarding the U.S. interest.

896. We argue that the mentor was misguided. It is enticing to despise and

    repress a theory that calls for a fundamental change to a majority

    group s established social order and international order. However, the

    nature of ideas is such that they cannot be eliminated. An idea will

    become more powerful as reality proves its relevance, explanative

    power, and validity. As a historical example, although Romans killed




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    Jesus, his teachings and beliefs survived the Roman empire to become a

    religion.

897. Chairman of the U.S. Joint Chiefs of Staff General Mark A. Milley is the

    nation s highest-ranking military officer and serves as the principal

    military advisor to the President, Secretary of Defense, and National

    Security Council. In response to Republican Rep. Matt Gaetz s criticism

    that the U.S. military is teaching critical race theory and removing a

    decorated officer who opposed it, Gen. Milley testified to the U.S.

    Congress as follows:

      I do think it is important for those of us in uniform, to be open-

      minded and be widely read. And the United States Military Academy

      is an university.

      I want to understand White Rage. I m white, and I want to understand

      it. What is it that caused thousands of people to assault this building

      and try to overturn the Constitution of the United States of America?

      What caused that? I want to find that out. I want to maintain an open

      mind here, and I do want to analyze it.

      It s important that we understand that because our soldiers, sailors,

      airmen, marines, and guardians, they come from the American

      people. So, it is important that the leaders, now, and in the future, do

      understand it.

      I ve read Mao Zedong. I ve read Karl Marx. I ve read Lenin. That

      doesn t make me a communist.

      What is wrong with having some situational understanding about the

      country for which we are here to defend?



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      And I personally find it offensive that we are accusing the United

      States military, our general officers, our commissioned and non-

      commissioned officers of being woke or something else because

      we re studying some existing theories.

      [Critical race theory] was started at Harvard Law School years ago.

      And it proposed that there were laws, prior to the Civil War, that led

      to a power differential with African Americans that were three

      quarters of a human being. And then we had a Civil War and

      Emancipation Proclamation to change it. And we brought it up to the

      Civil Rights Act of 1964. It took another hundred years to change that.

      So look, I do want to know       and it matters to our military and the

      discipline and cohesion of this military.

      https://youtu.be/oz7yDU1FmJQ (abbreviated)

898. Gen. Milley testified to three simple ideas. First, it is foolish for a

     country to bury its head in the sand to an idea, because an idea can be

     learned and used by a foreign country. Second, an idea, once learned,

     can be used for one s own utility. Third, it is a leader s job to learn and

     utilize even an apparently hostile idea, so that the leader knows how to

     react to it.

899. It does the U.S. no favor when the New York Times in May 2022

     describes hundreds of Ukrainian fighters were taken by bus to

     Russian-controlled territory as being evacuated, because every

     foreign country knows they surrendered. Denying the reality only

     serves to delegitimize the policy maker, if not driving the country into

     a ditch it blinded itself to.



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900. Critical race theory, on the surface, is an idea hostile to status-quo U.S.

     interests. It legitimizes Native American s sovereign claims and faults

     the U.S. government for segregating Black people in urban areas that

     could best be described as internal colonies after Reconstruction failed.

     Moreover, critical race theory interprets the so-called Liberal

     International Order led by the U.S. as a hierarchical order built on

     White Supremacy.

901. It is a common view in the Middle East, Africa, and South America that

     white European countries and America, through neoliberal and

     neocolonial practices, continue to dominate an outdated and glaringly

     racialized international order.

902. This line of argument holds immense power in many low-to-middle

     income non-white countries because it explains their

      underdevelopment, which began with colonization by white European

     countries, which continues after they gained independence despite

     receiving massive official and private aids from white countries.

903. Many academics argue that Russia and China, while still participants in

     the Liberal International Order, have long prepared for and may be

     constructing a new world order predicated on the belief that the U.S.

     and Europe should no longer dominate other countries or the

     international system.

904. China has engaged in diplomatic efforts and economic development

     partnerships with non-white countries around the world for decades

     and has won massive popularity with these states, the leaders of which

     often describe China s international leadership style as much more



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    palatable to their populations, their social-political situations, and their

    development assistance needs. With massive productivity and

    advanced technology, many countries view China as a practical

    alternative to American hegemonic international order. As an example,

    after the U.S. blocked Russia from the American financial network as a

    sanction for invading Ukraine, Russia quickly negotiated the use of

    Chinese financial institutions and signed a historical energy deal that

    further immunizes Russia from U.S. sanctions. So far, the status-quo

    U.S. foreign policy establishment s Ukraine strategy produced negative

    domestic outcomes: extreme inflation, widespread economic hardship,

    70% disapproval of the direction America is headed in. On top of that,

    the Russian Ruble has more than rebounded from U.S. sanctions to pre-

    invasion of Ukraine level.

905. If and when this alternative worldview gains enough traction in the

    world to displace, and eventually replace the Liberal International

    Order, the U.S. and Europe could become extremely isolated. The U.S.

    could see massive pushback against its Monroe-Doctrine sphere-of-

    influence policy within Central and South America. Mills research has

    touched on these issues in the context of Bolivia and the socialist

    movement of former Bolivian president Evo Morales.

906. Critical race theory proposes that U.S. foreign policy and U.S. domestic

    policy both originate from White Supremacy, and therefore evidence of

    domestic White Supremacy can prove that the U.S. government

    practices White Supremacy foreign policy. The U.S. has repeatedly




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    engaged in self-interested unilateral actions that easily lend to the

    perception that the U.S. foreign policy upholds White Supremacy.

907. The world observes how non-white U.S. citizens are treated as second-

    class human beings despite a stated commitment to non-white full

    citizenship in the 14th Amendment. From this starting point, it is not

    difficult to conclude that the U.S. also treats foreign non-white peoples

    as second-class human beings whose interests and human rights can be

    violated on a whim despite its stated commitment to human equality

    since World War I. Contrast the treatment of Haitian migrants and

    Ukrainian migrants at the U.S.-Mexico border. Black Haitians are

    whipped by armed men on horseback; White Ukrainians are

    immediately admitted.

908. From an international relations standpoint, it does not make sense for

    a country to preserve a solvable domestic social division that foreign

    countries or adversaries can readily exploit.

909. Hypothetically, what if China or Russia were to endow $300 million to

    its own legal advocacy group in the U.S. with a stated goal of securing

    landmark legal victories for non-white historically oppressed racial

    minority groups? If various critical U.S. institutions such as American

    University, the Council on Foreign Relations, and Google remain

    plagued with institutional racism, will the U.S. courts turn a blind eye

    when a foreign civil rights advocacy group presents those

    wrongdoings? It would be a PR nightmare. What if someone like Mills

    in such critical institutions cannot get justice other than from a foreign

    government?



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910. Or, what if the money went to an educational or housing program for

     racial minorities? Or a financial institution for the economic prosperity

     of U.S. racial minorities? It would severely undermine U.S. morale and

     national unity. It would reduce the U.S. government s freedom of action

     in many foreign policy arenas.

911. The U.S. investment in dividing Uyghurs and Tibetans from China has

     seen little success because China provides prosperity and dignity to

     those populations. Just the same, if the U.S. provides prosperity and

     dignity for Black and Native Americans, it would be impossible for

     foreign countries to sow division here. In this view, critical race theory

     may be exactly what America needs for its national security.

912. For its part, China is expanding education, infrastructure and health

     care to its poorest populations so that they can be a productive of the

     national market. By comparison, the U.S., under White Supremacy,

     continues to deprive its poorest populations - racial minorities - of

     education and economic opportunity.

913. Top U.S. universities such as American University complain that they

     cannot recruit a representative student body and resort to affirmative

     action, which causes white backlash. Being ignored is the fact that only

     40% Black high-school graduates are prepared for college, compared to

     70% of their white counterparts.

914. Even if a Black student survive K-12, like Mills did, once they enter

     higher education, they face a racially hostile environment that

     dehumanizes, humiliates and abuses them, unless they bow to White

     Supremacy. If they do not, as Mills did not, they will each have to



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     possess superhuman will, infinite wealth and all human knowledge to

     survive. They do not. We could not identify any Black male Ph.D.

     students who have ever graduated from Mills Ph.D. program. A foreign

     country can easily name this phenomenon the Black Educational

     Genocide.

915. President Truman established Mills international relations institution.

     He intended the school to wage peace on the world . To perpetuate the

     U.S. worldview around the globe, moral authority is essential.

916. However, this flagship foreign policy institution, by its internal

     corruption and incompetence, has exposed itself and U.S. to the

     criticism that it does not practice the values that it purports to promote

     on behalf of the U.S. government- universal equality, legal institution

     and freedom of speech.

917. In this view, the institution s purported value to the U.S. government -

     to provide moral and intellectual authority - is entirely bankrupt.

918. The institution receives hundreds of millions of dollars from the

     federal government. In exchange, it promises to comply with the Civil

     Rights Act, a law designed in part to shore up U.S. moral authority

     internationally. The institution does not keep its promise.

919. SIS has too thick a history of racial discrimination, impunity and

     repression. Mills was not the first Black person to be subjected to it.

     But, Mills might be the first Black person to meticulously document it,

     with a determination to make his case in a court of law, wherever it

     may be.




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920. In 1951, Paul Robeson and William L. Patterson, on behalf of the Civil

    Rights Congress, presented The Historic Petition to the United Nations

    For Relief from a Crime of the United States Government against the

    Negro People, or We Charge Genocide for short. It charged that 10,000

    Black American have been lynched since the end of slavery due to U.S.

    government inaction and complicity. It was a diplomatic disaster for

    the U.S., which resorted to forbidding W. E. B. Du Bois from leaving the

    country to present the petition.

921. AU and SIS, by their corruption and thorough incompetence, has

    created an opening for a preventable debacle of the same kind. The

    only reason it has escaped the law and accountability is that, without

    reparation, Black students are too poor to litigate their discrimination,

    or not determined enough to take the fight to the finish line. By the law

    of math, sooner or later, one of them will.

 Part IV.    Parties

                                    Plaintiff

922. Plaintiff Zachariah Mills Mills is the son of a Black man, the grandson

    of a Black sharecropper and the grandson of a White World War II

    Veteran, who received higher education under the GI Bill and became a

    city manager in Arizona.

923. Mills grew up with his white mother in Tuscon, Arizona. He graduated

    magna cum laude from University of Arizona as a B.A. in both

    Anthropology and Political Science. He wanted to research climate

    change and teach students. The school selected him for its graduate



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     school preparation program that serves to increase minority

     representation in Ph.D. programs.

924. Mills was then admitted as a full-time Ph.D. student by American

     University s School of International Service. He matriculated in the

     institution after accepting the institution s good faith and promises of

     top-quality education, graduation rate, employment prospect, diversity,

     equity, inclusion, academic freedom, due process, freedom of speech,

     and safety. Instead, he was discriminated against, defrauded,

     dehumanized, repressed, intimidated, and prosecuted by the

     institutions, because he did not relent on demanding the institutions to

     keep their promises and comply with the civil rights laws.

925. Mills would have filed this lawsuit in 2018 if he had the money. He

     does not have rich parents and has not been paid the reparation owed

     to his Black ancestors. The lawsuit is necessary because the institutions

     are too depraved to allow him equal dignity and human rights, too

     corrupt to see how much they have taken from a human being, and too

     blind in their estimate of what a Black man can demonstrate about

     them.

926. Mills is a resident of the State of Alaska.

927. To all American University students, staff and professors who have

     been, are being, and will be retaliated against for rending aid to Mills

     or encouraging Mills during the civil rights conspiracy against Mills,

     we applaud you for choosing to act morally and ethically despite facing

     a corrupt institution and an immoral and illegal social order. We thank

     you for supporting Mills at his most difficult time. We invite you in



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    reforming the institution and the social order that dehumanized both of

    us by joining the lawsuit as a class of plaintiffs under the KKK Act, 42

    U.S.C. 1985 (3),   and the D.C. Human Rights Act, D.C. Code     2 1402.61

    (a).

928. To all American University students, staff and professors who have

    been, are being, and will be oppressed and injured by the corrupt

    institution and the immoral and illegal social order, we are in the same

    place, at the most difficult time. We empathize with you because we

    are also braving dark water. At first, we thought we are but the

    outliers. It is through education, action, and luck that we learn about

    the normalized, depraved, and decayed policies, patterns and practices

    that did, are doing, and will do to you what was done to us. We want to

    and can initiate the lawsuit to expose these illegal policies, patterns

    and practices. With the best wishes for the future, we invite you to join

    us as a class of plaintiffs in stopping the public nuisance. We may

    succeed and advance the human society. If we fail, we will have more

    knowledge, which, in combination with future actions, will ultimately

    transform the corrupt institution and the immoral and illegal social

    order.

929. To all American University students, staff and professors who have

    been threatened or coerced into participating in the civil rights




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    conspiracy against Mills , and those have been rewarded for their

    silence and inaction despite a duty,   we condemn your immoral and

    unethical choices; you understood what you should have done, yet

    chose not to. We also understand that you are living in an immoral and

    illegal social order and a repressive institution that dehumanize both

    the oppressed and the oppressor. Our dehumanization continues until

    we transform the social order and the institution, which necessitates

    action from both the oppressor and the oppressed. We invite you to

    join the lawsuit as a class of plaintiffs under the KKK Act, 42 U.S.C.

    1985 (3).

                           Institutional Defendants

930. Defendant American University is a private research university in

    Washington, DC, originally chartered by an 1893 Act of Congress. AU s

    student body numbers over 13,000, and its main campus is located at

    4400 Massachusetts Ave., NW, in Washington DC.

931. American University includes the American University Police

    Department. On information and belief, the AUPD is a subdivision of

    AU that is wholly controlled by AU. AU, through AUPD, employs more

    than 60 individuals who are licensed as special police officers in the

    District of Columbia. These special police can carry weapons and wear




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    uniforms. As employees, they are required to follow the directions of

    AU and its officials.

       Due to limitation of time, we have not enumerated all individuals

   subjected to the suit below. We will notify individuals not so enumerated

         as soon as possible, once the complaint is accepted for filing.

                                   Professors

932. Daniel Esser is a tenured associate professor of American University

    School of International Service. He is a member of the Fulbright U.S.

    Student Program National Screening Committee, a member for AU

    Faculty Senate Hearing Committee, a seven-time member of AU faculty

    search committees, Director for SIS Honors Scholars Program, a decade

    of tenure on SIS Ph.D. Committee. Of his peer-reviewed papers, the

    most cited was a 2006 paper with him as the second author; he is the

    first author of a 2011 paper cited 78 times; he is not the first author of

    any academic paper published after 2015 that has been cited by any

    scholar. On information and belief, he still works and resides in the

    District of Columbia.

933. Sharon Weiner was the program director and an associate professor of

    AU SIS Ph.D. program. On information and belief, she still works and

    resides in the District of Columbia.

934. Boaz Atzili is an employee of American University. On information and

    belief, he works and resides in the District of Columbia.

                                Administrators




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935. Christine Chin, Dean of SIS, is an employee of American University. On

    information and belief, she works and resides in the District of

    Columbia.

936. Carolyn Gallaher, then Associate Dean for Faculty Affairs, now Senior

    Associate Dean, is an employee of American University. On information

    and belief, she works and resides in the District of Columbia.

937. Jaris Williams, then Assistant Dean of Students (ADOS), now Associate

    Dean of Students, is an employee of American University. On

    information and belief, she works and resides in the District of

    Columbia.

938. Mary Clark was the Deputy Provost and Dean of Faculty. On

    information and belief, she works and resides in Colorado.

939. Traci Callandrillo is the Assistant Vice President of Campus Life. On

    information and belief, she works and resides in the District of

    Columbia.

940. Fanta Aw is the VP of Campus Life and Inclusive Excellence. On

    information and belief, she works and resides in the District of

    Columbia.

941. Carol Crawford is an employee of American University. She was the

    Faculty Relations Investigator. On information and belief, she works

    and resides in the District of Columbia.

942. Jeffery Brown is the Dean of Students of American University. On

    information and belief, he works and resides in the District of

    Columbia.

                                    Students


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943. Eleni Ekmektsioglou is a student of American University. On

    information and belief, she works and resides in the District of

    Columbia.

944. Luciana Storelli-Castro is a student of American University. On

    information and belief, she works and resides in the District of

    Columbia.

945. Manaswini Ramkumar is a student of American University. On

    information and belief, she works and resides in the District of

    Columbia.

946. Marcelline T. Babicz is a student of American University. On

    information and belief, she works and resides in the District of

    Columbia.



  Part V.   Causes of Action

        Count 1.   Breach of Contract Against American University

947. All previous paragraphs are incorporated here.

948. Mills and AU entered into a contractual relationship that began in

    August 2016, when Mills matriculated as a Ph.D. student at AU SIS.

    Mills has fulfilled his duties under the contract by paying tuition,

    attending the school and following its rules.




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949. In consideration for his tuition and attendance, AU promised Mills that

    it would comply with the policies and procedures it publishes,

    including its Discrimination and Sexual Harassment Policy and

    Disability Policy, custom and practice in U.S. higher education,       and

    AU s contracts with its faculty, other employees and agents, which

    intend Mills as a third-party beneficiary .

950. Moreover, AU promised Mills that, via its contractual relationships

    with AU employees and other students, AU would ensure that they also

    comply with the policies and procedures it publishes, so that they

    would not interfere with Mills contractual rights. For example, AU

    Discrimination Policy covers all faculty, staff, and students of

    American University, and related third parties     .

951. Under AU Discrimination Policy, AU promises not to discriminate

    against Mills based on race, color, national origin, sex, sexual

    orientation, disability, political affiliation, source of income, an

    individual s genetic information or any other bases under applicable

    federal and local laws and regulations (collectively Protected Bases ).

                            Section 1.     SIS 808

952. Under AU Graduate Academic Regulations and SIS Ph.D. Handbook, AU

    has the following contractual duties:




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953. First, AU promises to accurately evaluate Mills academic performance;

    as is the custom and practice in higher education, AU has a duty to

    evaluate Mills performance in each course according to the syllabus of

    each course. Graduate Academic Regulations Chapter 3: Evaluation of

    Academic Performance. AU has a duty to calculate and stand behind

    Mills Grade Point Average that serves to demonstrate Mills fitness for

    employment and other merit-based opportunities to third parties. Id.

954. Second, AU promises to provide Mills with a real and non-

    discriminatory opportunity for Mills to fulfill degree requirements.

    This duty is imposed in exchange for Mills promise to fulfill degree

    requirements, which include passing core courses such as SIS 808, SIS

    809, the Field Comprehensive Examination (i.e. the second

    comprehensive exam), and defending a prospectus and a dissertation.

955. Third, AU promises to provide Mills with academic freedom, according

    to AU policies, the custom and practice in higher education, and. As a

    part of the favorable working environment, AU provides professors

     full freedom in scholarship and in the publication of the results and

     full freedom in the classroom in discussing their subject . Faculty

    Manual; 1940 AAUP Statement . AU also provides tenure to its tenure-

    line faculty. Tenure is a means to certain ends; specifically: (1)

    freedom of teaching and research and of extramural activities, and (2)

    a sufficient degree of economic security to make the profession

    attractive to men and women of ability. 1940 AAUP Statement.




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956. According to AAUP, it is a “unprofessional conduct” for professors to

       use “dishonest tactics” to “deceive students”. 2011 AAUP Committee A

       Report on Academic Freedom and Tenure 100, 113. Under a “two-fold

       test”, “[i]ndoctrination occurs when instructors dogmatically insist on

       the truth of such propositions by refusing to accord their students the

       opportunity to contest them” thereby “denies students the right to take

       ‘reasoned exception’ and to ‘reserve judgment.’” Id. at 99-100.

                                 Academic Freedom

957. AU, through its employee Esser, employed dishonest tactics to violate

       Mills academic freedom in the following manners, at least until their

       third meeting. ¶ ¶ 58-59, 82-83, 105-124, 126, 138-146, 150-165, 179-

       187, 196, 198 applies to the following.

958.      Indoctrination, by dogmatically insisting on the truth of Esser s

          professionally contestable propositions and refusing to accord Mills

          the opportunity to contest them, thereby denying Mills the right to

          take reasoned exception and to reserve judgment;

959.      Substantially falsifying data, sources, and arguments to defraud

          Mills that his proposals are not scientific and cannot be improved to

          an acceptable quality; Compare ¶ 106 (informing Mills that scholars

          at Mills dissertation examination would barf in their jacket if Mills

          case selection rationale is data availability) with ¶ 126 (of the

          papers Esser served as the first author, the most cited paper uses

          data availability as case selection rationale);

960.      Failing to set forth justly, without suppression or innuendo, the

          divergent opinions of other investigators;

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961.      Failing to cause Mills to become familiar with the best published

          expressions of the great historic types of doctrine upon the

          questions at issue;

962.      Failing to train Mills to think for himself instead of providing Mills

          with ready-made conclusions;

963.      Holding Mills up to obloquy or ridicule for an idea grounded in

          politics, or anything else; (cite to voodoo incident)

964.      Failing to evaluate Mills solely on an academic basis, not on

          opinions or conduct in matters unrelated to academic standards;

          (cite to voodoo incident), (regarding Mills as lazy and bad student

          for family emergency)

965.      Requiring Mills’ to obtain Esser’s approval for paper topic, contrary

          to the syllabus; ¶ 56;

966.      Insist on micro-managing Mills because of the methodology of his

          proposal, but not other students applying similar methodologies;

          ¶ 187.

                       Adverse Decision Discrimination in 808

967. Due to Mills Protected Bases, intentionally or negligently, AU, through

       its employee Esser, discriminated against Mills from students not

       sharing Mills Protected Bases enrolled in SIS 808, whether during fall

       2017 or other semesters, whether by Esser or other professors, by

       subjecting Mills to the following adverse decisions. Indications of a

       causal relationship between Mills Protected Bases and AU and Esser s

       adverse decisions are discussed for each adverse decision.



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968.   1) rejecting, strictly scrutinizing Mills paper proposals, and micro-

       managing Mills while accepting without strictly scrutinizing other

       students proposals that are similar or worse in terms of rigor,

       research design, methodology, and innovation, and not micro-

       managing them;

969.         a) comparator cases. ¶ ¶ 179-187 (accepting two white female

             students proposal without meeting them while rejecting

             Mills similar proposal); [FERPA section, great experience

             with other students]

970.         b) incredible explanation. Despite having a terminal degree in

             the field, a decade of experience, having extensively discussed

             Mills assignments and proposals and having read Conduct of

             Inquiry, Esser claimed that did not realize that he and Mills

             had a difference of opinion about ontology and methodology

             until their third meeting; ¶ 119.

971.         c) Despite least similar case comparison being a well-

             accepted research design, ¶ 76, Esser informed Mills that the

             least similar case comparison research that Mills

             independently designed is not a valid form of scientific

             inquiry; ¶ 150.

972.   2) violating Mills academic freedom, while not violating that of

       other students; [cite the last section]

973.   3) withholding from Mills the easier alternative to author a non-

       policy analysis instead, while making it available to other students,




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       ¶ ¶ 94-102; and later offering conflicting factual accounts and

       inculpatory excuses [cite ferpa section].

974.         a) predetermined decision. Esser stated that he should fail

             Mills to teach him a less about respect, prior to Mills

             confirming with Esser that the easier alternative was

             available to other students.[ferpa citation].

975.   4) giving Mills a false Incomplete due date unacceptable under

       academic regulations at least since 1980, ¶ 168, which forced upon

       Mills a higher workload during spring 2018, ¶ 88, and partially

       caused Mills to fail his second comprehensive exam, ¶ 90.

976.   5) after giving Mills a false Incomplete due date, and after

       determining Mills to be a waste of his time, [cite ferpa section],

       Esser attempted to prevent Mills from receiving an extension of the

       Incomplete due date by deliberately giving a rationale unacceptable

       to AU, such as a false assertion that his contract allows him not to

       work with Mills over the summer[cite ferpa section], while

       pretending to Mills that he had done all he can to help Mills obtain

       the extension [ferpa citation]

977.         a) predetermined decision. In response to Weiner stating

             prolonged extension will impact Mills ability to defend his

             prospectus, Esser stated that Mills has no hope of graduating

             anyways. [citation]

978.   6) defaming Mills integrity, competence and diligence to the

       program director and other students in the same course, while not




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       defaming that of other non-Black students in similar situations;

       [cite FERPA section]

979.   7) regarding a difference of opinion over methodology, Esser

       refused to assume Mills methodology to be correct, which is a

       custom in higher education, ¶ 87; instead, he required Mills to work

       with other professors who have no obligation to do so yet refusing

       to arrange for other professors cooperation; ¶ 119 while not

       similarly treating other students with whom Esser had a difference

       of opinion, such as ¶ ¶ 179-187 (accepting two white female

       students proposal with similar methodology to Mills without

       requiring them to work with other professors);

980.   7) evaluating Mills assignments, ¶ ¶ 179-187, attendance and

       participation, ¶ ¶ 232-233, with bias, while not doing so to other

       students;

981.   8) ruthlessly, unfairly and unscientifically attacking Mills paper

       proposal, allegedly in the hope that Mills would fight him, without

       informing Mills that his pedagogy is playing the devil s advocate;

       while not subjecting other students to this flawed pedagogy; ¶ ¶ 124-

       125.

982.   9) exercising excessive subjectiveness with regards to Mills, while

       not doing so to other students;

983.          a) comparator cases. ¶ 113 (work with another student to write

              a paper not about the country of her career focus, but not doing

              so with Mills);

                        Discriminatory Harassment in 808


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984. With the following actions, Esser applied negative stereotypes

       commonly associated with such Protected Bases. These actions

       intimidated, ridiculed and insulted Mills, which were sufficiently

       severe or pervasive to alter Mills educational conditions and to create

       abusive educational environment such that Mills feared being

       supervised by Esser.

985.      As a decision maker for Mills, Esser intimidated Mills by attracting

          reasonable suspicion that he is biased, ¶ 128-198, and by declaring

          his willingness to violate professional ethics and academic rules, ¶

          198 (confessing to Mills that he is abusive, that he feels comfortable

          destroying other students chance at graduation based on

          personality, and gave an detailed example thereof).

986.      Esser then intimidated, ridiculed, insulted Mills by pretending to

          other faculty Mills reasonable suspicion are baseless and that Mills

          invented his suspicious to obtain special treatment [citation].

987.      Esser ridiculed and insulted Mills by questioning his integrity,

          competence and diligence without basis. ¶ 131 (accusing Mills of

          inventing a family emergency or using his family emergency as an

          excuse to gain special treatment, to Mills face); [FERPA citation] (to

          the program director, which led the director to question Mills about

          his integrity, diligence and competence).

988.      In the context of these actions that cause reasonable suspicion of

          bias, Esser making a host of other intentional or negligent adverse

          decisions about Mills that is statistically impossible to happen to

          Mills alone.[cite last section]



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989. As a result, Mills could not pass the class until May 2019; as Weiner

    predicted to Esser, the 17 months delay derailed Mills graduation

    progress. As a result, Mills grade for SIS 808 is inaccurate.

                    Section 2.   Botched 2018 Investigation

990. AU undertook a duty under its Discrimination Policy to address Mills

    complaints of discrimination. The University will address complaints

    related to an AU Community member s participation in those programs

    and activities, regardless of whether the offending conduct occurred on

    or off campus. AU Discrimination Policy.

991. AU has a duty to thoroughly investigate.

992. AU has a duty to fairly investigate

993. Under AU Discrimination Policy, AU has a duty to interpret the Policy

     consistent with applicable local and federal laws and regulations.

994. It promises to enforce on its employees a Duty to Report Complaint of

    such nature. It promises to promote compliance with the policy and

    familiarity with reporting procedures; conduct training programs,

    including bystander intervention.

995. It promises to develop and implement consistent procedures to provide

    for prompt and effective response to reports of discrimination

996. It promises that its civil rights enforcement employees would receive

    periodic training on issues related to Prohibited Conduct and how to

    conduct an investigation process that promotes accountability, equity

    and fairness.




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997. It promises that its civil rights enforcement employees will answer

    questions and be available to meet with students, employees, and

    others about this policy.

998. As a result of AU s breach, Mills was deprived of a degree and his

    career which depends on the degree. Mills suffered extensive mental

    health conditions. Mills reputation was injured. Mills incurred

    significant expense.

999. We intend to seek all legally available damages and equitable relief. We

    do not have time as of this complaint to fully calculate and explain the

    damage, but it will exceed $100,000. We do not have time to

    contemplate equitable relief. We intend to do so at a later time.

        Count 2.   Breach of Contract and Wrongful Disciplinary
                   Decisions Under DCHRA, Title 6 and Title 7 of the
                   Civil Rights Act against American University.

1000. All previous paragraphs are incorporated here.

1001. AU made multiple wrongful disciplinary decisions as a result of Mills

    protected bases, such as Mary Clark s investigation regarding the

    welfare check; FERPA breach; retaliation by Esser, Weiner and Atzili;

    Stafford s investigation. There are plenty of causal connections

    between these decisions and and Mills protected bases.

1002. Correct disciplinary decisions in these cases would have prevented

    various retaliations against Mills by various individuals, which caused

    a hostile environment and prevented Mills graduation.

1003. AU also made multiple wrongful disability determinations after Mills

    had requested reasonable accommodations.



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1004. As a result, Mills was deprived of a degree and his career which

     depends on the degree. Mills suffered extensive mental health

     conditions. Mills reputation was injured. Mills incurred significant

     expense.

1005. We intend to seek all legally available damages and equitable relief.

     We do not have time as of this complaint to fully calculate and explain

     the damage or contemplate equitable relief. We intend to do so at a

     later time.

        Count 3.   Adverse Decision Discrimination and Retaliation
                   Under DCHRA, Title 6 and Title 7 of the Civil Rights
                   Act, and ADA against American University

1006. All previous paragraphs are incorporated here.

1007. AU retaliated against Mills as a result of Mills protected activities. AU

     made multiple adverse decisions regarding Mills such as Wendy

     Boland s decision to dismiss Mills, various wrongful disciplinary

     decisions, and refusal to address Mills requests for investigation and

     accommodation.

1008. Boland dismissed Mills according to various progress reports issued

     after the welfare check.

1009. There are plenty of causal connections between these adverse

     decisions and Mills protected activities.

1010. According to Atzili and his relaying of Mary Clark s statements, AU

     has a pattern and practice of allowing a civil rights complainant extra

     time for fulfilling academic deadlines. Mark Clark offered the extra

     time to Mills during the 2018 investigation, even though Mills did not

     ask for it.

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1011. After Mills engaged in protected activity and made civil rights

    complaints against higher-level employees than Esser, AU, Clark and

    Boland refused to give Mills extra time to fulfill academic deadlines

    outlined in Mills progress reports issued after the welfare check.

1012. Moreover, Gallaher authored the progress reports after having

    advocated for Mills SWATTING. Gallaher concealed her conflict of

    interest from Mills when she authored the progress report. According

    to Atzili, AU has a policy, custom and practice of disallowing a

    professor making decisions regarding a student when there is a conflict

    of interest.

1013. Shortly after the SWATTING, SIS Dean Chin, Gallaher, Fanta Aw,

    discussed filing conduct charges against Mills for his emails to Weiner

    and Atzili. Mills emails are a form of protected activity.

1014. They also made a plan to meet with all SIS Ph.D. students to

    whitewash the SWATTING. By information and belief, during the

    meetings, it was implied to the students that Mills had mental health

    issues that privacy rules forbid AU from explaining. It was explicitly

    stated that the students were to maintain confidentiality about the

    meeting. Ph.D. students were helping Mills to figure out why the police

    came. They stopped thereafter.

1015. AU, Atzili, Chin, Gallaher, and Callandrillo made one thing abundantly

    clear to Ph.D. students: the official line is that Mills did not experience

    discrimination; that Mills perception of discrimination came from him

    not able to handle academic rigor; that Mills then blamed the problem

    on nonexistent SIS institutional racism; that Mills mental health issues



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     developed mental health issues; that administrators and professor was

     trying to help Mills by sending police to his home; and that anyone who

     sees institutional racism in SIS like Mills should volunteer their

     identity. But, why would they?

1016. Ph.D. students apprised Mills of Atzili and Chin retaliation. Mills

     formed a reasonable belief that AU and SIS leadership was determined

     to thwart his effort for civil rights. It was desperation, when his school

     intricately took away his civil rights and stopped his peers from

     helping him. The school wanted to get rid of him so much so that it

     would break the law. What would working on a prospectus change? His

     days at SIS were numbered.

1017. By invading Mills private home, AU retaliated against Mills for

     opposing unlawful discrimination by AU.

1018. AU insists that the AUPD officers were solely conducting a welfare

     check for Mills benefit and denies that any faculty members alleged

     Mills would commit a crime. However, AU denied Mills access to

     relevant AUPD records. The AUPD records that Mills obtained later

     show that AU was conducting a criminal investigation of Mills in his

     private home as a result of Esser reporting Mills as a violent threat.

1019. AU insists that Associate Dean of Students Jaris Williams (Black)

     decided independently to order AUPD to conduct a welfare check at

     Mills home, based solely on three care reports. It is later revealed that

     there were four care reports. Williams pretended to Mills that there

     were only three care reports during their meeting in October 2019.

     Williams authored an internal memo of his meeting with Mills.



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    According to AU s computer system, the memo is dated June 24, 2020,

    8 months after the meeting. He claimed in the memo that he gave Mills

    all four care reports, including Reitman s, dated days before the

    welfare check.

1020. June 24 was a peculiar date to author the memo. On June 25, 2020,

    Mills made a FERPA request to AU for memo drafted by various AU

    employees including Williams. AU refused to acknowledge receipt of

    the FERPA request. Mills had to complaint about AU to the Department

    of Education. Even then, AU fought the Department of Education for

    months. In November 2020, AU lied the Department that it had gave

    Mills the requested records, producing to the Department a fabricated

    email to Mills. Mills never received the email. AU refuse to produce the

    email in native format or audit trail that demonstrate its authenticity.

1021. AU finally gave up the memo and Reitman s care report in February

    2021.

1022. Because Williams memo and Reitman s care report existed on AU s

    computer systems, and because AU has made false representations and

    fabricated documentary evidence to the Department and Mills, it is

    difficult to determine the authenticity and actual date of the

    documents. We therefore alleged that each document and its date of

    creation are authentic; in the alternative, we allege that each document

    and its date of creation are fabricated, which support an inference that

    AU attempted to cover-up its improprieties regarding the welfare

    check.




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1023. Williams direct supervisors Callandrillo and Brown received the

     emails supporting the welfare check first. Moreover, Williams denied

     having read those emails when initiating the welfare check.

     Furthermore, AU and Williams hid the SIS leadership s involvement in

     frenziedly advocating for SWATTING Mills.

1024. That AU would choose a junior Black employee outside of the

     wrongful SWATTING decision making process to take the fall indicates

     a discriminatory motive.

1025. Williams also tried to utilize his Black identity to gain Mills trust.

     Williams shared his own experience of anti-Black racism, especially

     from the police, to persuade Mills that Williams, as a victim of racial

     police violence, ordered the welfare check in good faith.

1026. These retaliations caused a hostile environment and prevented Mills

     graduation.

1027. As a result, Mills was deprived of a degree and his career which

     depends on the degree. Mills suffered extensive mental health

     conditions. Mills reputation was injured. Mills incurred significant

     expense.

1028. We intend to seek all legally available damages and equitable relief.

     We do not have time as of this complaint to fully calculate and explain

     the damage or contemplate equitable relief. We intend to do so at a

     later time.

        Count 4.    Denial of Reasonable Disability Accommodation under
                    ADA and DCHRA against American University.

1029. All previous paragraphs are incorporated here.



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1030. After Mills timely requested accommodations, AU disability service

    refused to grant Mills reasonable accommodations that AU psychiatrist

    ordered until Mills failed the 809 course he needed the accommodation

    for.

1031. During the Stafford investigation, Mills reasonably and correctly

    perceived that Stafford was leading a reverse-racism prosecution. See

    Chapter E. AU and the Office of Dean of Students knew that Mills was

    experiencing racial trauma and that a reverse-racism prosecution

    would exacerbate his PTSD and prejudice his ability to participate.

1032. The first interview with Stafford triggered Mills PTSD thereby

    prejudicing him in the proceeding.

1033. Thereafter, Mills requested from the same disability adviser the

    reasonable accommodation for a neutral, mutually agreed to mental

    health expert to manage the interview process and to stop interview

    methods inappropriate for a person suffering from race-based PTSD.

    He wrote the following to the disability adviser.

      In Implementing the Right to Access to Justice for Persons with PTSD
      in Swedish Asylum Proceedings49, based on qualitative interviews
      with legal experts, Rantzer suggests best practices to comply with
      Article 13 of the United Nation s Convention on the Rights of Persons
      with Disabilities50, for an expert to help in retrieving evidence from a
      person with PTSD:




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         investigations should be performed by persons with expertise and
      experience in communicating with persons with disabilities.
       ask more follow-up questions, covering up for the fact that the freely
      told story by the applicant might not be rich enough in detail.
       try to tweak, try to pose questions around the subject until the
      applicant feels safe enough to talk about the difficult subject at the
      core.
       when they think the client is having a brain freeze, because they stop
      mid-sentence, and the interviewer goes on immediately to pose a new
      question, then OB3 says the counsel needs to step in and say that
      maybe their client is not finished yet.
      Findings suggest that the competency to handle interviewing patients
      with PTSD differs significantly from person to person ; therefore,
      the choice of the mental health expert is critical for the success of the
      investigation.
       book more meetings with applicants who suffer from trauma, so that
      there is time to build up trust before the interview
       Persons with disabilities should be given sufficient time to testify.
       Persons with disabilities should be given appropriate breaks during
      proceedings.
       go home and write about their grounds       if that is easier for them
      than talking about them face to face.
       ask to get oral completions if it is revealed after the interview that
      something important was not covered during the interview.
       should prolong the time of investigation for an applicant who needs
      this to be able to lay out their grounds.

1034. In the alternative, Mills requested the interview be conducted in

    written format. The request for written interview was denied. The

    request for neutral mental health expert was ignored.

1035. Mills requested a 5-minute break after every 15 minutes of interview.

    AU allowed him a 10-minute break after every 30 minutes of interview.




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1036. Mills requested an accommodation that his advocate within the

     interviews can come from outside of AU, because there were no AU

     individuals he could trust because of his racial trauma, PTSD and AU

     hostile environment. AU denied the request. The 808 professor brought

     an AU advocate during the interview.

1037. Mills had been granted the accommodation of ability to request

     extended academic deadline. He therefore requested an extended

     deadline to contest the choice of investigator, which he had missed

     because reading the reverse-racism complaint was overwhelming. The

     Dean of Students denied without consulting the disability service. The

     disability service would only extend deadlines not yet expired, not the

     deadline to contest the choice of investigator. The disability service

     said Stafford was an appropriate and qualified investigator in Mills

     case.

1038. The disability service should nominally exercise independent

     judgment as to what accommodations are reasonable. The Dean of

     Students successfully intervened in the disability service s decision

     making.

1039. Because the Dean of Students and Stafford were giving Mills

     conflicting instructions regarding the investigation process, which

     confused Mills, given his disabilities, Mills requested streamline

     communication about the investigation through one person.

1040. The disability service first granted the request, and instructed Mills to

     only communicate the about the investigation process with Stafford. A

     week later, upon learning of the accommodation decision, Dean of



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    Students instructed Mills to communicate only with him about the

    investigation process. Stafford gave Mills the same instruction.

1041. Thereafter, Mills pointed out the contradictory instruction to the

    disability service, which never replied to the email.

1042. Instead, the Dean of Students replied that he had spoken with the

    disability service director. The Dean of Students instructed Mills to

    disregard the accommodations provided by the disability service, and

    instead communicate with him about the investigation process, witness

    lists and statements. The Dean of Students copied the disability service

    director and the disability advisor on the same email. They never

    replied.

1043. We allege that all of the disability service s accommodation decisions

    regarding Stafford investigation are inappropriately influenced by the

    Dean of Students.

        Count 5.   Unlawful Entry, Illegal Search and Seizure, Trespass
                   Under the Color of State Law in Violation of 1st, 4th
                   and 14th Amendment of the United States
                   Constitution and 43 U.S.C. 1983.

1044. All previous paragraphs are incorporated here.

1045. Under color of state law, AU, identified and unidentified individuals

    who participated in the welfare check subjected Mills to unlawful

    entry, illegal search and seizure, and trespass.

1046. This conduct deprived Mills of his right to be secure in his own home,

    to not be searched or seized without valid basis, and to shielding his

    property (his setter mix Bubba) from government destruction 4th

    Amendment of the U.S. Constitution.


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1047. This conduct, instigated to stop Mills free speech, violated Mills

    rights under 1th Amendment of the U.S. Constitution.

1048. This conduct deprived Mills of equal protection of the law, to use 1st

    Amendment to advocate against his racial discrimination. It violated

    Mills rights under 14th Amendment of the U.S. Constitution.

1049. AU employees, under the instruction of various AU administrators,

    unlawfully entered and searched Mills home. They assaulted Mills dog.

    AU employees illegally detained Mills in his home until MPD Officer

    Sotelo put a stop to the false arrest. AU employees was not authorized

    by D.C. law to operate in Mills off-campus private home. Yet, they

    acted under the color of D.C. law.

1050. AU is a person within the meaning of Section 1983 because various

    AU administrators had the authority to make policy, and made policy,

    on behalf of AU when they directed AUPD officers to enter and search

    Mills home and detain Mills in his home with the intention to conduct

    a criminal investigation and/or welfare check.

        Count 6.   Hostile Environment under DCHRA, Title 6 and Title 7
                   of the Civil Rights Act, and ADA against American
                   University

1051. All previous paragraphs are incorporated here.

1052. Based on Mills protested bases, these actions intimidated, ridiculed

    and insulted Mills. Mills perceived these actions as offensive. These

    actions are objectively offensive.

1053. They are sufficiently severe or pervasive to alter Mills educational

    conditions and to create abusive educational environment such that

    Mills and a similarly-situated reasonable person could not graduate.

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1054. As a result, Mills was deprived of a degree and his career which

    depends on the degree. Mills suffered extensive mental health

    conditions. Mills reputation was injured. Mills incurred significant

    expense.

1055. We intend to seek all legally available damages and equitable relief.

    We do not have time as of this complaint to fully calculate and explain

    the damage or contemplate equitable relief. We intend to do so at a

    later time.

        Count 7.     Breach of Contract Against Individual AU Employees
                     and Students

1056. All previous paragraphs are incorporated here.

1057. AU and its individual faculty members, administrators or other

    employees and its students also enter into contractual relationships.

    Students such as Mills are intended third-party beneficiaries of these

    contracts. For example, AU Faculty Manual states that [AU] provide as

    favorable working conditions for its faculty as resources permit     . In

    return, the university expects faculty members to devote themselves

    with energy to the primary duties of teachers, scholars, and creators of

    knowledge and to challenge students intellectually and encourage them

    to acquire knowledge, understanding, and vision.

1058. We intend to pursue individual liability against all individuals

    referred to in this complaint, whether their names are spelled out or

    not at this point.

1059. These individuals illegal actions breached their contract with AU, and

    injured Mills.



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1060. As a result of these individuals breach, Mills was deprived of a degree

    and his career which depends on the degree. Mills suffered extensive

    mental health conditions. Mills reputation was injured. Mills incurred

    significant expense.

1061. We intend to seek all legally available damages and equitable relief.

    We do not have time as of this complaint to fully calculate and explain

    the damage or contemplate equitable relief. We intend to do so at a

    later time.

        Count 8.   Failure to Train or Supervise, Retaliation, Breach of
                   Contract, Breaches of Doctor-Patient Confidentiality;
                   Breach of HIPPA Against American University and
                   David Reitman

1062. All previous paragraphs are incorporated here.

1063. David Reitman is the medical director of AU Student Health Center.

    He was Mills physician and psychiatrist.

1064. In August 2018, in a Care Report to American University, Dr. Reitman

    disclosed health and other information about Mills that Mills provided

    to him during medical care.

      I have known this student for about two years. Today, he came to SHC
      for a medication refill. Began talking about multiple egregious
      situations and incidents over his time at AU in which he was
      subjected to racial bias, harassment and discrimination from both
      students and faculty.
      I am not aware that he has any significant mental health history but
      the level of escalation that he demonstrated yesterday was
      concerning. The incidents are so egregious (and I did not see any
      CARE reports) that I question their reality.
      "Planning a 3 million dollar lawsuit against American University"




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1065. According to Dr. Reitman, he has filed numerous Care Reports to

    support student success regardless of their race.

1066. Dr. Reitman stated that he has strictly followed the university s

    procedures in filing the care report. He stated that, while his care

    report about Mills was derived from Mills medical appointment, his

    above observation of Mills is his impression of Mills behavior

    following his clinical visit on the same day. He stated that the report

    did not contain Mills diagnoses, treatment plan or any medical

    information. He stated that the observation within his report was not a

    part of his medical treatment of Mills, but made out of concern for

    Mills wellbeing.

1067. Under AU Discrimination Policy, Dr. Reitman is a Confidential

    Resource, forbidden from disclosing reports of discrimination to other

    school officials.

      Students are encouraged to utilize the following resources for
      confidential discussion and support related to sexual harassment or
      other illegal discrimination and its effects.
      Because of the confidentiality afforded to these relationships,
      however, students should know that these confidential resource
      persons are not in a position to report the discrimination to
      University officials or to intervene to end the misconduct. To ensure
      University involvement, students must report the unlawful
      discrimination through either the informal or formal reporting
      process, as detailed in this policy. Confidential Resources include:
      (3) Medical Providers   Student Health Center; (202) 885-3380;
      shc@american.edu;
        Count 9.   Civil Rights Conspiracy Under the KKK Act Against AU
                   and Related Individuals

1068. All previous paragraphs are incorporated here.



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1069. AU, identified and unidentified individuals participated in a

    conspiracy with a shared goal to deprive Mills of his civil rights.

1070. We will supplement the details. As an example, various unlicensed

    private investigators pretended to represent other AU minority

    students and pretended to be organizing a class action lawsuit against

    American University for racial discrimination. The goal was to defraud

    Mills of information, gain an upper hand in litigation and intimidate

    Mills in person.

        Count 10. Failure to Render Aid Under the KKK Act Against
                  Related Individuals

1071. All previous paragraphs are incorporated here.

1072. Various employees and students of AU had power to prevent the

    discrimination against Mills, had they exercised reasonable diligence.

    They refused to do so, for their own interest.

1073. Most noteworthy is Dr. Ibram X. Kendi. He publicizes a personality of

    a radical anti-racist activist. As the Director of AU s Anti-Racism

    Center, he salvaged AU s reputation of racism and received much

    compensation.

1074. Kendi has the power to prevent the civil rights conspiracy, yet he

    refused to.

1075. Kendi refused to speak to Mills under false pretense when Mills asked

    for his aid in a civil rights conspiracy against Mills.

1076. Kendi also refused to speak with similarly situated students using

    false pretenses.




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